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                           EXHIBIT 1




                                                                      1491622.1
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                            Phoenix Office                  Tucson Office                 Albuquerque Office
                            Centralized Accounting Dept.    One South Church Avenue       201 Third Street, NW
                            40 North Central                Tucson, Arizona 85701         Albuquerque, New Mexico 87102
                            Phoenix, Arizona 85004          Telephone (520) 622-2090      Telephone (505) 764-5400
                            Main Telephone (602) 262-5311
        Tucs                Accounting (602) 262-5708       Las Vegas Office              Reno Office
                            Facsimile (602) 734-3740        3993 Howard Hughes Parkway    5355 Kietzke Lane, Suite 200
                                                            Las Vegas, Nevada 89169       Reno, Nevada 89511
    Federal Tax ID No.
                                                            Telephone (702) 949-8200      Telephone (775) 770-2600
    XX-XXXXXXX




        ACCT. NO.          46533-00001                                                      April 19, 2007
                                                                                            Invoice No.                     ******
        Unsecured Creditors Committee of USA Commercial Mortgage Cor
        Attn: Donald R. Walker
        9209 Eagle Hills Drive
        Las Vegas, NV 89134-6109


LEGAL SERVICES RENDERED THROUGH MARCH 12, 2007

USA Commercial Mortgage Corp Unsecured Creditors
Committee


              B110 CASE ADMINISTRATION

08-01-2006               S. Freeman                                                              2.1                      1,071.00
                         E-mails regarding conference call today (.1); review complaint
                         from similar case and send e-mails regarding same (.3); review
                         debtor e-mail regarding exclusivity extension and asset and
                         sale analysis underway (.1) conference call with professionals
                         for all committees regarding exclusivity and plan/sale issues
                         (1.3); revisions to draft e-mail with Mr. M. Levinson and send
                         (.2); check deadlines and send reminder regarding lease
                         assumption issue (.1)

08-01-2006               R. Charles                                                              1.2                       462.00
                         Read memos from Mr. M. Livingston and counsel on meeting
                         on sale process (.2); follow up on New Jersey litigation in
                         bankruptcy court on a Ponzi scheme (.1); work on committee
                         contact information with Ms. M. Schoenike (.1); read memos
                         from Ms. N. Tanner on document proposals and
                         recommendations (.1); note proposals on documents project
                         (.1); note amended Rule 2019 statement by Ms. Alf and Mr.
                         LePome; note updated calendar (.1); read memo from Ms. A.
                         Jarvis on plan process and bidding (.1); read memo from Ms.
                         A. Jarvis on Florida loan issues (.1); read memo from Ms. S.
                         Freeman on exclusivity extension and meeting from all
                         committees (.1); work with Ms. Tanner on document project
                         and recommendation (.2)

08-01-2006               M. Schoenike                                                            0.2                        36.00
                         Obtain adversary complaint in similar case and e-mail to
                         counsel
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08-01-2006        N. Tanner                                                            1.5                   240.00
                  Review additional vendor proposals and forward same;
                  telephone calls with Mr. Charles and Mr. Kotter regarding
                  vendor evaluation and selection process; follow up emails
                  regarding same.

08-02-2006        S. Freeman                                                           1.3                   663.00
                  E-mails to and from other committees' professionals re debtor
                  response to joint e-mail (.2); telephone to A. Jarvis (message re
                  same) (.1); telephone to M. Thacker re arrangements for
                  meeting on assets (message) (.1); respond to e-mail re issues in
                  litigation analysis (.2); e-mail to M. Levinson re joint interest
                  agreement, and read response (.1); analyze research results
                  with M. Ruth and request additional search (.3); respond to T.
                  Burr e-mail re meeting issues (.1); follow-up e-mails on
                  research results (.2)

08-02-2006        R. Charles                                                           2.1                   808.50
                  Work with Mr. Ted Burr on meetings in LV concerning plan
                  and sale issues and separate meeting with Diversified on USA
                  Investment Partners and litigation issues (.2); work on listing of
                  orders from Ms. M. Schoenike for website (.2); read and
                  forward request from Mr. D. Walker on appraisals (.1); read
                  memo from Ms. Freeman on exclusivity extension and meeting
                  (.1); work with Mr. M. Levinson and Ms. S. Freeman on joint
                  interest privilege for meetings (.1); note Mr. LePome's
                  amended rule 2019 statement; read Mr. LePome's motion
                  requesting immediate distribution and suggestions of hearing
                  on August 31 (.1); read errata to Mr. LePome's motion (.1);
                  work on order approving forbearance on four HFA loans (.1);
                  work with Ms. L. Treadway and Mr. B. Kotter on documents
                  project (.2); read and approve order on continued interim
                  employment of Debtors' professionals (.1); read memo from
                  Mr. Tucker on sale issues (.1); work with Mr. McKirgan on
                  preparation for the litigation meeting; read memo from Mr.
                  Michael Tucker and coordinate meeting (.1); return call to Mr.
                  J. Bauer re committee issues (.2); read memo from Mr. Bauer
                  on bylaws and confidentiality agreement and draft memo to
                  Ms. M. Schoenike (.1); prepare for meetings and hearings in
                  Las Vegas (.3)

08-03-2006        S. Freeman                                                           0.6                   306.00
                  Review draft demand letter and suggest changes (.2); review
                  new filings (.4)

08-03-2006        R. Charles                                                           5.9              2,271.50
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                  Read claims objections and note hearings (.2); meet via calls
                  with counsel and financial advisers for the committees on
                  communications and negotiations with Debtors on sale, plan
                  and related issues, arranging the meeting with counsel (2.1);
                  during and after meetings read Debtors' report of status and
                  agenda (.1); read application for approval and to shorten time
                  on Fertitta advance (.1); read FTD sur-reply (.2); read
                  Diversified's motion to strike FTD sur-reply (.1); read memo
                  from Ms. L. Treadway on documents project and declaration
                  by Mr. T. Allison in support of motions (.2); read Debtors'
                  reply on use of cash and budget (.2); read reply on Distribution
                  Motion (.2); read reply on interim compensation procedures
                  (.1); read memo from Mr. M. Tucker on the $9 million issue;
                  read memo from Mr. B. Kotter on documents project (.1);
                  travel with Messrs Levinson and Herman to meeting with
                  Debtors and committees and continue discussing during ride
                  (.4); meet with Mr. Allison, Ms. Smith, Mr. Merola and Ms.
                  Pajak, Ms. Carlyon, Mr. Burr, Mr. Nugent, Mr. Garman on
                  plan, sale and overall issues (3.3)

08-03-2006        M. Schoenike                                                        3.2                   576.00
                  Update list of Substantive Orders, e-mail to Mr. R. Charles re
                  posting to Committee Website (.5); review docket, obtain
                  notice of hearing, update calendar (.4); prepare By-Laws and
                  Confidentiality Agreement for John Bauer signature (.2); letter
                  to Mr. Bauer attaching By-laws, Confidentiality Agreement
                  and request for his signature (.2); prepare notes of August 2,
                  2006 meeting (1.9)

08-04-2006        S. Freeman                                                          0.2                   102.00
                  Telephone from Mr. R. Charles re hearing results and strategy
                  going forward

08-04-2006        R. Charles                                                          8.6              3,311.00
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                  Prepare for and attend hearings on distribution motion,
                  employment of Sierra, stay relief and related motions, and cash
                  management motion, before, between breaks and after hearing,
                  discussions with client, counsel and interested parties (7.1);
                  work with Ms. S. Freeman on results of hearing and follow up
                  (.3); draft memo to Ms. M. Schoenike on order re Sierra
                  employment (.1); read memo from Mr. S. Sherman and skim
                  draft opposition to Standard Property Development stay relief
                  motion by First Trust Deed committee and work with Ms. S.
                  Freeman on joinder in same (.2); read Debtors' opposition to
                  Weddell stay relief motion (.1); skim opposition to Standard
                  Property Development stay relief motion by Debtor (.1); direct
                  joinder on two stay relief oppositions (.1); read order
                  shortening time and notice of hearing on Fertitta application;
                  work with Ms. L. Treadway on documents project (.2); work
                  on inquiry from Mr. R. Ogren (.2); work on minutes of
                  committee meeting (.1); call to Mr. D. Walker on meeting in
                  Los Angeles and related issues (.1)

08-04-2006        M. Schoenike                                                       0.7                   126.00
                  Review United States Bankruptcy Court Calendar of
                  Events/update calendar (.3); review Request for Notice, update
                  Master Service List (.2); e-mail to accounting and to Ms. S.
                  Freeman and Mr. R. Charles re submission of draft invoice (.2)

08-05-2006        R. Charles                                                         0.8                   308.00
                  Correspondence on meeting at Stutman on plan issues (.1);
                  read amended motion on Fertitta and draft memo to Mr. D.
                  Walker on non-opposition (.1); read memo from Mr. S. Strong
                  on potential buyer list and draft memo to Mr. Burr on same
                  (.1); forward information requested to Mr. Walker; read memo
                  from Ms. S. Freeman and work on demand letter to Mr. T.
                  Allison on fraudulent transfer claims (.2); read Mr. Gilloon's
                  response to FTD suggestion as to surcharge (.1); draft memo to
                  Ms. A. Jarvis on sect. 365d4 deadline (.1); read memos from
                  direct lenders (.1)

08-05-2006        R. Charles                                                         0.1                    38.50
                  Read memo from Ms. M. Schoenike and work on order for
                  Sierra employment

08-06-2006        R. Charles                                                         0.6                   231.00
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                  Read memo from Mr. M. Levinson and read memo from Mr.
                  G. Garman on meeting attendance (.1); read summary of Hilco
                  appraisals and work with Mr. D. Walker on additional issue
                  (.2); read memo from Ms. C. Carlyon on document proposal
                  (.1); work with Mr. Walker on reformatted loan summary (.2)

08-07-2006        R. Charles                                                           0.1                    38.50
                  Work with Mr. Don Walker on interpleader

08-07-2006        M. Schoenike                                                         0.2                    36.00
                  Review e-mail from Mr. Rob Charles re posting list of
                  Substantive Orders, e-mail to BMC website re same

08-08-2006        R. Charles                                                           1.6                   616.00
                  Read memo from Mr. D. Walker (.1); read memo from Mr. T.
                  Burr re newspaper publicity (.1); read memo on dial in for
                  hearing on Fertitta motion (.1); work with Ms. S. Freeman on
                  hearing and committee agenda (.1); continue advice to Mr.
                  Walker on interpleader (.1); return call to Mr. P. Lennon in
                  Tampa on loan (.1); attend via phone the expedited hearing on
                  Fertitta completion loan (.7); read memo from Ms. Freeman on
                  insert into the agenda (.1); read memo from Ms. Schoenike on
                  interim fee applications (.1)

08-09-2006        R. Charles                                                           0.1                    38.50
                  Work with Ms. J. McPherson on stipulations to extend sect.
                  365d4 deadline on leases; read memo from Mr. L. Schwartzer
                  on Nevada Mortgage Lending position on Fertitta loan

08-10-2006        S. Freeman                                                           0.2                   102.00
                  Review proposed Racebrook/Nevada State Bank screening
                  procedure (.1); telephone to Mr. R. Charles re acceptance of
                  same, and responding to their counsel (.1)

08-10-2006        R. Charles                                                           0.1                    38.50
                  Read memo from Mr. M. Bloom and respond as to Greenberg
                  Traurig's representation of Nevada State Bank and Racebroo
                  (.1); work with Ms. S. Freeman on pending issues (NO
                  CHARGE)

08-12-2006        R. Charles                                                           0.1                    38.50
                  Draft memo to Mr. S. Strong on all committees agenda;
                  forward dial in information to Mr. D. Walker and Mr. T. Burr
                  (.1)
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08-12-2006        R. Charles                                                            0.3                     0.00
                  Draft memo to Mr. Marc Levinson (NC)

08-14-2006        S. Freeman                                                            0.2                   102.00
                  Read emails regarding meeting on IP collections and calendar,
                  and regarding fees

08-14-2006        R. Charles                                                            2.1                   808.50
                  Prepare for and meet with all committees, debtors and
                  professionals (1.0); discuss strategy with Ms. S. Freeman (.2);
                  read debtors' motion to reject personal property leases and
                  notice of hearing (.1) ; telephone call from Mr. T. Burr on
                  information issues with Mesirow, sale, meetings, and related
                  topics (.3); work with Ms. C. Carlyon on court scheduling (.1);
                  prepare for hearings (.4)

08-15-2006        R. Charles                                                            4.2              1,617.00
                  Prepare for and meet with Diversified counsel, financial
                  adviser, chair, with Mr. D. Walker and Mr. T. Burr re IP, plan
                  issues during meeting include Ms. S. Freeman and Mr. M.
                  Tucker (2.1); during those meetings meet with Silverpoint
                  representatives via phone and in person (1.2); and after
                  Silverpoint call, conclude meeting with Diversified on IP, plan
                  and related issues (.9)

08-16-2006        R. Charles                                                            4.4              1,694.00
                  Prepare for and attend hearings on stay relief, distribution
                  motion and request for information, discussions before and
                  after hearings with counsel (2.7 ; meet with Ms. A. Jarvis, Ms.
                  S. Smith and another Mesirow person at USA Capital offices
                  on plan, distribution motion, IP and other issues (1.4); discuss
                  issues on sale briefly with potential buyer representatives (.3)

08-16-2006        M. Schoenike                                                          0.9                   162.00
                  Read e-mails received (.3); review, identify documents
                  received for filing (.4); update calendar (.2)

08-17-2006        S. Freeman                                                            0.3                   153.00
                  Review financial statements and analyses on USACM from T.
                  Burr

08-17-2006        R. Charles                                                            0.2                    77.00
                  Work with Mr. M. Tucker on issue of holdback vis a vis
                  principal or interest on repaid loans (.1); work on order for
                  future scheduling (.1)
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08-18-2006        S. Freeman                                                            0.2                   102.00
                  Read e-mails re financial analysis (.1); read e-mail notes of
                  hearing (.1)

08-18-2006        R. Charles                                                            0.3                   115.50
                  Read memo from Mr. S. Sherman on procedures order (.1);
                  read memo from Ms. B. Higgins and revisions on the proposed
                  use of cash order (.1); read updated calendar of events (.1)

08-18-2006        M. Schoenike                                                          0.7                   126.00
                  Telephone from Ms. P. Rieger re Committee meeting and
                  Committee information (.2); review hearing notes, update
                  calendar (.5)

08-21-2006        R. Charles                                                            0.3                   115.50
                  Work with all committees and debtors on meeting to follow up
                  on plan and sale discussions (.1); read memo from Ms. L.
                  Treadway on document project and read memo from Mr. G.
                  Gordon on same and work on dissemination of files (.1); read
                  memo from Mr. Gordon on same; review and approve order on
                  distribution motion and amended case management order (.1);
                  read memo from Ms. C. Carlyon on documents project ; read
                  memo from Mr. T. Burr on information requests (.1)

08-21-2006        M. Schoenike                                                          0.1                    18.00
                  Prepare for, take notes for Committee meeting (3.5) (NO
                  CHARGE); e-mail to Mr. R. Charles re Robert Hagmaier vote
                  (.1)

08-22-2006        S. Freeman                                                            0.1                    51.00
                  Read e-mails and proposed mark-ups of release order

08-22-2006        R. Charles                                                            0.8                   308.00
                  Read memo from Ms. L. Treadway and read memo from Ms.
                  C. Carlyon on document imaging project (.1); work on order as
                  to ordinary course releases and distribution of proceeds (.3);
                  draft memo to Ms. A. Jarvis on USA Securities E&O policy
                  and claim (.1); conclude work on order and draft memo to
                  counsel (.3)

08-22-2006        M. Schoenike                                                          1.2                   216.00
                  E-mail to Mr. R. Charles re administrative order, review
                  proposed order (.2); work on minutes of Committee meeting
                  (1.0)
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08-23-2006        R. Charles                                                             1.4                   539.00
                  Read memo from Ms. E. Karasik and read memo from Mr. S.
                  Strong and draft memo to debtors on all committees call (.1);
                  prepare for and participate in all committees and debtors' call
                  (1.4)

08-23-2006        M. Schoenike                                                           2.1                   378.00
                  Review e-mail re distribution of funds to DL's (.1); work on
                  Minutes of August 21st meeting (1.4); obtain, review and edit
                  Master Service List for new updates (.3); meet with document
                  support re preparation of claim v. schedule analysis chart (.3)

08-24-2006        R. Charles                                                             0.1                    38.50
                  Work on documents project with Ms. L. Treadway (.1)

08-24-2006        M. Schoenike                                                           1.0                   180.00
                  Review All Committee Call memo received from Mr. Rob
                  Charles (.2); telephone from USA Capital re letter to investors,
                  telephone call to Mr. Rob Charles and response to USA Capital
                  (.3); review, docket, file and serve Notice of Continuing
                  Objection to Motion for Payment of Proceeds of Notes Secured
                  by Deeds of Trust Without Reduction for Netting (.5)

08-25-2006        M. Schoenike                                                           3.9                   702.00
                  Telephone from document support re status of claims analysis
                  project (.1); draft Certificate of Service of Notice (.2); review,
                  identification of documents received for filing (.3); work on
                  claims analysis (3.3)

08-28-2006        R. Charles                                                             0.1                    38.50
                  Work with Ms. S. Freeman on issues for the August 31 hearing
                  after reading court's calendar

08-28-2006        M. Schoenike                                                           0.3                    54.00
                  Obtain, review United States Bankruptcy Court calendar, e-
                  mail to counsel (.2) e-mail to Ms. S. Freeman and Mr. R.
                  Charles re documents for hearing (.1)

08-29-2006        M. Schoenike                                                           0.1                    18.00
                  Review e-mail from Mr. R. Charles re bids

08-30-2006        S. Freeman                                                             1.6                   816.00
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                  Read T. Burr e-mail re Mesirow accounting issues (.1);
                  debtors-all committees conference call re sale, exclusivity,
                  distribution order (1.3); review e-mail and draft order re
                  exclusivity response and revisions (.1)

08-30-2006        S. Freeman                                                            3.3           1,683.00
                  Read several e-mail exchanges re form of order for hearing
                  tomorrow (.1); participate in conference call of debtors and all
                  committees' professionals re sale and distributions issues (2.3);
                  telephone to Mr. R. Charles re J. Gordon position and Mesirow
                  costs issue (.2); work on distribution order revisions (.7)

08-30-2006        R. Charles                                                            2.0            770.00
                  Prepare for and participate in all committees and debtors'
                  professionals call on distribution order, sale, plan and other
                  pending issues, during the call read and approve the orders on
                  ordinary course of business releases and approving operating
                  budget (1.4); prepare for and participate in all committees and
                  debtors call re sale and plan (.8)

08-30-2006        M. Schoenike                                                          2.8            504.00
                  Committee meeting conference call (1.6 (NO CHARGE);
                  hearing preparation for Ms. S. Freeman, including notebook
                  and index (1.6); prepare minutes of meeting (1.2)

08-31-2006        S. Freeman                                                            4.0           2,040.00
                  Travel to Las Vegas, reading materials for hearing and reading
                  draft plan en route (2.0); court appearance and courtroom
                  discussions with counsel for other parties (2.0)

08-31-2006        R. Charles                                                            0.2                77.00
                  Work with Ms. S. Freeman on motion requested by Judge
                  Riegle as to the holdback issues and with a brief summary of
                  the decisions in court (.2); work with Mr. D. Walker on
                  confidentiality issues (.1)

08-31-2006        M. Schoenike                                                          1.8            324.00
                  Review, identification documents received for filing for all
                  deadline, response/reply dates (.3); work on claim review for
                  preparation of analysis (1.5)

09-01-2006        S. Freeman                                                            0.1                51.00
                  Review e-mail to committee re confidentiality issue

09-01-2006        S. Freeman                                                            0.2            102.00
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                  Respond to L. Davis request for copy of draft complaint

09-01-2006        S. Brown                                                              2.0            640.00
                  Work on various responses re committee website inquiries

09-01-2006        C. Jordan                                                             0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

09-01-2006        M. Schoenike                                                          0.5                90.00
                  Provide modified distribution motion requested by Ms. S.
                  Freeman (.1); file, docket, serve motion to amend Debtor's
                  Protocol for Continuing Distributions and Interim Holdbacks
                  (.4)

09-05-2006        S. Brown                                                              0.2                64.00
                  Review message re Mr. S. Berlin re "investor" questions (.1);
                  review agenda for conference call (.1)

09-05-2006        C. Jordan                                                             0.3                16.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

09-06-2006        S. Brown                                                              1.3            416.00
                  Work on various responses re creditor committee inquiries (.7);
                  return telephone calls re same (.4); review August 4 transcript
                  for website (.2)

09-07-2006        R. Charles                                                            0.1                38.50
                  Return call to Ms. C. Cunningham on interim distribution
                  motion

09-07-2006        S. Brown                                                              0.7            224.00
                  Review correspondence re letter threatening to sue unsecured
                  creditors (.5); telephone calls re same (.2)

09-10-2006        R. Charles                                                            0.1                38.50
                  Read memo from Mr. T. Burr on expense analysis and actual
                  vs. budget

09-11-2006        S. Freeman                                                            0.1                51.00
                  Read R. Charles e-mail re notice of hearing and respond re
                  court notice on service; read his reply
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09-12-2006        S. Freeman                                                           0.1                51.00
                  E-mail reminders re website issues to address

09-12-2006        R. Charles                                                           0.3            115.50
                  Prepare for hearings (.2); read memo from Mr. L. Schwartzer
                  on proposed notice and claim forms (.1); draft memo to Mr. A.
                  Landis on proposed order (.1)

09-12-2006        S. Brown                                                             1.5            480.00
                  Review monthly update requirements on committee website
                  (.5); continue reviewing various memorandum re status of case
                  (1.0)

09-13-2006        S. Freeman                                                           0.2            102.00
                  Read e-mail from R. Charles re court rulings (.1); read and
                  respond re e-mails from R. Charles, A. Jarvis, committee
                  professionals re call tomorrow (.1)

09-13-2006        R. Charles                                                           3.9           1,501.50
                  Prepare for and attend hearings on continuing distribution
                  motion and protocol for interim distributions and holdbacks,
                  plan exclusivity, Boise-Gowan stay relief and motion to
                  consolidate Wells Fargo and interpleader adversary
                  proceedings (3.9)

09-13-2006        S. Brown                                                             1.3            416.00
                  Continue reviewing status issues in case (.7); review Silver
                  Point issues (.6)

09-13-2006        C. Jordan                                                            0.3                16.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

09-13-2006        C. Jordan                                                            0.3                16.50
                  General filing of documents and pleadings, update filebacks
                  and indices and retrieval of ECF docket(s)

09-15-2006        S. Freeman                                                           0.1                51.00
                  Respond to e-mail re insurance issue

09-15-2006        S. Brown                                                             1.3            416.00
                  Review correspondence from Mr. C. McClellan re budget
                  versus actual for week ending 8/27 (.3); review committee
                  agenda for next meeting and review attachments re same (.5);
                  review and analyze Silver Point materials (.5)
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09-16-2006        S. Brown                                                              0.4            128.00
                  Work on implementing protocol re sharing information with
                  unsecured creditors

09-18-2006        S. Brown                                                              0.5            160.00
                  Review second amended order re case management procedures

09-19-2006        S. Brown                                                              0.1                32.00
                  Review correspondence re retention of USA employees

09-19-2006        C. Jordan                                                             0.4                22.00
                  General filing of documents and pleadings, update filebacks
                  and indices and retrieval of ECF documents

09-20-2006        S. Freeman                                                            0.8            408.00
                  Discuss all issues on joint committee/debtor professionals
                  conference calls

09-20-2006        R. Charles                                                            0.8            308.00
                  Prepare for and participate with all committees' and debtors'
                  professionals on all pending issues

09-21-2006        S. Freeman                                                            0.2            102.00
                  Read e-mail from T. Burr re tasks needed and letter from M.
                  Tucker re guaranties and respond by e-mail to T. Burr and R.
                  Charles re both (.2)

09-21-2006        S. Freeman                                                            0.1                51.00
                  Direct clerk re preparation of materials for hearing

09-24-2006        S. Freeman                                                            0.1                51.00
                  Respond to Mr. R. Charles e-mail re hearing issues

09-25-2006        S. Freeman                                                            0.2            102.00
                  Read e-mails from and to Mr. R. Charles and Mr. T. Burr re
                  hearing preparation and respond re same (.1); read Ms. A.
                  Jarvis e-mail re Standard Development continuance from
                  hearing (.1)

09-25-2006        R. Charles                                                            0.1                38.50
                  Work on arrangements for all committees and debtors meeting

09-26-2006        S. Brown                                                              0.1                32.00
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                  Work on website issues

09-26-2006        C. Jordan                                                             0.3                16.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

09-27-2006        S. Freeman                                                            1.1            561.00
                  Prepare for hearing tomorrow, reviewing motion papers and
                  recently filed responses

09-27-2006        S. Freeman                                                            0.2            102.00
                  Read Mr. R. Charles and Mr. T. Burr e-mails re motion on
                  ordinary course professionals (.1); read C. Pajak and J. Chubb
                  e-mails and proposed order re interim distribution (.1)

09-27-2006        M. Schoenike                                                          1.1            198.00
                  Review, identification of documents received for filing (.8);
                  work on hearing notebook (.3)

09-28-2006        S. Freeman                                                            1.5            765.00
                  Travel to Las Vegas, preparing en-route for hearing

09-28-2006        S. Freeman                                                            5.0           2,550.00
                  Participate in hearing (3.5); continued hearing (1.5)

09-28-2006        S. Brown                                                              3.6           1,152.00
                  Continue reviewing disclosure statement re priority scheme,
                  cash position, valuation and investment structure and exhibits
                  re same (1.8); continue review Silver Point term sheet (.9);
                  review plan definitions (.9)

09-28-2006        S. Brown                                                              0.3                96.00
                  Work on website updates

09-28-2006        M. Schoenike                                                          3.5            630.00
                  Review, upload Modified order authorizing Interim
                  Distributions and Holdbacks (.2); e-mail to Mr. Rob Charles re
                  calendaring of distribution and objection deadline (.1); review,
                  identify, documents received - calendar all deadlines, hearing
                  dates (1.0); work on updates to Website to add information on
                  sale, plan, disclosure statement, monthly reports, proof of claim
                  deadline, etc (1.7); update Omnibus hearing date for Case
                  Information Page (.2); update list of substantive orders, e-mail
                  to Mr. Rob Charles for review (.3)
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09-29-2006        S. Freeman                                                           0.4            204.00
                  Telephone from Mr. R. Charles re prepaid interest issue (.2);
                  read e-mails from Mr. T. Burr re loan collections and employee
                  retention and recommendations and e-mail comments to Mr. R.
                  Charles (.1); read e-mails from Mr. T. Burr re Funds claim
                  issue and work plan (.1)

09-29-2006        S. Brown                                                             0.8            256.00
                  Review report of hearing and upcoming strategy issues (.4);
                  review outline re various orders entered thus far in bankruptcy
                  case (.4)

09-29-2006        M. Schoenike                                                         0.5                90.00
                  Review report on 9/28/06 hearing, calendar continued hearing
                  dates

09-30-2006        S. Brown                                                             0.5            160.00
                  Continue review of various orders entered thus far in
                  bankruptcy case

10-02-2006        R. Charles                                                           0.1                38.50
                  Work with Mr. T. Burr on information needed by Debtors for
                  cash forecast

10-02-2006        S. Brown                                                             0.4            128.00
                  Review committee and debtor websites re updates

10-02-2006        M. Schoenike                                                         1.1            198.00
                  Review updates for Committee Website, e-mail to Mr. S.
                  Brown re same (.1); review e-mail re employee retention bonus
                  policy (.2); review Rieger response to employee bonus (.1); e-
                  mail to BMC re website updates (.5); e-mail to Mr. S. Brown
                  confirming response to inquiries posted on Committee Website
                  (.2)

10-03-2006        S. Brown                                                             1.0            320.00
                  Work on website information (.4); continue drafting summary
                  report for various issues, including proofs of claim,
                  distributions, sale, plan and disclosure statement (.6)

10-03-2006        M. Schoenike                                                         1.0            180.00
                  Review, identify and assist re file organization (.8); follow up
                  with Mr. S. Brown re responses to creditor inquiries (.2)
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10-04-2006        S. Brown                                                               0.9            288.00
                  Review memo re meeting with Mr. T. Allison (.3); continue
                  working on website summary (.6)

10-04-2006        C. Jordan                                                              0.3                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-04-2006        M. Schoenike                                                           1.3            234.00
                  Review Burr report on Allison meeting (.2); review,
                  identification of documents received for filing, including
                  calendaring objection deadlines, hearing dates (.9); review
                  summary report from Mr. S. Brown and respond re additions
                  (.2)

10-05-2006        S. Freeman                                                             0.1                51.00
                  Read A. Landis e-mail re former employees

10-05-2006        R. Charles                                                             0.1                38.50
                  Note amended disclosure by Beckley for Diversified (no
                  charge); read Debtors' motion to approve fourth cash budget
                  and draft memo to Debtors' counsel on briefing schedule (.1)

10-05-2006        S. Brown                                                               0.1                32.00
                  Continue work on summary monthly report

10-05-2006        C. Jordan                                                              0.3                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-05-2006        M. Schoenike                                                           0.9            162.00
                  Review, identification of documents received for filing (.4);
                  assist re service of notice of entry of Modified order (.3); assist
                  Ms. S. Freeman re exhibits (.2)

10-06-2006        R. Charles                                                             0.4            154.00
                  Read Debtor's motion to exclude debtors from bar date as to
                  inter-debtor claims or alternatively for appointment of special
                  counsel (.1); draft memo to Ms. A. Jarvis on recommendation
                  (.1); revise memo with input from Ms. E. Karasik (.1); read
                  FTDF response on employee retention program (.1)

10-06-2006        S. Brown                                                               0.4            128.00
                  Continue work on website summary
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10-06-2006        C. Jordan                                                              0.3                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-08-2006        R. Charles                                                             0.1                38.50
                  Read memo from Ms. A. Jarvis and draft memo to committee
                  counsel re meeting on Monday

10-09-2006        S. Freeman                                                             1.0            510.00
                  Participate in committees-debtors call re pending issues (.9);
                  review Mr. R. Charles notes re same (.1)

10-09-2006        R. Charles                                                             1.0            385.00
                  Draft memo to Mr. D. Walker on meetings with Debtors and
                  Committees (.1); prepare for and participate in call with all
                  committees and debtors (.9); work on discussion of inter-
                  company claim deadline (.2); read memo from Debtors on the
                  inter-company claims deadline and being heard on an
                  expedited basis (.1)

10-09-2006        C. Jordan                                                              0.3                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-09-2006        M. Schoenike                                                           1.1            198.00
                  Review updated USA docket (.2); review, identify documents,
                  calendar objection and hearing dates (.7); obtain United States
                  Bankruptcy Court Calendar of Events and circulate to team (.2)

10-10-2006        S. Brown                                                               1.3            416.00
                  Continue work on responding to creditor inquiries (.4); review
                  issue re diverted funds as property of the estate (.5); review
                  committee minutes and related issues (.4)

10-10-2006        C. Jordan                                                              0.4                 0.00
                  Obtain copy of pleadings for attorney review circulate copy of
                  pleadings for attorney review (NO CHARGE)

10-10-2006        M. Schoenike                                                           0.2                36.00
                  Review e-mail and FTDF Committee re sale/plan process and
                  e-mail to Mr. R. Charles re same

10-11-2006        R. Charles                                                             0.3            115.50
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                  Read memos from committee counsel on stipulation on
                  scheduling briefing on the fourth budget (.1); telephone call
                  from Mr. Jonathan Buss of Stewart Title on Montana payoff
                  and whether the order on ordinary course of business
                  transactions covers refinancings (.2)

10-11-2006        C. Jordan                                                             2.5            137.50
                  Source code case file documents for identification purposes for
                  attorney R. Charles for production to Debtor and Diversified

10-11-2006        M. Schoenike                                                          0.6            108.00
                  Review Mr. Rob Charles's note re USAIP call (.2); review Ms.
                  S. Meskell e-mail re scheduling committee meeting, calendar
                  meeting date (.1); review, identification of documents received
                  (.3)

10-12-2006        S. Freeman                                                            0.1                51.00
                  Respond to e-mails to Mr. H. Taylor re form of liquidating trust
                  agreement

10-12-2006        R. Charles                                                            0.3            115.50
                  Work on stipulated order on briefing on cash budget with input
                  from Ms. C. Carlyon, Ms. A. Loraditch, Ms. C. Pajak (.2);
                  work on stipulation concerning deadline for objection to
                  disclosure statement (.1)

10-12-2006        S. Brown                                                              0.3                96.00
                  Review case calendar (.1); finalize letter re creditor inquiry (.2)

10-12-2006        C. Jordan                                                             0.3                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-12-2006        M. Schoenike                                                          0.8            144.00
                  Review Order Authorizing Examination Pursuant to
                  Bankruptcy Rule 2004 re USACREG (.1); review,
                  identification of documents received for filing (.3); work on
                  Notice of Deposition, subpoena and respond to Ms. B. Piscitell
                  re same (.4);

10-13-2006        R. Charles                                                            0.2                77.00
                  Read U.S. Trustee's opposition to the employee retention
                  program (.1); work on stipulated order on briefing the cash
                  budget with input from Ms. J. McPherson and Mr. L.
                  Schwartzer (.1)
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10-13-2006        C. Jordan                                                           0.5                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-13-2006        M. Schoenike                                                        2.2            396.00
                  Review and respond to Mr. D. Walker e-mail re Calendar of
                  Events (.2); review docket, update calendar (.3); review e-mail
                  from Mr. R. Charles re committee expense reimbursement,
                  review application/notice filed (.3); telephone call to Debtor's
                  counsel re filing of application (.2); draft e-mail to Committee
                  Members re expense reimbursement application (.2) draft
                  application for reimbursement and notice (.8); review proofs of
                  claim, e-mail to Ms. S. Freeman and Mr. Rob Charles re
                  analysis project (.2)

10-16-2006        C. Jordan                                                           0.3                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-16-2006        M. Schoenike                                                        0.1                18.00
                  Confer with Mr. T. Morgan re contact list and task codes

10-17-2006        S. Freeman                                                          0.9            459.00
                  Discuss committee meeting and position on plan, sale, IP with
                  Mr. R. Charles (.1); participate in debtors/all committees call
                  (.8)

10-17-2006        R. Charles                                                          1.0            385.00
                  Prepare for and participate in all committees and debtors
                  meeting (.8); draft memo to Mr. A. Landis on inter-company
                  claims issue; read memo from Ms. E. Karasik and enclose
                  revised stipulation on briefing on cash budget (.1); read memo
                  from Mr. L. Schwartzer and revise proposed order (.1)

10-17-2006        C. Jordan                                                           0.3                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-18-2006        R. Charles                                                          0.5            192.50
                  Begin preparation for October 19 hearings (.3); read memo
                  from Mr. A. Landis on briefing schedule on cash budget and
                  draft memo to Mr. S. Farrow (.1); work with counsel on
                  stipulation as to briefing on cash budget (fourth) (.1)
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10-18-2006        C. Jordan                                                          1.0                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-18-2006        M. Schoenike                                                       2.0            360.00
                  Review, process incoming pleadings (.4); review spreadsheet,
                  and work with Mr. C. Jordan re schedule/claims analysis
                  spreadsheet (1.1); e-mail to Mr. D. Walker re spreadsheet (.2);
                  telephone from Mr. D. Walker re spreadsheet .3)

10-18-2006        K. Cady                                                            0.2                28.00
                  Review Nevada Secretary of State's records for statutory agent
                  of USA Commercial Real Estate Group; obtain information
                  regarding statutory agent; meeting with Mr. R. Charles
                  regarding statutory agent

10-19-2006        R. Charles                                                         3.4           1,309.00
                  Read Debtors' status and agenda report (.1) attend hearings on
                  sale procedures, employee retention, plan exclusivity and
                  related matters, and discussions before and after hearings with
                  counsel for Debtors, committees and interested parties (3.1);
                  discussion after hearing with direct lender on potential
                  witnesses for causes of action (.2)

10-19-2006        M. Schoenike                                                       0.3                54.00
                  Respond to Mr. Rob Charles re scheduled committee meetings
                  (.1); review notice of deposition, telephone call to Ms. B.
                  Piscitell re order, file notice (.2)

10-20-2006        S. Freeman                                                         0.1                51.00
                  Read Mr. R. Charles report of hearings

10-20-2006        R. Charles                                                         0.3            115.50
                  Read memo from Mr. S. Strong and finalize proposed order on
                  cash budget briefing (.1); work with Mr. L. Schwartzer on
                  Standard Property and Highland Fund motions and on sale
                  issues (.2)

10-20-2006        C. Jordan                                                          0.3                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-20-2006        M. Schoenike                                                       0.1                 0.00
                  Review e-mail re change of address for Shea & Carylon and
                  edit service list (NO CHARGE)
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10-23-2006        H. Taylor                                                            0.3            106.50
                  Begin reviewing draft of liquidating trust agreement and
                  telephone call with Mr. R. Charles regarding same

10-23-2006        C. Jordan                                                            0.4                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-23-2006        M. Schoenike                                                         0.7            126.00
                  Review Mr. Rob Charles memo of 10/19/06 hearings, update
                  calendar (.4); file, docket, serve Reply Memorandum in
                  Support of Retention Motion (.3)

10-24-2006        R. Charles                                                           0.6            231.00
                  Read memo from Ms. A. Jarvis and work on potential
                  cooperation agreement with former employees (.4); prepare for
                  October 25 hearings (.2)

10-24-2006        C. Jordan                                                            0.5                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-24-2006        M. Schoenike                                                         0.5                90.00
                  Review case status report and e-mail Mr. Rob Charles re
                  posting to website (.2); review, file, docket, serve response to
                  motion to approve loan modification for Palm Harbor One
                  Loan, etc. (.3)

10-25-2006        S. Freeman                                                           0.1                51.00
                  Read Mr. R. Charles interim report on hearing

10-25-2006        S. Freeman                                                           0.2            102.00
                  Telephone from Mr. R. Charles re hearing conclusions and
                  briefing objection to conversion

10-25-2006        C. Jordan                                                            0.4                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-25-2006        M. Schoenike                                                         0.6            108.00
                  Work with Mr. H. Taylor re Liquidating Trust (.3); file, docket
                  serve joinder (.3);
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10-26-2006        S. Freeman                                                            1.2            612.00
                  Participate in debtor-committee call

10-26-2006        C. Jordan                                                             0.3                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-27-2006        C. Jordan                                                             0.3                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-27-2006        M. Schoenike                                                          0.8            144.00
                  Review response to Motion to Convert Cases, file, docket,
                  serve (.3); obtain, review updated United States Bankruptcy
                  Court calendar of events/deadlines (.2); review identify,
                  process documents received for filing (.3)

10-29-2006        R. Charles                                                            0.1                38.50
                  Read agenda for Monday hearing (.1)

10-30-2006        S. Freeman                                                            0.4            204.00
                  Check on status of USA Realty 2004 per Mr. S. Sherman
                  request, and respond to him (.3); respond to follow-up inquiry
                  from Mr. S. Sherman re same (.1)

10-30-2006        R. Charles                                                            6.8           2,618.00
                  Prepare for hearings (1.0); meet with Ms. E. Karasik, Ms. C.
                  Carlyon and others in preparation for hearings and on plan
                  issues to be raised at the hearing (1.0); to court, confer with Mr.
                  D. Walker, Mr. G. Garman, a direct lender, interested parties
                  and counsel (1.0); attend hearings on conversion (denied,
                  objection to claim (previously granted), forbearance (granted),
                  inter-company claims (granted), and use of cash (granted) and
                  discuss issues with Mr. Walker and counsel during breaks and
                  after hearing (3.9); briefly discuss developments with Ms. S.
                  Freeman (.2)

10-30-2006        C. Jordan                                                             0.3                 0.00
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review (NO CHARGE)

10-30-2006        M. Schoenike                                                          0.4                72.00
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                  Review USAREG 2004 examination notice and respond to Ms.
                  S. Freeman [.2); review e-mail, update calendar re rescheduled
                  examination (.1); review various e-mails re DTDF Potential
                  claim (.1)

11-01-2006        S. Freeman                                                           0.1                51.00
                  Read Mr. R. Charles notes from hearing

11-01-2006        M. Schoenike                                                         0.4                72.00
                  E-mail to Mr. R. Charles re returned mail for party on OSL
                  (.1); review, process, identify documents received for filing (.3)

11-02-2006        C. Jordan                                                            0.4                22.00
                  General filing of documents and pleadings, update filebacks
                  and indices

11-03-2006        M. Schoenike                                                         0.4                72.00
                  Review docket, update master service list and update calendar

11-06-2006        S. Brown                                                             0.1                32.00
                  Review calendar items and upcoming deadlines

11-06-2006        M. Schoenike                                                         0.1                18.00
                  Review e-mails from Mr. Rob Charles re omnibus hearing

11-07-2006        S. Brown                                                             1.4            448.00
                  Review second amended plan

11-07-2006        S. Bundy                                                             0.8                88.00
                  Work on project re RICO books for Mr. P. Mause

11-07-2006        C. Jordan                                                            0.3                16.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

11-07-2006        M. Schoenike                                                         1.1            198.00
                  Obtain, process documents received for filing (.5); update
                  calendar of events/deadlines (.2); review request for notice,
                  update service list (.2); e-mail to counsel re hearing on motion
                  to seal (.2)

11-08-2006        R. Charles                                                           0.3            115.50
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                  Work with Ms. M. Schoenike on notice of appeal (.1); read
                  BAP notice and draft letter to Ms. C. Cunningham on appeal
                  (.1); read Mr. T. Allison's supplemental declaration on the
                  proposed Marlton loan forbearance (.1)

11-08-2006        S. Brown                                                              0.4            128.00
                  Review and calendar upcoming hearings and deadlines (.1);
                  continue review of amended plan of reorganization (.2); review
                  amended disclosure statement (.1)

11-08-2006        M. Schoenike                                                          2.2            396.00
                  Review Mr. Rob Charles draft calendar re plan confirmation
                  process (.2); update case calendar (.2); respond to Mr. R.
                  Charles re Committee meeting (.1); obtain, review creditor
                  inquiries posted to website, forward to Mr. R. Charles (.3); e-
                  mail to Mr. S. Brown re creditor inquiry (.1); review, process
                  documents received for filing (.3); prepare report for
                  Committee Website (.6); e-mail to Mr. R. Charles, revise
                  report, and e-mail to BMC for posting to website (.4);

11-09-2006        M. Schoenike                                                          0.9            162.00
                  Review court docket, process pleadings and update calendar
                  (.6); assist Mr. C. Jordan re documents relating to Motion to
                  Enforce Order re Motion to Distribute funds (.3)

11-10-2006        M. Schoenike                                                          0.5                90.00
                  Review United States Bankruptcy Court calendar, edit calendar
                  of events/deadlines (.3); review hearing agenda (.2)

11-11-2006        R. Charles                                                            0.3            115.50
                  Read memo from Mr. L. Schwartzer, and approve order on
                  Palm Harbor, Marlton and related transactions (.1); prepare for
                  hearing on Marlton compromise, USACREG request for
                  payment, and disclosure statement (.2)

11-13-2006        M. Schoenike                                                          1.1            198.00
                  Review minutes of October 31st and November 1 meeting (.3);
                  respond to Mr. R. Charles re arrangements for conference call
                  for committee meeting (.1); edit Nov. 10th minutes (.2); e-mail
                  to Mr. R. Charles re draft of minutes (.1); review, identify,
                  process documents received for filing (.4)

11-14-2006        M. Schoenike                                                          0.6            108.00
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                  Review e-mail from Mr. R. Charles re Nov. 13th hearing,
                  update calendar (.3); assist Mr. T. Burr re Lewis and Roca
                  application and fee statements (.3)

11-15-2006        C. Jordan                                                            0.4                22.00
                  Obtain copy of pleadings for attorney review (.2); circulate
                  copy of pleadings for attorney review (.2)

11-15-2006        M. Schoenike                                                         0.2                36.00
                  Review e-mail re settlement conference

11-16-2006        M. Schoenike                                                         0.2                36.00
                  Review e-mail from Mr. R. Charles re resignation of Robert
                  Hagmaier (.1); respond to Mr. Charles re committee notices
                  (.1);

11-16-2006        K. Cady                                                              0.2                28.00
                  Meeting with Mr. J. Hinderaker regarding obtaining
                  information on USA Commercial Mortgage Company from the
                  Nevada Secretary of State; obtaining information on USA
                  Commercial Mortgage Company from the Nevada Secretary of
                  State

11-17-2006        R. Charles                                                           0.3            115.50
                  Read memo from Mr. M. Levinson on order on inter-company
                  claims (.1); work on order authorizing private court reporter at
                  auction (.1); analyze appeal by Standard Property Development
                  and its reference to the BAP (.1)

11-17-2006        H. Taylor                                                            2.2            781.00
                  Continue working on revised draft of liquidating trust
                  agreement and e-mail to Mr. R. Charles regarding same

11-17-2006        S. Brown                                                             0.3                96.00
                  Review deadlines and outstanding issues re plan and disclosure
                  statement sale issues

11-17-2006        C. Jordan                                                            0.4                22.00
                  Obtain copy of pleadings for attorney review(.2); circulate
                  copy of pleadings for attorney review(.2)

11-17-2006        M. Schoenike                                                         0.1                18.00
                  Review Mr. Rob Charles memo re approval of joint term sheet

11-17-2006        K. Cady                                                              0.4                56.00
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                  Meeting with Mr. J. Hinderaker regarding obtaining
                  information from the Nevada Secretary of State for USA
                  Capital Diversified Trust Deed Fund, LLC, USA Capital First
                  Trust Deed Fund, LLC, USA Capital Realty Advisers, LLC,
                  USA Securities, LLC and USA Investment Partners, LLC;
                  obtain information from the Nevada Secretary of State for each
                  entity.

11-18-2006        R. Charles                                                          0.2                77.00
                  Read memo from Mr. L. Schwartzer on Binford suit (.1); work
                  on order on inter-company claims (.1)

11-20-2006        R. Charles                                                          0.1                38.50
                  Read memo from Mr. A. Landis approving extension of
                  deadline; return call to Mr. Landis

11-20-2006        S. Brown                                                            0.3                96.00
                  Review various correspondence re plan voting

11-20-2006        M. Schoenike                                                        0.7            126.00
                  Review e-mail re Trustee interview (.1); update calendar (.1);
                  respond to Mr. S. Brown re estimated distribution to unsecured
                  creditors (.2); obtain, review Trustee's resumes, respond to Ms.
                  S. Freeman re interviews (.3)

11-21-2006        R. Charles                                                          0.2                77.00
                  Call to Mr. A. Landis on committee member (left message)
                  (.1); work with Ms. E. Monson on USAIP discovery (.1); work
                  with Mr. S. Sherman on OST (.1)

11-22-2006        R. Charles                                                          0.3            115.50
                  Work with Mr. D. Monson on employment of national
                  foreclosure counsel (.2); work with Mr. S. Strong on prior
                  approval of critical decisions (.1); read memo from Ms. C.
                  Carlyon on service list and direct response (.1)

11-22-2006        K. Cady                                                             0.5                70.00
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                  Review Nevada Secretary of State's records for Haspinov,
                  LLC, Tanamera Homes LLC, Tanamera Commercial
                  Development, LLC, Tanamera Corporate Center, LLC, South
                  Meadows Office Investors, Pecos Professional Park, Tanamera
                  Apartment Horses, Twelve Horses of North America,
                  Tanamera Resort Partners and USA Commercial Real Estate
                  Group; obtain information on each entity (.3); prepare email to
                  Mr. J. Hinderaker stating statutory agents and
                  officers/managers for each entity (.2)

11-27-2006        C. Jordan                                                             0.4                22.00
                  Participate in conference call with R. Charles, E. Wooley, and
                  M. Schoenike re: Claims analysis

11-27-2006        M. Schoenike                                                          0.4                72.00
                  Respond to Mr. C. Jordan re service of Interim Fee Statements
                  (.2); review Bridge Associates presentation for Trustee
                  interview (.2)

11-28-2006        S. Freeman                                                            1.6            816.00
                  Read D. Walker and P. Rieger e-mails re voting issue and R.
                  Charles response; read several M. Schoenike, R. Charles and J.
                  Barrett e-mails re website postings (.1); read e-mails from C.
                  Pajak, A. Jarvis, F. Merola re filings tomorrow (.1); appear by
                  phone at court hearing (1.3); e-mail comments on report of
                  hearing and posting supplemental disclosure on website (.1)

11-28-2006        S. Freeman                                                            0.8            408.00
                  Per e-mail from Mr. R. Charles, check on flight availability to
                  handle hearings today (.1); review pleadings for hearing and
                  check for any reply (.4); check with Ms. M. Schoenike on
                  ability to participate telephonically (.1); telephone to D. Walker
                  re whether to come to Las Vegas for hearing (.1); e-mail to
                  counsel for debtors re appearing by phone and unsecured
                  committee support for motion being heard and e-mail to
                  committee re same (.1)

11-28-2006        S. Brown                                                              0.7            224.00
                  Review recent filings in bankruptcy case (.4); review updates
                  to bankruptcy court website (.3)

11-28-2006        C. Jordan                                                             0.3                16.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review
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11-28-2006        M. Schoenike                                                        2.3            414.00
                  Assist Ms. S. Freeman re telephonic participation for hearing
                  (.2); assist Ms. S. Freeman re hearing preparation (.5);
                  notification to committee re listen only number for hearing (.2);
                  review e-mail re draft for Committee review on Trustee
                  interview (.2); review e-mail from Mr. T. Burr re appointment
                  as Trustee (.2); review, identify documents received for filing
                  (.3); work on posting documents to Committee Website (.6);
                  review response from Ms. S. Freeman and Mr. Rob Charles re
                  website (.1)

11-29-2006        C. Jordan                                                           0.3                16.50
                  Obtain copy of pleadings for attorney review and circulate
                  copy of pleadings for attorney review

11-29-2006        M. Schoenike                                                        1.5            270.00
                  Review website updates, respond to Mr. J. Barlett re posting of
                  supplemental disclosures (.2); review DSI and Bridge response
                  re Trustee selection (.3); review, identify documents received
                  for filing, calendar deadlines, hearing dates (.5); memo to Mr.
                  S. Brown re posting of update to website (.1); review proposed
                  agenda for December 1 committee meeting (.2); e-mail to Mr.
                  R. Charles re deadlines (.2)

11-30-2006        S. Freeman                                                          0.1                51.00
                  Read Mr. R. Charles e-mail to committee re transfer issues,
                  scanning documents

11-30-2006        S. Brown                                                            0.1                32.00
                  Review calendar re upcoming events

11-30-2006        M. Schoenike                                                        0.2                36.00
                  Conflict search re new members, review report (.2); e-mail to
                  Mr. Rob Charles and Ms. S. Freeman re same (NO CHARGE
                  FOR .1)

12-01-2006        S. Freeman                                                          0.1                51.00
                  Read T. Burr analysis of monthly operating reports

12-01-2006        S. Freeman                                                          0.1                51.00
                  Read Mr. R. Charles notes of call with debtors and committee's
                  professionals

12-01-2006        R. Charles                                                          2.2            847.00
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                  Read memo from Debtors' and committees' counsel on meeting
                  (.2); read memos on claims objection (.1); note order approving
                  supplemental disclosure (.1); note orders on Rule 2004
                  discovery (.1); prepare for and participate in all committees and
                  debtors' meeting (1.7)

12-01-2006        M. Schoenike                                                           0.7            126.00
                  Review Ted Burr summary of professional fees (.2); provide
                  Mr. G. Berman with schedules v. proof of claim analysis as
                  requested by Ms. S. Freeman (.3); review e-mail re Direct
                  Lenders Committee meeting, respond re conflict with USACM
                  Committee Meeting (.1) update calendar (.1)

12-04-2006        S. Freeman                                                             0.1                51.00
                  Read R. Charles/P. Rieger e-mails re foreclosure counsel issues
                  and draft settlement letter to DTDF

12-04-2006        S. Freeman                                                             0.1                51.00
                  Read debtor's proposal re website language and R. Charles
                  revisions, further e-mails between S. Smith, R. Charles, S.
                  Strong re same

12-04-2006        R. Charles                                                             1.4            539.00
                  Read memo from Mr. D. Monson on Texas foreclosure
                  counsel, draft memo to committee on same (.2); prepare for
                  and participate in all committees and debtors' call (.9); work
                  with Mr. D. Walker on and draft memo to Mr. Monson on
                  estimate of Texas counsel's fees (.1); read order on expedited
                  hearing (.1); note schedule of executory contracts and draft
                  letter to Ms. Jarvis (.1)

12-04-2006        M. Schoenike                                                           0.6            108.00
                  Review various e-mails from counsel and committee members
                  re Direct Lenders Committee meeting, agenda items, settlement
                  hearing, etc (.4); review, identify documents received for filing
                  (.2)

12-05-2006        R. Charles                                                             1.3            500.50
                  Prepare for and participate in all committees and debtors call
                  (.7); meeting with debtors and committees' professionals (.6)

12-07-2006        M. Schoenike                                                           1.7                 0.00
                  Process additional names for conflict, review report and
                  respond to Mr. R. Charles (NO CHARGE)
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12-07-2006        M. Schoenike                                                       0.4                72.00
                  Review updated docket, calendar objection deadlines and
                  hearing

12-08-2006        R. Charles                                                         0.1                38.50
                  Read memo from Mr. S. Strong on meeting on balloting issues
                  (.1)

12-08-2006        M. Schoenike                                                       0.7            126.00
                  Edit Notice of Filing of Plan Documents Supplement and
                  Disclosure (.2); e-mail to Mr. R. Charles re service of Plan
                  Document Supplements, Trust Agreement (.2); work with Mr.
                  R. Charles re revisions to Trust Agreement and filing (.3)

12-10-2006        S. Freeman                                                         0.1                51.00
                  E-mail to Ms. A. Jarvis, S. Strong re access to USA Realty
                  corporate records

12-11-2006        R. Charles                                                         0.1                38.50
                  Read memo from Ms. M. Schoenike on agenda (.1); work with
                  Ms. Schoenike on Mr. Hinderaker limited admission (.1)

12-11-2006        C. Jordan                                                          0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

12-11-2006        M. Schoenike                                                       0.9            162.00
                  Review United States Bankruptcy Court calendar, update
                  calendar of events/deadlines and circulate to counsel and
                  parties in interest (.4); review, identification of documents
                  received for filing (.3); respond to Ms. S. Freeman re
                  settlement conference location (.1); e-mail to BMC re posting
                  of inquiries to website (.1);

12-12-2006        S. Brown                                                           0.2                64.00
                  Review case status re upcoming hearings and motions

12-12-2006        C. Jordan                                                          0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

12-12-2006        M. Schoenike                                                       0.1                 0.00
                  Telephone from Ms. B. Piscitell re Metastorm conflict update
                  (NO CHARGE)
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12-12-2006        M. Schoenike                                                         0.4                72.00
                  Review response to motion re protective order, file, docket
                  serve response (.2); forward Notices to Committee re motions
                  for temporary allowance of claims (.2)

12-13-2006        S. Brown                                                             0.1                32.00
                  Review status of committee member objection to plan

12-13-2006        C. Jordan                                                            0.3                16.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

12-13-2006        M. Schoenike                                                         0.4                72.00
                  Review, file, docket, serve Response to Motion of USA
                  Investment Partners and Joseph Milanowski for the
                  endorsement of a Protection Order (.2); research file re Del
                  Bunch signature pages to Bylaws and Confidentiality
                  Agreement (.2)

12-14-2006        R. Charles                                                           0.2                77.00
                  Read agenda for December 15 hearings (.1); read memo from
                  Mr. D. Monson (.1) and work on stipulated order on
                  refinancing and sale issues (.2)

12-14-2006        S. Brown                                                             0.1                32.00
                  Work on status report for committee website

12-14-2006        C. Jordan                                                            0.3                16.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

12-14-2006        M. Schoenike                                                         1.1            198.00
                  Review, identification of documents received for filing,
                  calendar objection and hearing dates (.7); assist Mr. M. Ruth re
                  Debtor's Motion to Distribute Funds and to Grant Ordinary--
                  course releases and Distribute proceeds (.4)

12-18-2006        R. Charles                                                           0.1                38.50
                  Draft memo to Ms. A. Jarvis on executory contracts and leases
                  (.1)

12-18-2006        C. Jordan                                                            0.5                27.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review
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12-19-2006        S. Freeman                                                            0.1                51.00
                  Read and respond to G. Berman e-mails re hearing and Bunch
                  deposition

12-19-2006        C. Jordan                                                             0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

12-19-2006        M. Schoenike                                                          0.6            108.00
                  Review, identification of documents received for filing (.4);
                  update calendar re hearing and objection deadlines (.2)

12-20-2006        C. Jordan                                                             0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

12-20-2006        M. Schoenike                                                          0.7            126.00
                  Review, identification of documents received for filing, process
                  documents and identify for calendaring

12-21-2006        C. Jordan                                                             0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

12-22-2006        S. Brown                                                              0.2                64.00
                  Review calendar of events

12-22-2006        C. Jordan                                                             0.3                16.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

12-22-2006        M. Schoenike                                                          0.3                54.00
                  Review Mr. Rob Charles update memo (.2); e-mail to Mr. Rob
                  Charles re revisions (.1)

12-26-2006        S. Brown                                                              0.1                32.00
                  Work on update re committee website

12-27-2006        S. Freeman                                                            5.3           2,703.00
                  Participate in meeting with Trustee and R. Charles, and in part
                  with DTOF, re planning for trust operations and transition
                  issues (5.1); check with G. Berman on special counsel and
                  reply to his email re same and forward information to M.
                  Tucker per request (.2)
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12-27-2006        C. Jordan                                                            0.5                27.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

12-27-2006        M. Schoenike                                                         1.1            198.00
                  Meeting with Mr. G. Berman. M. Sorenson, Mr. Rob Charles
                  and Ms. S. Freeman re assistance to Trustee (1.0); ; e-mail Mr.
                  G. Berman re Leo Beus contact information (.1)

12-27-2006        M. Schoenike                                                         0.9                 0.00
                  Obtain, print bankruptcy documents (NO CHARGE)

12-28-2006        S. Freeman                                                           0.4            204.00
                  Read Mr. R. Charles - Mr. G. Berman e-mail re tax return issue
                  (.1); read Mr. G. Berman draft letter to prospective contingent
                  counsel, mark suggested changes and send back with notes (.3)

12-28-2006        R. Charles                                                           0.2                77.00
                  Review and approve order on release of Bundy Canyon funds
                  (.1); review and approve third amended case management order
                  (.1); read memo from Ms. C. Carlyon on same

12-28-2006        C. Jordan                                                            0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

12-28-2006        M. Schoenike                                                         0.6            108.00
                  Review e-mail from Mr. A. Landis and post confirmation
                  report (.2); review, identify documents received for filing (.4)

12-29-2006        S. Freeman                                                           0.2            102.00
                  Return Mr. C. Hainsworth call with Mr. R. Charles re his
                  concerns and suggestions for USACM Trust

12-29-2006        S. Freeman                                                           0.1                51.00
                  Read Mr. R. Charles response to potential contingency counsel,
                  and C. Pajak, A. Jarvis and C. Carlyon e-mails re confirmation
                  order issues and status

12-29-2006        C. Jordan                                                            0.3                16.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review
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12-29-2006        M. Schoenike                                                         0.7                 0.00
                  Work on parties to adversary complaint for conflicts (NO
                  CHARGE)

01-01-2007        R. Charles                                                           0.3                 0.00
                  Work on appearances in 7 adversary proceedings and two
                  involuntary cases (NO CHARGE)

01-02-2007        S. Freeman                                                           0.1                51.00
                  Read S. Strong, R. Charles, G. Gordon and objector e-mails re
                  confirmation order and Beadle McBride order

01-02-2007        S. Freeman                                                           0.3            153.00
                  E-mails from and to Mr. R. Charles and Mr. G. Berman re
                  meeting to interview prospective trust counsel (.2); read e-
                  mails from and to Mr. R. Charles, Mr. G. Berman, S. Smith,
                  Mr. T. Burr re BMC invoices, requested data (.1)

01-02-2007        R. Charles                                                           0.3            115.50
                  Analyze November monthly operating report of USACM (.2)
                  and reports of FTDF, DTDF and Capital Realty, particularly as
                  to management fees (.1)

01-02-2007        C. Jordan                                                            0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-03-2007        S. Freeman                                                           0.2            102.00
                  E-mail to and from Mr. R. Charles re points to present at
                  hearing (.1); read e-mails from Mr. R. Charles and Mr. G.
                  Berman re meeting tomorrow with S. Smith and respond (.1)

01-03-2007        R. Charles                                                           0.1                38.50
                  Read Debtors' agenda of January 3 hearings

01-03-2007        C. Jordan                                                            0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-03-2007        M. Schoenike                                                         1.9            342.00
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                  Draft: Motion for 2004 Examination of Custodian of Records
                  of Nevada State Bank with exhibit (.6); draft Order
                  Authorizing 2004 Examination (.3); review, identification of
                  documents received for filing, calendar deadlines (.5); draft
                  Certificate of Service (.2); e-mail to Mr. R. Charles re review
                  (.1), edit motion, order, e-mail to Mr. R. Charles re same (.2)

01-04-2007        C. Jordan                                                            0.7                38.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-04-2007        M. Schoenike                                                         0.7            126.00
                  Review Mr. Rob Charles report on Jan. 3 hearings (.2); review,
                  identification of documents received for filing (.5)

01-04-2007        M. Schoenike                                                         0.8            144.00
                  E-mail to Mr. Rob Charles re Motion for 2004 Production of
                  Documents, order and certificate (.2); review, identification of
                  documents received for filing, update calendar (.4); file, docket
                  motion, upload order (.2)

01-04-2007        M. Schoenike                                                         0.5                 0.00
                  Filing of documents (NO CHARGE)

01-05-2007        S. Freeman                                                           1.7            867.00
                  Read S. Strong and L. Schwartzer e-mails re Standard Property
                  proposal (.1); discuss with R. Charles and G. Berman re issues
                  and strategy on Standard Property and re other transition issues
                  (1.6)

01-05-2007        S. Freeman                                                           0.1                51.00
                  Read T. Burr e-mail re operating reports and BMC cost issue,
                  and respond

01-05-2007        R. Charles                                                           0.1                38.50
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                  Read and approve Interim Order Granting (1); Debtors' Motion
                  For Order Authorizing (I) Employment And Retention of
                  Mesirow Financial Interim Management, LLC As Crisis
                  Managers For The Debtors And (II) The Designation of
                  Thomas J Allison of Mesirow Financial Interim Management,
                  LLC As Chief Restructuring Officer For The Debtors And The
                  Employment of Certain Temporary Employees; (2) Application
                  By Debtor And Debtor-in-Possession For Authorization To
                  Retain And Employ Schwartzer & McPherson Law Firm As
                  Counsel Under General Retainer (3); Debtors' Application To
                  Employ Ray Quinney & Nebeker P.C. As Counsel For All
                  Debtors (.1); read and approve Order Continuing Hearing on
                  Motion to Exclude Debtors From Having To File Inter-
                  Company Claims Against Each Other By the Bar Date, or
                  Alternatively, For The Approval of the Immediate
                  Appointment of Special Counsel To File And Pursue The Inter-
                  Company Debtor Claims (.1)

01-05-2007        S. Brown                                                            0.3                96.00
                  Review status of case and claims litigation

01-05-2007        C. Jordan                                                           0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-08-2007        S. Freeman                                                          0.4            204.00
                  Read e-mails re finalizing confirmation order from A. Jarvis,
                  R. Charles, G. Gaiman, M. Levinson, S. Strong, G, Davis (.1);
                  telephone from R. Williamson re special counsel interviews
                  and materials (.2); respond to his e-mail re same and request
                  transmittal of materials (.1)

01-08-2007        S. Freeman                                                          0.2            102.00
                  Read G. Berman and T. Burr e-mails re Compass transition
                  issues and operating report issues (.1); telephone from G.
                  Berman re meeting with Mesirow (.1)

01-08-2007        S. Freeman                                                          0.1                51.00
                  Telephone to Mr. R. Charles re G. Berman meeting and
                  litigation issues

01-08-2007        M. Schoenike                                                        0.4                72.00
                  Review Agenda for Committee Meeting (.2); update e-mail
                  information for Mr. D. Mounier (.1); review e-mail from Ms.
                  R. Gourrinat re PACER charge (.1);
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01-08-2007        M. Schoenike                                                       1.2                 0.00
                  Work on filing of documents (NO CHARGE)

01-09-2007        S. Freeman                                                         0.1                51.00
                  E-mails from and to Mr. G. Berman re Fasil resignation

01-09-2007        S. Freeman                                                         0.2            102.00
                  Telephone from G. Berman re transition issues

01-09-2007        S. Freeman                                                         0.1                51.00
                  Read e-mails from Mr. R. Charles, Mr. G. Berman re plan
                  confirmation and potential litigation matters

01-09-2007        C. Jordan                                                          0.3                16.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-09-2007        M. Schoenike                                                       0.3                54.00
                  Obtain, review documents received for filing

01-10-2007        S. Freeman                                                         0.1                51.00
                  Read Mr. R. Charles, Mr. T. Burr, Tallison e-mails re
                  Compass/Standard Property, and Mr. R. Charles, Mr. A. Jarvis
                  e-mails re settlement proposal

01-10-2007        S. Freeman                                                         0.1                51.00
                  Read Mr. R. Charles e-mail to A. Jarvis re BMC billing issue,
                  and several to G. Davis and G. Berman re Compass issues

01-10-2007        C. Jordan                                                          0.5                27.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-11-2007        S. Freeman                                                         9.3           4,743.00
                  Travel to Las Vegas reviewing materials on potential litigation
                  en route (2.5); meet with trustee and trust oversight committee
                  and interview, discuss and choose litigation counsel for Twist
                  (6.8)

01-11-2007        R. Charles                                                         0.3            115.50
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                  Read memo from Mr. G. Walch and draft memo to Ms. M.
                  Olson on Walch appraisal request (.1) ; read memo from Ms.
                  A. Jarvis on transition meeting (.1); work with Ms. Jarvis, Mr.
                  M. Levinson on committees' meeting (.1)

01-11-2007        C. Jordan                                                           0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-11-2007        M. Schoenike                                                        0.6            108.00
                  Review deadlines, e-mail to Mr. R. Charles re mailing Notice
                  of Effective Date (.2); review, identification of documents
                  received for filing (.4)

01-12-2007        S. Freeman                                                          0.2            102.00
                  Read e-mails from Mr. T. Burr with attachments re BMC
                  charges, from Mr. R. Charles re same, from Mr. T. Burr to
                  Mesirow re same, and e-mails between Mr. R. Charles and Mr.
                  G. Berman re committee-debtor call (.1); read and respond to
                  e-mails from Mr. R. Charles and Mr. G. Berman re conference
                  call and read analysis of information systems transition issues
                  (.1)

01-12-2007        S. Freeman                                                          0.1                51.00
                  Respond to e-mails from Mr. R. Charles re conferences with
                  trustee and litigation counsel, re debtor-committee conference
                  call, and re proposed settlement

01-12-2007        C. Jordan                                                           0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-12-2007        M. Schoenike                                                        0.2                36.00
                  Assist Ms. C. Carlyon re Nevada State Bank production as
                  requested by Mr. R. Charles

01-15-2007        S. Freeman                                                          0.1                51.00
                  Read e-mails from Mr. T. Burr re meeting, transition issues

01-16-2007        S. Freeman                                                          1.6            816.00
                  Participate in committees/debtors call re transition issues

01-16-2007        S. Freeman                                                          0.2            102.00
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                  Send e-mail to A. Diamond re comments on protective order;
                  send e-mail to R. Charles re tomorrow's hearing agenda (.1);
                  read debtor's transition issues list and e-mail to R. Charles re
                  comments (.1)

01-16-2007        R. Charles                                                            2.0            770.00
                  Prepare for and participate in all committees and debtors call
                  on transition and sale issues (1.6); read draft letter from Mr. A.
                  Diamond on preservation of documents (.1); work with Mr. T.
                  Finley on retention application (.1); work with Mr. E. Madden
                  on retention application (.1); work with Mr. A. Diamond on
                  document imaging (.1); work with Mr. M. Tucker on the
                  commingled account issue (.1); read Compass Partners brief on
                  loan assignment issue (.1)

01-16-2007        C. Jordan                                                             0.3                16.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-16-2007        M. Schoenike                                                          1.1            198.00
                  Review, identification of documents received for filing (.6);
                  update calendar (.2); review Master Service List, update
                  database re same (.3);

01-17-2007        S. Freeman                                                            0.3            153.00
                  Read and respond to Mr. R. Charles e-mails re hearing issues
                  (.2); read K. Breen e-mail re protective order revision (.1)

01-17-2007        S. Freeman                                                            3.1           1,581.00
                  Participate in hearing and discussions with counsel for debtors
                  and committees at court in preparation (3.0); read e-mails from
                  Mr. R. Charles and E. Madden re Beadle McBride, and from
                  Mr. R. Charles and Mr. E. Karasik re appeal notice (.1)

01-17-2007        R. Charles                                                            1.9            731.50
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                  Read notice of appeal (.1); read agenda to prepare for hearing
                  and draft memo to Ms. S. Freeman on hearing agenda (.2); note
                  Debtors' amended hearing agenda (.1); read letter from Mr. M.
                  Pugsley with documents produced by Debtors (.1); attend
                  January 17 hearings telephonically on general status report (.1),
                  on intercompany claims (.1), USAIP protective order (.1),
                  motion for procedures on loan assignments (.2), USACREG
                  motion (.1), Spectrum Financial and other adversaries (.1),
                  Dayco Funding stay relief motion (.2), Binford summary
                  judgment motion (.3), on objection to Bunch claim (.2),
                  objection to DTDC claims (.1), request for appoint real estate
                  adviser in Tree Moss involuntary and USAIP VI involuntary
                  cases (.2)

01-17-2007        C. Jordan                                                           0.5                27.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-17-2007        M. Schoenike                                                        0.9            162.00
                  Review Ms. S. Freeman memo on hearing, calendar hearing
                  dates and deadlines (.4); review, file, docket, serve supplement
                  to joinder in opposition to Motion to Enforce Order Granting
                  Debtors' Motion to Distribute Funds (.3); review inquiries
                  posted to website, forward to Mr. S. Brown for response (.2)

01-18-2007        S. Bundy                                                            2.1            231.00
                  Work on project re copies of CDs and DVDs for Mr. R.
                  Charles

01-18-2007        C. Jordan                                                           0.5                27.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-18-2007        M. Schoenike                                                        0.5                90.00
                  Review, identification of documents received for filing, update
                  calendar

01-19-2007        S. Freeman                                                          0.2            102.00
                  Telephone from Mr. G. Berman re special counsel, appeal,
                  transition issues

01-19-2007        S. Freeman                                                          0.8            408.00
                  Participate in call with debtors and committees

01-19-2007        R. Charles                                                          0.8            308.00
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                  Prepare for and participate in all committees and debtors call
                  on transition and related issues

01-20-2007        R. Charles                                                             0.2                77.00
                  Work on order concerning fourth cash budget (.1); read memo
                  from Ms. E. Karasik and review on management fees and draft
                  memo to Ms. Karasik (.1)

01-21-2007        R. Charles                                                             0.1                38.50
                  Read memo from Ms. E. Karasik on order concerning interim
                  budget and management fee

01-22-2007        R. Charles                                                             0.1                38.50
                  Read memo from Ms. L. Dorsey on change of omnibus hearing
                  date

01-22-2007        M. Schoenike                                                           1.6            288.00
                  Telephone from Ms. C. Burrow re Nevada procedures (.2);
                  review e-mail from Mr. Rob Charles re U.S. District Court
                  disclosures (.1); e-mail to Mr. Rob Charles re district court
                  password (.1); draft Supplement to Disclosure (.5); review,
                  identify documents received for filing, update calendar re
                  continued/rescheduled hearing (.7)

01-23-2007        S. Freeman                                                             0.2            102.00
                  Read E. Monson's analysis of Russell loan payoff issues and
                  read R. Charles and S. Strong's emails regarding Russell loans
                  (.1); read emails from R. Charles , C. Carlyon and M. Levinson
                  regarding reconsolidating appeal (.1)

01-23-2007        S. Freeman                                                             0.3            153.00
                  Read T. Burr's email regarding tax return preparation and
                  emails from C. Karasik regarding briefing schedule and appeal
                  consolidation (.1); read further emails from R. Charles and
                  regarding analysis of Russell's loan payoff issues (.1); read and
                  respond to emails from R. Charles, A. Jarvis, A. Diamond and
                  G. Berman regarding meeting with RQN on transition (.1)

01-23-2007        R. Charles                                                             0.2                77.00
                  Draft memo to Mr. T. Burr and Mr. D. Walker on Debtors'
                  December operating reports (.1); read correspondence on
                  transition meeting (.1)

01-23-2007        C. Jordan                                                              0.5                27.50
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                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-23-2007        M. Schoenike                                                        1.0            180.00
                  Assist Ms. C. Burrow re e-mail and U.S. Mail addresses for
                  master service list (.3); review, identification of documents
                  received for filing, calendar deadlines and hearing dates (.4);
                  telephone from Ms. Burrow re filing and service of document
                  (.3)

01-24-2007        S. Freeman                                                          2.1           1,071.00
                  Participate in debtors -professionals call regarding transition
                  issues (1.4); participate in call with G. Berman, R. Charles and
                  in part M. Goder regarding transition (.7)

01-24-2007        R. Charles                                                          1.5            577.50
                  Read memo from Mr. T. Burr on MOR analysis (.1); read letter
                  from Chicago Title confirming order to disburse proceeds (.1);
                  prepare for and participate in meeting of debtors, committees
                  and their counsel on sale, plan, stay and other issues (1.4)

01-24-2007        M. Schoenike                                                        0.4                72.00
                  Review, identification of documents received for filing, verify
                  hearing dates

01-25-2007        S. Freeman                                                          0.1                51.00
                  Read e-mails from S. Strong, T. Burr re BMC expense
                  allocation and from R. Charles and M. Schoenike on transcript
                  for overbid allocation

01-25-2007        C. Jordan                                                           0.5                27.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-25-2007        M. Schoenike                                                        1.4            252.00
                  Review e-mail and return call to Ms. C. Burrow - left message
                  (.1); review Mr. Rob Charles e-mail re allocation, telephone
                  call to Ms. L. Dorsey re transcript request (.2); research Nevada
                  Court website, obtain CD order form (.2); several telephone
                  call to United States Bankruptcy Court re procedure to obtain
                  CD, processing request (.4); e-mail to Mr. Rob Charles and Ms.
                  S. Freeman re transcript requested (.2); return call to Ms. C.
                  Burrow re Nevada procedures (.3)

01-25-2007        M. Schoenike                                                        0.5                90.00
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                  Review documents received for filing, calendar deadlines and
                  hearing date

01-26-2007        C. Jordan                                                           0.5                27.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-26-2007        M. Schoenike                                                        1.3            234.00
                  Review revised Supplement to Disclosure Statement of
                  Interested Parties to Appeal, memo to Mr. Rob Charles re
                  revisions (.3); review, identification of documents received,
                  calendar deadlines and hearings (.4); e-mail to Ms. S. Freeman
                  re revised disclosure (.1); file, docket and serve supplement to
                  Disclosure Statement (.2); review e-mail, motion, declaration
                  and notice re bid allocation, calendar objection and hearing
                  dates (.3);

01-28-2007        S. Freeman                                                          0.4            204.00
                  Read e-mail from E. Karasik re Compass sale issues, R.
                  Charles e-mail re USAREC motion to enforce, J. Herman e-
                  mail re HMA amended complaint issues (.1); read R. Charles
                  revision of my e-mail re protective order to IP and respond (.1);
                  read A. Diamond and G. Berman drafts re letter to T. Allison,
                  J. Herman e-mails re revisions to draft amended complaint, E.
                  Monson response, M. Tucker e-mail re same (.1); read R.
                  Charles and C. Hainsworth e-mails re resolution of allocation
                  issue and E. Monson e-mail analysis of HMA sales issues (.1)

01-29-2007        S. Freeman                                                          0.9            459.00
                  Check calendar and compile filings for our positions at hearing
                  Wednesday (.7); e-mails to and from Mr. R. Charles and J.
                  Hinderaker re Standard Property and e-mails to and from Mr.
                  R. Charles re no objections to employment of Diamond and
                  getting order reviewed (.2)

01-29-2007        S. Freeman                                                          0.2            102.00
                  Read Mr. G. Berman e-mail re transition employees and
                  respond with suggestion (.1); read Mr. G. Berman e-mails and
                  attachment re Tree Moss and re contacting employees (.1)

01-29-2007        S. Freeman                                                          0.4            204.00
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                  Read e-mails from Mr. R. Charles and Mr. T. Burr re budget
                  and re Tree Moss sale hearing (.1); read several e-mails from
                  Mr. R. Charles and Mr. G. Berman re PBGC issues (.1);
                  telephone to Mr. R. Charles re Friday input from debtors and re
                  allocation issues (.2)

01-29-2007        R. Charles                                                              0.4            154.00
                  Read third case management order (.1); work on monthly
                  operating report issue with Mr. T. Burr raised by Mr. D.
                  Walker (.1); work on meeting arrangements on transition issues
                  (.1); work with Mr. Burr on Mesirow budgeting (.1); work with
                  Ms. S. Freeman on January 31 hearings (.1)

01-29-2007        C. Jordan                                                               0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-29-2007        M. Schoenike                                                            1.1            198.00
                  Review, identification of documents received for filing (.4);
                  prepare list of substantive orders for posting to website (.5);
                  update calendar of deadlines/events (.2)

01-30-2007        S. Freeman                                                              2.4           1,224.00
                  Meet with trustee and Diamond lawyers in preparation for
                  meeting with debtor (.5); review amended transition list (.1);
                  review draft implementation motion and note concerns (.3);
                  discuss implementation motion issues with trustee and
                  Diamond lawyers (.3); telephone to Mr. M. Levinson
                  (message) and e-mail to him re implementation motion issues
                  (.2); read e-mails from counsel for committees re
                  implementation motion and call to discuss (.2); discuss
                  implementation motion issues with DTDF counsel at USACM
                  (.3); participate in call with professionals for committees re
                  implementation motion (.5)

01-30-2007        S. Freeman                                                              8.1           4,131.00
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                  Participate in debtor-committees conference call re
                  implementation motion and other issues (1.0); read A. Jarvis e-
                  mail re motion to dismiss, C. Harwick e-mail re Compass (.1);
                  participate in meetings with trustee, Diamond lawyers, DTDF
                  counsel, T. Allison and debtor counsel re transition issues
                  (4.0); review e-mail from G. Gaiman re loan refinancing
                  problem on Franklin/Stratford and discuss with trustee and
                  DTDF counsel (.2); review debtor letter to title company re
                  nonwaiver of exit fee on Franklin/Stratford and discuss
                  borrower demands with A. Jarvis and T. Allison (.3);
                  continuation of meeting with debtors and trustee and review of
                  document storage issues (1.0); read E. Karasik and G. Gaiman
                  e-mails re call on Russell loan refinancing issue (.1); discuss
                  analysis of refinancing issue with attorneys at meeting and
                  review second debtor letter to title company (.2); participate in
                  conference call with professionals and B. Bullard re
                  refinancing issue (.5); further meeting on transition issues (.5);
                  review R. Charles e-mails re issues for hearing tomorrow and
                  note points to address (.2)

01-30-2007        D. Manch                                                              0.3            121.50
                  Telephone call from Mr. Charles on PBGC issues

01-30-2007        R. Charles                                                            1.2            462.00
                  Participate in call with committees on debtors' conception of a
                  plan implementation order (.4); participate in call with all
                  committees and debtors on sale transition, plan and other
                  pending issues (.7); work on status and agenda report for the
                  January 31 hearing (.3)

01-30-2007        C. Jordan                                                             0.4                22.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-30-2007        M. Schoenike                                                          0.1                18.00
                  Review e-mails re transcript and matters scheduled for hearing

01-31-2007        S. Freeman                                                            4.5           2,295.00
                  Review additional e-mails from Mr. R. Charles re hearing
                  issues and review filings to address in court (.5); discuss
                  hearing and transition issues with trustee en route to court (.5);
                  meet with debtors' counsel before court re Russell loan issue
                  (.2); participate in court hearing (2.8); follow up discussions
                  with trustee and Diamond counsel (5.)
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01-31-2007        S. Freeman                                                           0.2            102.00
                  Telephone to Mr. R. Charles re report on hearing trustee issue
                  and lodging order to approve Diamond (.1); read e-mails from
                  Mr. R. Charles and Mr. G. Berman and respond re trustee
                  license issue (.1)

01-31-2007        R. Charles                                                           0.2                77.00
                  Read Debtors' amended report on status and agenda (.1); read
                  minute entries on continued hearing in USA INVESTORS VI,
                  LLC, on the motion to distribute by USA CREG, and on the
                  Tree Moss sale (.1)

01-31-2007        C. Jordan                                                            0.5                27.50
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review

01-31-2007        M. Schoenike                                                         0.9            162.00
                  Respond to Mr. R. Charles re pending motions, unresolved
                  issues and deadlines (.5); review, identification and posting of
                  deadlines, hearing dates per document review (.4)

02-01-2007        S. Freeman                                                           0.7            357.00
                  Read R. Charles e-mails to C. Hainsworth re sale issue and C.
                  Hainsworth e-mail re document production, and respond (.1);
                  read F. Merola e-mail re discovery and send e-mail to R.
                  Charles re same (.1); read R. Charles e-mails re licensing issue
                  C. Carlyon e-mail re Standard Property and D. Monson e-mail
                  and attachment re Standard Property settlement (.1); read D.
                  Monson e-mail and draft letter to title company to accompany
                  revised payoff letter (.1); respond with concerns on approach
                  and suggestions to revise (.2); read C. Carlyon and E. Karasik
                  response to comments on brief (.1)

02-01-2007        S. Freeman                                                           0.2            102.00
                  Read e-mails from C. Carlyon and R. Charles re Standard
                  Property settlement and draft letter to direct lenders re same
                  (.1); read A. Jarvis e-mails re no appeal extension and Russell
                  loan status (.1)

02-01-2007        R. Charles                                                           0.1                38.50
                  Review order granting Motion Re Continued Use of Cash (.1)

02-01-2007        C. Jordan                                                            0.5                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)
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02-01-2007        M. Schoenike                                                          0.6            108.00
                  File, docket request for notice by Diamond McCarthy firm (.3);
                  identification of documents received for filing (.3)

02-01-2007        C. Arnold                                                             0.2                34.00
                  Oversee preparing check requests and filing of Verified
                  Petition to Practice, as requested by Ms. M. Schoenike

02-02-2007        S. Freeman                                                            0.1                51.00
                  Read e-mails from S. Smith, T. Burr, R. Charles, G. Gordon re
                  KPMG tax returns

02-02-2007        S. Freeman                                                            1.2            612.00
                  Participate in debtors-committees' conference call re pending
                  matters

02-02-2007        C. Jordan                                                             0.5                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-02-2007        C. Jordan                                                             0.3                 0.00
                  General filing of documents and pleadings, update filebacks
                  and indices and retrieval of ECF docket(s) (NO CHARGE)

02-02-2007        M. Schoenike                                                          1.2            216.00
                  Review, identification, processing documents received for
                  filing (.9); calendar hearing dates, deadlines (.3)

02-05-2007        S. Freeman                                                            0.3            153.00
                  Read forms of order from C. Carlyon, respond re approval (.1);
                  read e-mail from R. Charles re appeal, HMA litigation and
                  allocation, and respond, then discuss by phone with him (.2)

02-05-2007        R. Charles                                                            0.3            115.50
                  Read memo from Ms. L. Treadway and review three orders on
                  claims (.1); work on order concerning use of cash and draft
                  memo to Ms. E. Karasik on FTDF management fees (.1); read
                  memo from Ms. S. Smith on management fees (.1); read memo
                  from Mr. M. Anglin on Western United Life Assurance order
                  language (.1); read exchange between Mr. Anglin and Ms. E.
                  Karasik on same (.1)

02-05-2007        C. Jordan                                                             0.5                 0.00
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                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-05-2007        M. Schoenike                                                         0.8            144.00
                  Review docket, documents, update calendar re deadlines and
                  hearings

02-06-2007        S. Freeman                                                           0.5            255.00
                  Telephone from G. Berman re meeting with Tallison and
                  scheduling issue (.2); send e-mail to debtors professionals re
                  meeting, read A. Jarvis response, reply re same and scheduling
                  with S. Strong (.1); read S. Strong e-mail, T. Allison e-mail,
                  respond to them and copy S. Smith and respond to her e-mail re
                  meeting (.1); telephone to R. Charles re scheduling of meeting
                  and handling (.1)

02-06-2007        S. Freeman                                                           0.5            255.00
                  Read memo re licensing issue and discuss with R. Charles (.1);
                  read e-mails to and from G. Berman re same, and discuss
                  licensing exemption with R. Charles and DTDF counsel (.2);
                  respond to G. Berman e-mail with recommendation re same
                  (.1); read M. Sorenson e-mail re estimate on server cost and
                  needs, A. Jarvis e-mail re requested continuance of hearing
                  tomorrow, A. Diamond e-mail re litigation strategy (.1)

02-06-2007        S. Freeman                                                           1.2            612.00
                  Participate in all-professionals conference call

02-06-2007        R. Charles                                                           1.2            462.00
                  Meet with counsel for committees, debtors and their financial
                  advisers and Mr. G. Berman on transition issues (1.1); review
                  and approve order denying Callister & Reynolds application
                  (.1); read memo from Ms. C. Carlyon on same order (.1)

02-06-2007        C. Jordan                                                            0.4                0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-06-2007        M. Schoenike                                                         1.4            252.00
                  Obtain, review, identify documents received for filing (.8);
                  calendar response/reply deadlines, hearing dates, 2004
                  examinations (.4); update master service list (.2)

02-07-2007        S. Freeman                                                           0.2            102.00
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                  Read Liberty intervention motion papers and e-mails from R.
                  Charles re same (.1); read e-mails from R. Charles, E. Monson
                  re meetings on 2/19 and depositions (.1)

02-07-2007        S. Freeman                                                            0.1                51.00
                  Read R. Charles e-mails re hearing today and statements by A.
                  Jarvis, and respond

02-07-2007        C. Jordan                                                             0.4                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-07-2007        C. Jordan                                                             0.3                 0.00
                  General filing of documents and pleadings, update filebacks
                  and indices and retrieval of ECF docket(s) (NO CHARGE)

02-07-2007        M. Schoenike                                                          0.6            108.00
                  Review, identification of documents received for filing (.3);
                  process documents, calendar deadlines and hearing dates (.3)

02-08-2007        C. Jordan                                                             0.3                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-09-2007        S. Freeman                                                            0.1                51.00
                  Read M. Levinson e-mail re Hantges and D. Monson e-mail re
                  Rio Rancho, S. Smith e-mails re discovery and re cash received

02-09-2007        S. Freeman                                                            0.2            102.00
                  Read G. Garman, S. Strong, M. Levinson e-mails re Canalose
                  declaration and Compass licensing (.1); read E. Monson e-mail
                  and notices re HMA depositions, M. Sorenson e-mail re AFIS,
                  T. Lomazow, and S. Strong e-mails re Rio Rancho (.1)

02-09-2007        R. Charles                                                            0.1                38.50
                  Review and approve order on Western United Life Assurance
                  Company

02-09-2007        C. Jordan                                                             0.3                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-09-2007        M. Schoenike                                                          1.8            324.00
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                  Obtain/review dockets on Tree Moss Partners, USA Investors
                  IV as requested by Mr. Rob Charles (.3); review/edit calendar
                  of events/deadlines and circulate to Mr. Rob Charles for review
                  (.3); review and respond to Mr. S. Brown re website protocol
                  orders (.3); forward agenda to Messrs. T. Burr, G. Berman and
                  D. Walker for review (.1); review, identify, calendar and
                  process documents received for filing (.8)

02-11-2007        S. Freeman                                                         0.1                51.00
                  Read e-mails from R. Charles, A. Jarvis re meetings with
                  Compass on price, and e-mails from R. Charles and M.
                  Levinson on HMA and Liberty Bank

02-11-2007        S. Freeman                                                         0.3            153.00
                  Read appeal motions (.1); read Mr. R. Charles e-mail re appeal
                  extension, and Mr. J. McPherson and Mr. R. Charles e-mails re
                  Royal Hotel buyer (.1); read Mr. R. Charles e-mail re analysis
                  of HMA settlement conference and Mr. D. Monson e-mail re
                  Rio Rancho releases (.1)

02-12-2007        S. Freeman                                                         1.3            663.00
                  Read e-mails from R. Charles, A. Jarvis, E. Karasik re meeting
                  with S. Bice (.1); telephone to R. Charles re attending Bice
                  meeting and issues re Trust licensing (.2); e-mail to A. Jarvis
                  and other professionals re attending; second e-mail to DTDF re
                  Bice meeting (.1); telephone from M. Levinson re meeting and
                  Trust and DTDF licensing issues (.2); telephone from G.
                  Berman re meeting and licensing (.2); read A. Jarvis e-mail re
                  meeting with Compass tomorrow; telephone to R. Charles re
                  same (message); e-mail to R. Charles and G. Berman re
                  attending Compass meeting (.1); telephone from G. Berman re
                  same, and send e-mail re decision to R. Charles (.2); read e-
                  mails from M. Levinson and R. Charles re H.M.A. Sales status
                  conference and mediation and mark for 2/15 hearing (.1)

02-12-2007        C. Jordan                                                          0.4                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-13-2007        S. Freeman                                                         0.1                51.00
                  Read R. Charles e-mail re Compass agreement and 1142
                  motion

02-13-2007        S. Freeman                                                         1.6            816.00
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                  Draft motion for 1142 order re continuation of USACM for
                  licensing and tax preparation and for USACM/DTDF licensing
                  waiver (1.2); participate in follow up call with committee and
                  debtor professionals re 1142 motion (.3); e-mail to R. Charles
                  re draft motion to circulate and follow up by phone call to him
                  (.1)

02-13-2007        S. Freeman                                                          0.5            255.00
                  Review revised draft of 1142 motion and e-mails from A.
                  Jarvis, M. Levinson and R. Charles re same (.2); e-mail
                  comment to R. Charles on 1142 draft and read his response and
                  E. Monson e-mail re HMA conference (.1); mark suggested
                  changes to 1142 draft motion and send to all with cover note;
                  respond to G. Garman e-mails re same (.2)

02-13-2007        S. Freeman                                                          1.8            918.00
                  Read draft subservicing agreement, and revise draft 1142
                  motion to reflect subservicing terms and e-mail to all with
                  explanation (.3); respond to G. Garman e-mail re agreement
                  term with suggested language, read L. Brebulla e-mail re 2004
                  exams and e-mail from M. Levinson re follow-up 1142 motion
                  (.1); draft a follow-up 1142 motion re post-effective date issues
                  and send to all for comment (1.1); read revised 1142
                  emergency motion from G. Garman and forward to G. Berman
                  for approval (.1); read S. Strong e-mail re approval, M.
                  Levinson agreement re same and call G. Berman for
                  authorization, then e-mail my approval to all (.2)

02-13-2007        C. Jordan                                                           0.6                0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-13-2007        M. Schoenike                                                        1.1            198.00
                  Review, identification of documents received for filing,
                  calendar deadlines, hearing dates

02-14-2007        S. Freeman                                                          0.5            255.00
                  Read and respond to e-mails from E. Madden re reviewing
                  documents in Las Vegas; read replies re appeal dismissal
                  motions (.1); read R. Charles and C. Carlyon e-mails re IP
                  appeal dismissal order, read G. Berman, E. Madden and R.
                  Charles e-mails re Compass cooperation agreement (.1);
                  telephone to T. Lomazow re Compass cooperation agreement
                  issues (.2); send e-mail to G. Berman, E. Madden and R.
                  Charles re same (.1)
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02-14-2007        S. Freeman                                                        0.6            306.00
                  Read Compass analysis of loan documents missing (.1); read R.
                  Charles report of district court ruling on motions to dismiss
                  appeal and telephone to G. Berman (message) re Compass (.1);
                  telephone from G. Berman re Compass agreement and draft e-
                  mail to T. Lomazow re same (.1); read G. Berman e-mails re
                  missing documents, license issue (.1); read minute order re
                  denial of motion to dismiss appeals, read R. Charles and E.
                  Madden e-mails re missing documents (.1); read R. Charles
                  analysis of Colt Gateway issues and e-mail re 1142 motion
                  hearing date and draft order (.1)

02-14-2007        C. Jordan                                                         0.5                0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-14-2007        M. Schoenike                                                      0.6            108.00
                  Review, identify documents received for filing, calendar
                  response/reply deadlines and hearing dates

02-15-2007        S. Freeman                                                        3.2           1,632.00
                  Discuss escrow issues with M. Tucker en route to hearing (.4);
                  participate in court hearing (2.8)

02-15-2007        S. Freeman                                                        0.2            102.00
                  Read E. Madden e-mail re missing documents, S. Strong and
                  M. Levinson e-mails re form of order (.1); read G. Garman and
                  G. Berman e-mails re Cangelosi and respond to G. Berman and
                  read his reply (.1)

02-15-2007        S. Freeman                                                        2.7           1,377.00
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                  Read M. Levinson e-mail re access to Colt payoff proposal, G.
                  Berman e-mail re settlement conference and respond (.1); read
                  and respond to D. Walker e-mail re closing, read M. Levinson
                  e-mail re BMC invoices, read R. Charles e-mail to A. Jarvis re
                  same (.1); read D. Monson, E. Karasik, R. Charles e-mails re
                  escrow agreement, read D. Monson e-mail re escrow holdback
                  issue and R. Charles response (.1); read and respond to E.
                  Madden and R. Charles e-mails re taint team, M. Levinson e-
                  mail re Colt offer, M. Levinson and E. Karasik e-mails re 1142
                  motion (.1); read L. Smith and S. Smith e-mails re escrow; E.
                  Karasik and R. Charles responses and B. Piskin e-mail re same
                  (.1); read D. Monson e-mails re final version of escrow
                  agreement, T. Burr e-mail re closing (.1); read S. Smith and L.
                  Smith and T. Allison e-mails re closing, read D. Monson e-mail
                  re wining, L. Smith e-mail re same (.1); read S. Smith e-mail re
                  curse receipt, J. Chubb e-mail re 2004 exam, E. Monson e-mail
                  re Great White (.1); read E. Monson e-mail re Reale document
                  production, G. Berman response (.1); participate in committee
                  meeting by conference call (1.4); read L. Bubala and M.
                  Levinson e-mails re Colt lift stay order (.1); read M. Yoder and
                  R. Charles e-mails re document production (.1); read E.
                  Monson, D. Tucker e-mails re document production, G.
                  Berman and R. Charles e-mails re trust funding (.1); read R.
                  Charles e-mail re taint team review, R. Charles e-mail to T.
                  Morgan re escrow issue, G. Berman e-mail re Reale checks and
                  attachment (.1)

02-15-2007        R. Charles                                                         0.3            115.50
                  Read memo from Mr. G. Garman re communication with Ms.
                  D. Cangelosi (.1); work with Ms. S. Freeman on hearings (.1)
                  (NC); read memo from Mr. M. Levinson and read memo from
                  Ms. C. Carlyon on BMC allocation (.1) and draft memo to Ms.
                  A. Jarvis on same (.1)

02-15-2007        C. Jordan                                                          0.4                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-15-2007        C. Jordan                                                          0.3                 0.00
                  Retrieval of ECF pleadings from PACER for attorney J.
                  Hinderaker re: 06-01581 (NO CHARGE)

02-16-2007        R. Charles                                                         0.1                38.50
                  Review and approve order denying USACREG motion (.1);
                  review and approve Order Denying Motion to Quash
                  Subpoenas and Strike 2004 Examination Orders (.1)
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02-16-2007        C. Jordan                                                            0.4                0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-16-2007        M. Schoenike                                                         0.9            162.00
                  Review docket re unresolved motion, status of involuntary
                  matters and e-mail to Mr. R. Charles (.4); review e-mails re
                  2004 examination of Beadle McBride (.2); respond to Mr. E.
                  Madden telephone call and e-mail to Mr. Madden re 2004
                  motion and order (.3)

02-17-2007        T. Morgan                                                            0.4            160.00
                  Review email from Mr. Charles related to controversy over
                  reps and warranties (.1); review escrow agreement (.3)

02-18-2007        T. Morgan                                                            0.9            360.00
                  Review Compass APA as related to reps and warranties and
                  dispute related to holdback; draft email to Mr. Charles

02-19-2007        C. Jordan                                                            0.3                0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-20-2007        S. Freeman                                                           0.4            204.00
                  Telephone from G. Berman re meeting with debtor officials,
                  deal on space, Compass Colt (.2); read P. Hunt e-mail re 1142
                  motion, and read C. Carlyon re draft of motion for 1142 relief,
                  read A. Brumby e-mail re Standard Property order (.2)

02-20-2007        S. Freeman                                                           0.5            255.00
                  Read redraft of settlement letter to Reale and e-mail my
                  suggestions to R. Charles (.2); read E. Karasik and A. Jarvis e-
                  mails re escrow, and read and respond to R. Charles e-mail re
                  same (.1); read R. Charles and E. Karasik e-mails re escrow, J.
                  Herman e-mail re settlement letter, E. Monson e-mail re same
                  (.1); read A. Jarvis e-mail re escrow proposal, and T. Burr
                  analysis re same and read R. Charles e-mail re escrow proposal
                  (.1)

02-20-2007        S. Freeman                                                           0.3            153.00
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                  Read and respond to e-mail from E. Karasik re appeal, read and
                  respond to e-mails from E. Karasik re 1142 motion (.1); read
                  and respond to A. Jarvis and C. Carlyon e-mail re office lease
                  extension and read A. Jarvis reply (.1); read and respond to E.
                  Karasik e-mail re briefing issue and send e-mail to A. Jarvis re
                  same (.1)

02-20-2007        S. Freeman                                                            0.3            153.00
                  Read A. Jarvis reply re escrows, J. Bart e-mail re Tabas
                  position on stay order, S. Smith e-mail re response to Compass
                  (.1); read A. Bramby, L. Schwartzer, R. Charles e-mails re
                  Standard Property (.1); read and respond to J. McPherson e-
                  mail re Reale settlement letter, read R. Charles e-mails re
                  Compass escrow issues (.1)

02-20-2007        C. Jordan                                                             0.3                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-20-2007        M. Schoenike                                                          0.3                54.00
                  Review, edit calendar of events/deadlines

02-21-2007        S. Freeman                                                            0.1                51.00
                  Read G. Garman, R. Charles, M. Levinson e-mails re Colt loan
                  servicing (.1)

02-21-2007        S. Freeman                                                            0.3            153.00
                  Read P. Rieger e-mail re bankruptcy issue and G. Berman e-
                  mail re Reale settlement (.1); read C. Larsen e-mail re HMA
                  depositions and A. Jarvis and E. Karasik e-mails re Compass
                  escrows (.1); read D. Griffith, E. Monson, S. Strong e-mails re
                  144 boxes of documents (.1)

02-21-2007        C. Jordan                                                             0.3                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-21-2007        M. Schoenike                                                          0.7            126.00
                  Review, identification of documents received for filing (.4);
                  review documents, calendar deadlines, response and hearing
                  dates (.3);

02-22-2007        S. Freeman                                                            0.1                51.00
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                  Read R. Charles e-mail re moving and storage of client
                  documents, L. Lackland e-mail re taint team and respond re
                  same

02-22-2007        S. Freeman                                                         0.3            153.00
                  Read DTDF reply re allocation and related documents, and
                  DTDF joinder (.2); read G. Berman e-mail to Compass re
                  computers issue, e-mails from E. Karasik, G. Garman re 1142
                  motion, A. Parlan response to my suggestions for brief (.1)

02-22-2007        S. Freeman                                                         0.1                51.00
                  Read and respond to R. Charles e-mail re BMC website and
                  read E. Madden and G. Berman e-mails re request for client
                  files

02-22-2007        S. Freeman                                                         0.1                51.00
                  Read R. Charles response to S. Smith e-mail on lease costs, and
                  reply to all

02-22-2007        S. Freeman                                                         0.1                51.00
                  Read R. Charles e-mail re staying on leased premises, J.
                  Herman response, and reply

02-22-2007        L. Kasten                                                          0.4            156.00
                  Assist Ms. Freeman with appellate issue.

02-22-2007        C. Jordan                                                          0.5                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-22-2007        M. Schoenike                                                       0.6            108.00
                  Telephone call to Mr. R. Charles re review of minutes, joinder
                  and other unresolved matters (.2); review, process numerous
                  documents received for filing (.4)

02-23-2007        S. Freeman                                                         0.2            102.00
                  Read draft joinder in motion to extend lease, and send e-mail to
                  R. Charles with suggestions

02-23-2007        S. Freeman                                                         0.5            255.00
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                  Read R. Charles e-mail to S. Bice responding re licensing
                  exemption, respond re 1142 motion as filed (.1); check motion
                  language, draft proposed order language for Bice, and request
                  R. Charles input re same (.1); per R. Charles response, location
                  additional statutory provisions and revise e-mail to S. Bice and
                  R. Dreitzec re licensing exemption, and send (.3)

02-23-2007        S. Freeman                                                           0.1                51.00
                  Read e-mails to and from committee members re rescheduling
                  meeting, and R. Charles comments on draft objection to
                  priority claims and to administrative claims

02-23-2007        S. Freeman                                                           0.2            102.00
                  Read A. Jarvis e-mail re letter to Bart on Colt payoff and letter
                  and R. Charles e-mail re IP proposal and R. Charles comments
                  on objection to secured claims (.1); read e-mails from T. Burr
                  and C. Hainsworth re hearings and meeting (.1)

02-23-2007        C. Jordan                                                            0.3                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-23-2007        C. Jordan                                                            0.2                 0.00
                  General filing of documents and pleadings, update filebacks
                  and indices and retrieval of ECF docket(s) (NO CHARGE)

02-23-2007        M. Schoenike                                                         1.1            198.00
                  Respond to Ms. S. Nounna re committee meeting, e-mail to
                  committee re time change, review numerous responses (.3);
                  review Rob Charles Status Report (.3); review various inquiries
                  and responses re status report (.2); obtain/review United States
                  Bankruptcy Court calendar and verify all matters calendared
                  (.3)

02-26-2007        C. Jordan                                                            0.2                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-27-2007        S. Freeman                                                           0.1                51.00
                  Read final subservicer agreement, read S. Smith reserve
                  analysis, R. Charles e-mail re BMC component, and read and
                  respond to R. Charles e-mail re discussion and analysis

02-27-2007        S. Freeman                                                           0.1                51.00
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                  Read S. Nounna, R. Charles and G. Berman e-mails re fees, R.
                  Charles and L. Schwartzer e-mails re adversary issues and
                  scheduling; T. Burr e-mail re tasks

02-27-2007        S. Freeman                                                        0.1                51.00
                  Read R. Charles e-mail to G. Berman re server and his
                  response; read M. Levinson e-mail re Colt payoff approval and
                  send e-mail to A. Jarvis re same

02-27-2007        C. Jordan                                                         0.3                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

02-27-2007        C. Jordan                                                         0.3                 0.00
                  Review docket and prepare notebook of case pleadings for
                  attorney R. Charles (NO CHARGE)

02-27-2007        M. Schoenike                                                      0.8            144.00
                  Review, identify and process documents, including calendaring
                  response/reply deadlines, and hearing dates

02-28-2007        S. Freeman                                                        0.6            306.00
                  Compile materials for hearing tomorrow

02-28-2007        S. Freeman                                                        0.1                51.00
                  Read and respond to e-mails from M. Sorenson re phone
                  systems

02-28-2007        S. Freeman                                                        2.5           1,275.00
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                  Read e-mails from M. Levinson and D. Monson re Colt payoff
                  and C. Larsen re Reale adversary (.1); read e-mails from J.
                  Herman, M. Levinson, P. Hunt re stay reply, and read and
                  respond to C. Hainsworth e-mail re hearing (.1); telephone
                  from G. Berman and M. Sorenson re problem with Compass
                  seizing computers, and attempt to reach A. Jarvis, add S.
                  Strong (.3); attempt to reach G. Davis at Weil, and call T.
                  Lomazow, adding R. Charles, re directing Compass (.2); read
                  e-mail from A. Jarvis re contact with Weil, and e-mail from J.
                  Hunan re APA rights (.1); telephone to G. Berman re status
                  (.1); read e-mails from G. Berman and E. Madden re computer
                  issue (.1); send e-mail to committee and debtor professionals re
                  follow-up (.1); telephone from G. Berman and M. Sorenson
                  and add R. Charles re purchasing computers (.2); telephone
                  from T. Lomazow confirming resolution (.1); read e-mails
                  from S. Smith re AIS and J. Herman re issue and respond to all
                  re purchase resolution (.2); telephone from G. Berman and M.
                  Sorenson re purchase and during call draft e-mail to T.
                  Lomazow and G. Davis confirming resolution, respond to S.
                  Smith e-mail re detail of purchase, respond to J. Herman e-mail
                  re same (.5); read S. Smith e-mail re server issue and respond
                  by e-mail (.1); follow up phone message and e-mail to M.
                  Sorenson re server issue (.1); telephone to P. Hunt (message)
                  and e-mail to her re stay response (.1); read e-mails from D.
                  Monson, R. Charles re Colt payoff and G. Berman re transition
                  and from C. Larson, R. Charles and L. Schwartzer re Reale (.1)

02-28-2007        R. Charles                                                             0.1                38.50
                  Read court calendars for March 1 and 2

02-28-2007        M. Schoenike                                                           1.2            216.00
                  Work on update of contact list (.6); review, identification, and
                  processing of documents received, calendar response/reply and
                  hearings dates (.6)

03-01-2007        S. Freeman                                                             8.3           4,233.00
                  Travel to Las Vegas for hearing, reading materials en route
                  (2.3); meet with R. Charles before hearing and prepare (.5);
                  participate in hearing, and discuss lease extension during one
                  break, and claims processing immediately after (5.5)

03-01-2007        C. Jordan                                                              0.7                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

03-01-2007        M. Schoenike                                                           1.2            216.00
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                  Review, identify documents received for filing, calendar
                  reply/response deadlines and hearings (.5); respond to Mr. C.
                  Jordan re Effective date (.1); review Diamond McCarthy e-
                  mail, website, calendar and website information, verify all
                  calendaring deadlines (.6)

03-02-2007        R. Charles                                                            0.1                38.50
                  Skim debtors' opposition to Mr. R. LePome's fee application
                  and direct joinder

03-02-2007        C. Jordan                                                             0.5                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

03-02-2007        M. Schoenike                                                          0.3                54.00
                  Work on additions to contact list and circulate to counsel

03-05-2007        S. Freeman                                                            0.3            153.00
                  Read T. Burr and R. Charles e-mails re claims objections and
                  schedules, E. Monson e-mail re HMA sales, R. Charles e-mail
                  re Placer Vineyards, second E. Monson e-mail re HMA Sales
                  litigation (.2); read G. Berman and P. Rieger e-mails re
                  Mesirow issues (.1)

03-05-2007        S. Freeman                                                            0.2            102.00
                  Telephone from Mr. R. Charles re trust engagement issue and
                  claims issue

03-05-2007        S. Freeman                                                            0.1                51.00
                  Read e-mails re Trust engagement and claims from R. Charles,
                  T. Burr, S. Smith, and respond to Smith e-mail

03-05-2007        C. Jordan                                                             0.7                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

03-05-2007        C. Jordan                                                             0.5                 0.00
                  Retrieval of ECF pleadings/proof of claims from PACER for
                  attorney R. Charles (NO CHARGE)

03-05-2007        M. Schoenike                                                          0.5                90.00
                  Review, identify, documents received for filing, calendar of
                  response/reply deadlines and hearings

03-06-2007        S. Freeman                                                            1.0            510.00
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                  Telephone from G. Berman and read E. Madden e-mail re
                  privilege issue, Cangelosi e-mail re appeal, and discuss with
                  him responses to these and Placer and allocation issues adding
                  R. Charles in part (.5); send e-mail to A. Jarvis and E. Monson
                  re privilege issue and send e-mail to E. Karasik re allocation
                  issue (.1); red Cangelosi e-mail soliciting direct lender's against
                  Compass (.1); read deposition notice and send e-mail to R.
                  Charles re issue raised (.1); read draft notes to amended
                  schedules, and send e-mail to S. Strong re suggested changes
                  (.2)

03-06-2007        S. Freeman                                                            0.1                51.00
                  Read e-mails from A. Jarvis, E. Karasik and R. Charles re
                  Placer order and re IP dismissal order, and respond

03-06-2007        S. Freeman                                                            0.2            102.00
                  Read D. Monson and E. Karasik e-mails re Placer motion and
                  revised form of motion and send e-mail to R. Charles re same
                  (.1); read A. Jarvis, D. Monson and R. Charles e-mails re Colt
                  payoff issue, and A. Jarvis response re privilege issue (.1)

03-06-2007        S. Freeman                                                            3.1           1,581.00
                  Telephone from counsel for licensing authority re Trust
                  exemption approval (.2); further work on draft notice of
                  effective date, checking and incorporating plan and provisions
                  from various orders (2.9)

03-06-2007        S. Freeman                                                            0.7            357.00
                  Read further e-mails from E. Karasik, D. Monson, M.
                  Levinson, G. Gordon, P. Hunt on changes to orders (.1); and
                  reply re appeal order (.1); read and respond to D. Walker e-
                  mail re effective date, and read e-mails from A. Landis and
                  committee counsel re fee order and R. Charles e-mail re
                  revision to Placer order (.1)

03-06-2007        C. Jordan                                                             0.4                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

03-06-2007        M. Schoenike                                                          0.6            108.00
                  Review, identification of documents received, calendar
                  response/reply deadlines and hearing dates (.6); respond to Ms.
                  R. Creswell re CD of hearing (NO CHARGE)

03-06-2007        M. Schoenike                                                          0.4                72.00
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                  Assist Mr. E. Madden's secretary re 1142 privilege motion

03-07-2007        S. Freeman                                                          0.1                51.00
                  Read e-mails from D. Monson, R. Charles re Placer and Colt
                  payoff letter and A. Jarvis e-mail re same

03-07-2007        S. Freeman                                                          0.1                51.00
                  Read e-mail from D. Tiffany re Tanamera claim, e-mails from
                  debtor and committee counsel on Placer motion

03-07-2007        S. Freeman                                                          0.1                51.00
                  Read A. Jarvis e-mail re Colt Gateway issue and R. Charles
                  response, A. Jarvis reply

03-07-2007        S. Freeman                                                          0.2            102.00
                  Read e-mails from J. Herman, R. Charles and multiple e-mails
                  from A. Jarvis re Colt issue and resolution, and read e-mails
                  with drafts from D. Monson, M. Levinson, R. Charles re
                  Placer, and respond to A. Jarvis re authorization

03-07-2007        C. Jordan                                                           0.2                 0.00
                  Retrieval of ECF pleadings from PACER for M. Schoenike
                  (NO CHARGE)

03-07-2007        C. Jordan                                                           0.3                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

03-07-2007        M. Schoenike                                                        0.1                18.00
                  Review Notices of Appearance, update service list (.1)

03-08-2007        S. Freeman                                                          0.1                51.00
                  Respond to P. Hunt e-mail re revising notice of effective date

03-08-2007        S. Freeman                                                          0.2            102.00
                  Read e-mails from C. Carlyon, R. Charles, D. Walker, E.
                  Madden re court requirements, HMA sales litigation, Marquis
                  Hotel (.1); read M. Varda e-mail re issues with calculations (.1)

03-08-2007        S. Freeman                                                          0.6            306.00
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                  Read E. Karasik revision of effective date notice, and respond
                  re issues with changes (.2); read C. Carlyon comments on draft
                  notice, and send reply re plan provisions (.1); read S. Smith
                  draft of worksheet re effective date transfer and discuss briefly
                  with R. Charles and send e-mail to DSI re need for wiring
                  information (.2); review plan provisions and send e-mail to R.
                  Charles re fee transfer issue (.1)

03-08-2007        R. Charles                                                             0.1                38.50
                  Work with Mr. L. Schwartzer on information to court on
                  March 15 calendar

03-08-2007        C. Jordan                                                              0.6                 0.00
                  Retrieval of ECF pleadings and proof of claims from PACER
                  for M. Schoenike (NO CHARGE)

03-08-2007        C. Jordan                                                              0.5                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

03-08-2007        M. Schoenike                                                           0.5                90.00
                  Review, identification of documents received for filing (.5)

03-08-2007        C. Clancy                                                              0.8            156.00
                  Receive request from Ms. S. Freeman, research Tanamera
                  Corporate Center, LLC on Nevada Secretary of State web site
                  and forward research results to Ms. S. Freeman (.4); coordinate
                  copy order with Capitol Corporate Services (.2); receive
                  document copies and review (.1); forward to Ms. S. Freeman
                  with comments (.1)

03-09-2007        S. Freeman                                                             0.7            357.00
                  Read A. Jarvis e-mail re Placer loan hearing, E. Karasik e-mail
                  re notice of effective date (.1); participate in conference call re
                  effective date with debtor and committee professionals (.5);
                  follow-up on committee resolution with R. Charles (.1)

03-09-2007        S. Freeman                                                             0.1                51.00
                  Read E. Karasik, A. Jarvis e-mails re reserves from distribution

03-09-2007        S. Freeman                                                             0.2            102.00
                  Read G. Berman e-mail re effective date transfers and respond
                  (.1); read e-mail from E. Karasik re effective date issues, R.
                  Charles and G. Berman e-mails re Downey (.1)
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03-09-2007        S. Freeman                                                            0.1                51.00
                  Send e-mail to T. Burr, R. Charles re effective date accounting,
                  and read responses

03-09-2007        S. Freeman                                                            0.1                51.00
                  Read A. Jarvis e-mail re effective date call, S. Smith e-mail re
                  same, M. Levinson, E. Karasik re same, and respond

03-09-2007        R. Charles                                                            0.3            115.50
                  Read memo from Ms. S. Smith with analysis of sums to be
                  paid on Effective Date (.2); read memo from Ms. A. Jarvis and
                  read memo from Mr. M. Levinson on Plan Effective Date (.1)

03-09-2007        C. Jordan                                                             0.2                 0.00
                  Retrieval of ECF pleadings/proof of claim from PACER for
                  attorney E. Simpson (NO CHARGE)

03-09-2007        C. Jordan                                                             0.8                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

03-09-2007        M. Schoenike                                                          0.6            108.00
                  Review, identification of documents received, calendar
                  response/reply deadlines and hearing dates

03-10-2007        S. Freeman                                                            0.4            204.00
                  Read E. Karasik comments on effective date notice, R. Charles
                  and A. Jarvis e-mails re change to Placer motion (.1); read P.
                  Hunt e-mail re effective date notice, T. Burr e-mail re reserve
                  calculations, J. McPherson e-mail re Placer hearing, T. Burr e-
                  mail re reserve calculations, A. Jarvis e-mail and worksheet re
                  reserve and distribution calculations (.2); read T. Burr further
                  e-mail with S. Smith analysis (.1)

03-10-2007        R. Charles                                                            1.4            539.00
                  Work on status report and agenda for the Court on March 15
                  hearings (.9); meeting via call with Debtors' and Committees'
                  professionals on account for effective date and other plan
                  issues (.5)

03-11-2007        R. Charles                                                            0.3            115.50
                  Continue work on status report and agenda for March 15
                  hearing (.3)

03-12-2007        S. Freeman                                                            0.3            153.00
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                  Evaluate settlement with DTDF issues with R. Charles (.2);
                  read several e-mails from E. Karasik, M. Kvarda re effective
                  date disbursements, and approval (.1)

03-12-2007        S. Freeman                                                            0.1                51.00
                  Read S. Smith and R. Charles e-mails re wires and effective
                  date, and send e-mail to G. Berman re same, and draft stay
                  opposition, reply to his response

03-12-2007        R. Charles                                                            0.6            231.00
                  Work on status report and agenda for the Court on the March
                  15 hearings (.3); revise report as to Binford (.1); revise report
                  as to Standard Property (.1); draft memo to court staff with
                  working agenda (.1); work with Ms. M. Schoenike on motion
                  to extend deadline (.1)

03-12-2007        C. Jordan                                                             0.2                 0.00
                  Retrieval of ECF pleadings/docket for adversary proceedings
                  from PACER for attorney J. Hinderaker (NO CHARGE)

03-12-2007        C. Jordan                                                             0.4                 0.00
                  Obtain copy of pleadings for attorney review; Circulate copy of
                  pleadings for attorney review (NO CHARGE)

03-12-2007        M. Schoenike                                                          0.6            108.00
                  Review, identification of documents received for filing,
                  calendar reply/response deadlines and hearing dates (.4);
                  review draft of Status Report re March 15th hearing (.2);

                      TOTAL FOR TASK CODE B110                                        375.3         120,023.00


             B120 ASSET ANALYSIS/RECOVERY

08-08-2006        S. Meskell                                                            0.6                 0.00
                  Receipt and review of minutes and agenda to prepare for
                  upcoming Committee meeting (NO CHARGE)

08-09-2006        S. Meskell                                                            5.8                 0.00
                  Attend Committee Meeting to record minutes, prepare draft of
                  minutes (NO CHARGE)

08-15-2006        R. Charles                                                            0.1                38.50
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                  Read memo from Mr. M. Kavarda on information needed to
                  analyze the impact of the $9 million issue on the First Trust
                  Deed Fund

08-18-2006        R. Charles                                                             1.0            385.00
                  Work on the project for scanning and making available in
                  electronic form Debtors' critical documents, and start on the
                  loan binders with a memo to the interested parties, and add the
                  issue of email (.4); return call to Mr. D. Harkey on servicing
                  agreement (.3); read response by FTDF committee on Mr.
                  LePome's motion for a determination on netting (.1); work with
                  Ms. Treadway on scanning project (.1); read memo from Ms.
                  Treadway re same (.1)

08-23-2006        R. Charles                                                             1.0            385.00
                  Call to Mr. M. Levinson on the follow up on collection of
                  USAIP assets (.1); analyze July loan summary report as to
                  collections, servicing fee, changes and prepaid interest (.3);
                  work with Mr. M. Levinson son follow up on USAIP, plan,
                  sale and related issues (.6)

08-27-2006        R. Charles                                                             0.1                38.50
                  Respond to inquiry from Ms. E. Karasik on servicing fee issue
                  (.1)

08-28-2006        S. Freeman                                                             0.2            102.00
                  Review Mr. T. Burr 13-week cash flow analysis

08-28-2006        R. Charles                                                             0.2                77.00
                  Draft memo to Mr. R. McKirgan on USA Securities D&O
                  policy (.1) ; read memo from Mr. T. Burr on asset collection
                  issues (.1)

09-02-2006        R. Charles                                                             0.1                38.50
                  Read memo from Mr. T. Burr on analysis of exit fees (.1)

09-02-2006        R. Charles                                                             0.1                38.50
                  Read memo from Ms. P. Rieger on apparent diversion of
                  Amersbury principal

09-05-2006        R. Charles                                                             0.3            115.50
                  Read memo from Ms. E. Karasik with term sheet on sale of
                  servicing rights from a potential buyer (.1); draft memo to
                  committee on servicing issues (.2)
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09-06-2006        R. Charles                                                              0.2                77.00
                  Read memo from Mr. T. Burr and read analysis of operating
                  reports and cash flows (.2)

09-12-2006        R. Charles                                                              1.0            385.00
                  Read USACM press release on issues in distribution (.1); draft
                  memo to Ms. S. Smith on discrepancies (.1); read memo from
                  Ms. Smith on no issues with the holdbacks (.1); work with Ms.
                  S. Freeman on order proposed for continuing distributions and
                  draft memo to counsel (.2); read memo from Ms. S. Smith on
                  default letters and payoff statements (.1); read memo from Mr.
                  S. Strong on professional expenses that may be included in
                  claims against borrowers (.1); locate notes and LSAs from
                  court filings for hearing preparation (.4)

09-15-2006        R. Charles                                                              0.3            115.50
                  Analyze default letters and direct analysis in terms of timing,
                  loan balance and maturity (.2); work with Ms. A. Jarvis on
                  insurance claims (.1)

09-18-2006        C. Jordan                                                               0.8                44.00
                  Review and create spreadsheet of default status for attorney R.
                  Charles

09-19-2006        S. Freeman                                                              0.1                51.00
                  Read e-mails from T. Burr and R. Charles re collateral pledge
                  agreement

09-19-2006        R. Charles                                                              1.1            423.50
                  Read memo from Mr. T. Burr on following up on committee's
                  direction to monitor loan collection efforts (.1); work on
                  summary of loans by default letter, default status and related
                  issues (.3); draft memo to Ms. S. Smith on default issues (.1);
                  work with Mr. R. McKirgan on claims against USA Securities
                  D&O policy (.2); work with Mr. Burr on issue raised by Ms. P.
                  Rieger of the Committee on Placer Vineyards (.1); read memo
                  from Ms. C. Pajak and proposed revisions on continuing
                  distribution order (.1); finalize summary of default letters and
                  memo to Ms. Smith and draft memo to Mr. Levinson on issues
                  raised (.2)

09-19-2006        R. McKirgan                                                             0.6            255.00
                  Work with Mr. R. Charles re analysis of case

09-20-2006        S. Freeman                                                              0.1                51.00
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                  Read Mr. R. Charles e-mail re prepaid interest-unpaid principal

09-20-2006        R. Charles                                                           0.4            154.00
                  Read memo from Ms. S. Smith with payoff statements (.1);
                  telephone to Ms. J. Chubb and read memo from Mr. T. Burr on
                  analysis of default letters (.1); review amended loan summary
                  information from Mr. T. Burr (.1); work on order for
                  continuing distributions (.1)

09-21-2006        S. Freeman                                                           0.1                51.00
                  Read e-mail from M. Tucker re auditor

09-21-2006        R. Charles                                                           0.5            192.50
                  Work with Mr. T. Burr on issues raised by Diversified
                  concerning the $58 million note, the 10-90 note, security and
                  related issues, and on the sale process (.4); analyze amended
                  loan status report for August (.1) ; read memo from Ms. C.
                  Cunningham and Mr. S. Strong on ongoing distribution order
                  (.1); read memo from Mr. G. Garman and his revisions on the
                  continuing distribution order (.1)

09-22-2006        S. Freeman                                                           0.1                51.00
                  Read R. Charles and T. Burr responses and follow-up

09-22-2006        R. Charles                                                           0.7            269.50
                  Read memo from Mr. G. Garman, read memo from Mr. S.
                  Strong, incorporate all suggestions into the order on continuing
                  distributions and draft memo to counsel on same (.6); work
                  with Ms. S. Freeman on status of default letters (.1); work with
                  Mr. Strong and Mr. Garman on changes to order (.1); read
                  memo from Mr. Strong approving draft

09-25-2006        S. Freeman                                                           0.3            153.00
                  Read e-mail from Mr. T. Burr re default interest collection
                  issue (.1); read M. Tucker e-mail re IP issues (.1); read Mr. R.
                  McKirgan analysis of D&O policies (.1)

09-26-2006        R. Charles                                                           0.3            115.50
                  Work with Mr. T. Burr on loan collection issues (.2); work
                  with Mr. Burr on demonstrative exhibits needed for hearing
                  (.1)

09-26-2006        R. McKirgan                                                          1.1            467.50
                  Review D & O policy and outline issues; e-mail to Mr. R.
                  Charles re D & O policy
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09-27-2006        S. Freeman                                                          0.2            102.00
                  Read T. Burr e-mail re loan collection issues (.1); read R.
                  Charles e-mail to debtors' professionals re loan collection
                  concerns (.1)

09-27-2006        R. Charles                                                          0.6            231.00
                  Read memo from and return call to Mr. R. McKirgan on USA
                  Securities D&O policy (.2) and draft memo to committees' and
                  debtors' counsel on issues (.1) ; note hearing on motion to
                  enforce order approving distribution of funds (.1); read motion
                  by USA Commercial Real Estate Group (.1) and draft rule
                  2004 motion and order (.1)

09-27-2006        R. Charles                                                          0.2                77.00
                  Telephone call from Mr. C. Orrock on Royal Hotel (.2)

09-28-2006        R. Charles                                                          0.1                38.50
                  Draft memo to Mr. M. Levinson and Ms. A. Jarvis on the
                  Royal Hotel (.1)

09-29-2006        R. Charles                                                          0.2                77.00
                  Work with Mr. R. Russell and Ms. P. Rieger on claims in
                  connection with the Royal Hotel transactions (.1); draft memo
                  to Mr. M. Levinson and Ms. A. Jarvis re same (.1)

10-02-2006        R. Charles                                                          0.7            269.50
                  Telephone to Ms. A. Jarvis on collection issues (.1); telephone
                  to Ms. L. Treadway, telephone to Mr. B. Kotter on imaging
                  hard drives (.1); draft memo to debtors' counsel on the imaging
                  issue (.1); telephone to Mr. S. Strong and Mr. J. Hermann on
                  Royal Hotel escrow and related USAIP issues (.4)

10-03-2006        S. Freeman                                                          0.1                51.00
                  Review T. Burr analysis of cash flow forecast and issues

10-03-2006        R. Charles                                                          0.2                77.00
                  Work on collection issues; read memo from Ms. S. Freeman
                  and work on Rule 2004 request on USA Commercial Realty;
                  read proposed order on lease termination and read memo from
                  Ms. Freeman on computer issues (.1); read memo from Mr. J.
                  Hermann on Royal Hotel (.1)

10-04-2006        S. Freeman                                                          0.3            153.00
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                  Read e-mail to and from committee members and Mr. R.
                  Charles re asset collection issues (.1); read Mr. R. Charles
                  analysis re collection against IP (.1); read Mr. T. Burr notes of
                  meeting with T. Allison (.1)

10-04-2006        R. Charles                                                            0.4            154.00
                  Read motion to approve interim retention program and draft
                  letter to committee on same (.2); telephone call from Mr. R.
                  McKnight on amended distribution order (.2)

10-05-2006        R. Charles                                                            0.3            115.50
                  Read memo from Ms. P. Reiger and read memo from Mr. T.
                  Burr and draft memo to Ms. A. Jarvis on delay in interim
                  distribution calculations (.2); briefly discuss with Mr. Burr (.1)

10-06-2006        S. Freeman                                                            0.1                51.00
                  Read Mr. R. Charles analysis of prepaid interest setoff issue

10-06-2006        S. Freeman                                                            0.2            102.00
                  Read D. Walker e-mail and attached analysis re portfolio issues

10-06-2006        R. Charles                                                            0.4            154.00
                  Read memo from Mr. D. Walker and analyze FTDF loan
                  service fees and LLC management fees (.1); telephone call
                  from and read memo from Mr. J. Schaefer of Capital Crossing
                  Bank on sale (.1) and call to Mr. T. Burr on potential meeting
                  and plan issues (.2) and draft memo to Mr. Schaefer on meeting
                  (.1) ; begin default notice / interest research (.1) (Westlaw)

10-09-2006        S. Freeman                                                            0.1                51.00
                  Read T. Burr default interest analysis and reply re fee analysis

10-09-2006        R. Charles                                                            0.9            346.50
                  Read memo from Mr. T. Burr on Funds' service fees and fee
                  allocations (.2); read memo from Mr. Burr and from Mesirow
                  on Suttles negotiations (.2); work with Mr. T. Burr on issues
                  raised by Diversified and investigation into management fees
                  (.3); continue research on default interest claims (.2)

10-10-2006        R. Charles                                                            1.0            385.00
                  Meeting via call with Ms. A. Jarvis, Mr. J. Atkinson, Mr. M.
                  Levinson, Mr. J. Herman on Milanowski and USAIP issues
                  (1.0)

10-11-2006        S. Freeman                                                            0.1                51.00
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                  Read e-mail reports from Mr. R. Charles re calls on IP; read
                  committee members' responses

10-11-2006        R. Charles                                                           2.0            770.00
                  Prepare for and meet with Diversified professionals, Debtors
                  professionals and Mr. D. Walker and Mr. T. Burr on the
                  USAIP issues

10-12-2006        S. Freeman                                                           0.3            153.00
                  Join in part in call with debtor's and DTDF professionals re IP
                  receivership option

10-13-2006        R. Charles                                                           0.2                77.00
                  Read and respond to memo from Mr. A. Landis with memo
                  from Ms. P. Rieger on delay in distributions

10-17-2006        S. Freeman                                                           0.1                51.00
                  Read e-mails from Mr. R. Charles re IP status and alternatives

10-17-2006        S. Freeman                                                           0.1                51.00
                  Read e-mails from A. Landis, R. Charles re distribution delay
                  issues, and response from A. Jarvis

10-17-2006        R. Charles                                                           1.8            693.00
                  Read memo from Ms. E. Karasik on USAIP issues (.1); read
                  memo from Mr. D. Walker and draft memo to Ms. A. Jarvis on
                  USAIP meeting (.1); meeting with Debtors and Diversified on
                  USAIP, Hantges, Milanowski strategy (1.4) ; read memo from
                  Mr. D. Monson and respond on request for approval of
                  condominium declaration and skim declaration for issues, draft
                  memo to Mr. Monson on same (.2)

10-18-2006        S. Freeman                                                           0.1                51.00
                  Read T. Burr analysis of management fee

10-18-2006        R. Charles                                                           0.2                77.00
                  Read memo from Mr. S. Strong and from counsel on USAIP
                  (.1); read memo from Ms. L. Treadway and draft memo to
                  debtors' counsel on computers (.1)

10-19-2006        R. Charles                                                           0.6            231.00
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                  Read motion to file under seal and motion to approve Lerin
                  Hills compromise (.3); draft memo to Ms. A. Jarvis on
                  guarantor (.1); read memo from Mr. T. Burr and schedule on
                  collection and default interest (.1); read memo and schedule
                  from Mr. Burr on Fund management fees (.1)

10-20-2006        S. Freeman                                                           0.1                51.00
                  Read T. Burr e-mail report and analysis re loan collections

10-20-2006        R. Charles                                                           0.3            115.50
                  Work with Mr. M. Tucker on USAIP documents (.1) ; read and
                  respond to letter from title company on Hotel Zoza closing (.2)

10-23-2006        S. Freeman                                                           0.1                51.00
                  Read Mr. R. Charles e-mail re Palm Harbor refinance issue,
                  and respond re questions

10-23-2006        R. Charles                                                           0.5            192.50
                  Read memo from Mr. J. Herman and UCC-1 financing
                  statement against USAIP (.1); draft memo to Mr. Herman on
                  request concerning alleged prior interest of Diversified estate in
                  certain USAIP interests (.1); analyze debtors' fourth cash
                  budget and draft memo to committee on same (.2); draft memo
                  to Mr. T. Burr with memo from Mr. S. Strong on Lerin Hills
                  proposal (.1)

10-24-2006        S. Freeman                                                           0.3            153.00
                  Read Mr. R. Charles, Mr. T. Burr and Mr. S. Smith e-mails re
                  Palm Harbor payoff and send e-mail follow-up query (.2); read
                  Mr. R. Charles and Mr. S. Strong e-mails re Levin Hills (.1)

10-24-2006        S. Freeman                                                           0.1                51.00
                  Read Mr. T. Burr cash forecast analysis and e-mail exchange
                  with P. Rieger re same

10-24-2006        R. Charles                                                           0.5            192.50
                  Read memo from Ms. S. Smith on Diversified investment (.1);
                  analyze memo from Ms. C. McClellan on collections (.4)

10-24-2006        J. Hinderaker                                                        1.8            612.00
                  Review documents related to potential litigation (1.6); discuss
                  overview of matter and drafting a complaint against USACM's
                  principals and officers with Mr. R. Charles (.2)

10-25-2006        S. Freeman                                                           0.1                51.00
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                  Read Mr. T. Burr e-mail re Oak Shores and attachment and
                  respond

10-25-2006        J. Hinderaker                                                         3.9           1,326.00
                  Review case related materials (1.0); discuss claims against
                  officers with Mr. R. Charles (.2); work on developing claims to
                  include in complaint (2.7)

10-26-2006        S. Freeman                                                            0.1                51.00
                  Read Mr. T. Burr e-mail and report re September loan files

10-26-2006        R. Charles                                                            1.4            539.00
                  Call with Mr. M. Levinson, Mr. J. Hermann, Ms. A. Jarvis, Mr.
                  T. Allison, Ms. S. Freeman and Mr. T. Burr on USAIP issues
                  (1.1); draft memo to Mr. D. Walker on the meeting (.1); work
                  with Mr. J. Hinderaker on lawsuit and theories against USAIP
                  (.2)

10-26-2006        J. Hinderaker                                                         0.5            170.00
                  Review case related materials to understand claims

10-27-2006        S. Freeman                                                            0.2            102.00
                  Review financial analysis from Mr. T. Burr and materials from
                  FTI and e-mail to Mr. R. Charles re same

10-29-2006        R. Charles                                                            0.1                38.50
                  Work with Ms. S. Freeman on analysis of the $58 million note
                  against USAIP (.1)

10-30-2006        S. Freeman                                                            0.6            306.00
                  Review DTDF analysis of claim amount and attachments (.2);
                  read D. Walker e-mail re financial analysis concern (.1); read
                  S. Smith response re same (.1); read e-mails to committee
                  members re financial analysis, and explain (.2)

10-30-2006        S. Freeman                                                            0.2            102.00
                  Read Mr. T. Burr e-mail re loan collections (.1); read Mr. T.
                  Burr analysis of operating reports (.1)

10-30-2006        J. Hinderaker                                                         0.7            238.00
                  Work with Mr. P. Mause on research assignment regarding
                  claims against officers

10-30-2006        P. Mause                                                              0.6            120.00
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                  Plan research re claims; research same

10-31-2006        S. Freeman                                                          0.1                51.00
                  Read Mesirow comments on loan collections

10-31-2006        P. Mause                                                            6.1           1,220.00
                  Review file re claims; research breach of fiduciary relationship

11-01-2006        S. Freeman                                                          0.3            153.00
                  Read T. Burr analysis of loan fees (.1) and Mr. R. Charles, Mr.
                  T. Burr exchange re same (.1); read Mr. R. Charles, Mr. D.
                  Walker exchange re fee income analysis (.1)

11-01-2006        P. Mause                                                            4.9            980.00
                  Research elements of breach of fiduciary duty claim, usurping
                  corporate opportunity claim, RICO claim

11-02-2006        S. Freeman                                                          0.1                51.00
                  Read Mr. R. Charles-Mr. D. Walker e-mails re diverted
                  principal issue

11-02-2006        J. Hinderaker                                                       0.2                68.00
                  Review email from Mr. R. Charles regarding documents for
                  review (.1) work with Mr. C. Jordan on gathering documents
                  for review (.1)

11-02-2006        P. Mause                                                            3.3            660.00
                  Research RICO cause of action, pleading requirements,
                  potential defenses

11-02-2006        P. Mause                                                            1.6            320.00
                  Research in pari delicto and RICO

11-03-2006        S. Freeman                                                          0.1                51.00
                  Read T. Burch e-mail re Fiesta payoff and effect

11-03-2006        P. Mause                                                            2.9            580.00
                  Research RICO claim, in pari delicto

11-05-2006        R. Charles                                                          0.1                38.50
                  Work with Ms. S. Smith on prepaid interest

11-05-2006        P. Mause                                                            2.4            480.00
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                  Research applicability of in pari delicto to RICO claim in
                  bankruptcy (2.0); review file in preparation for complaint (.4)

11-06-2006        R. Charles                                                            0.3            115.50
                  Read memos from Ms. S. Smith on prepaid interest verification
                  (.1); work with Mr. J. Hinderaker on USAIP causes of action
                  (.2)

11-06-2006        J. Hinderaker                                                         1.7            578.00
                  Research regarding the application to the in pari delicto defense
                  to a RICO claim

11-06-2006        P. Mause                                                              1.1            220.00
                  Research in pari delicto applicability; potential claims

11-07-2006        J. Hinderaker                                                         0.6            204.00
                  Research regarding basis for claim against insiders and officers

11-07-2006        P. Mause                                                              5.9           1,180.00
                  Research whether in pari delicto bars claim against corporate
                  insiders (1.5); work on complaint (3.5); research potential
                  claims (.9)

11-08-2006        R. Charles                                                            0.5            192.50
                  Read memo from Ms. P. Rieger on USAIP (.1); respond to Ms.
                  Rieger (.1); read memo from Mr. R. Russell on same (.1); work
                  with Mr. T. Burr on deposition (.1); read unofficial docket on
                  litigation (.1); draft memo to Ms. Rieger (.1); draft memo to
                  Ms. A. Jarvis and Mr. J. Hermann (.1)

11-08-2006        J. Hinderaker                                                         0.2                68.00
                  Review case related emails

11-08-2006        P. Mause                                                              4.7            940.00
                  Research potential claims including Rico, deepening
                  insolvency (4.0) review amended disclosure statement (.7)

11-09-2006        R. Charles                                                            0.1                38.50
                  Read memo from Mr. S. Strong and draft motion ton transfer of
                  direct lender interests (.1)

11-09-2006        P. Mause                                                              2.6            520.00
                  Research causes of action, ability to have receiver appointed
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11-10-2006        S. Freeman                                                         0.1                51.00
                  Read T. Burr e-mail re Meadow Creek payoff

11-10-2006        R. Charles                                                         0.3            115.50
                  Read correspondence with Ms. A. Jarvis and Ms. N. Peterman
                  on prepaid interest issue and meeting (.2); read letter from
                  Racebrook and draft memo to Mr. D. Walker on proposal (.1)

11-10-2006        P. Mause                                                           2.9            580.00
                  Research Nevada Rico, receivership; work on complaint

11-12-2006        S. Freeman                                                         0.1                51.00
                  E-mails to and from Mr. R. Charles re fee objection

11-12-2006        P. Mause                                                           1.9            380.00
                  Research Nevada RICO, review facts for complaint

11-13-2006        P. Mause                                                           0.7            140.00
                  Research RICO, receiver claims

11-14-2006        S. Freeman                                                         0.1                51.00
                  Read M. Tucker e-mail re commingled cash issue (.1)

11-14-2006        S. Freeman                                                         0.1                51.00
                  Read D. Walker, T. Bull and R. Charles e-mails re Seven Hills
                  inquiry (.1)

11-14-2006        R. Charles                                                         0.1                38.50
                  Read memo from Ms. S. Smith on servicing fees

11-15-2006        J. Hinderaker                                                      3.4           1,156.00
                  Work on complaint

11-15-2006        P. Mause                                                           0.2                40.00
                  Plan and prepare complaint, claims

11-16-2006        R. Charles                                                         0.3            115.50
                  Read memo from Mr. T. Burr on loan and collection reports
                  (.1); work on issues for Hantges/Milanowski complaint (.2)

11-16-2006        J. Hinderaker                                                      4.4           1,496.00
                  Work on the complaint against USACM's former officers and
                  directors
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11-16-2006        P. Mause                                                              4.5            900.00
                  Research and compose memo re elements of all claims (3.5);
                  research venue and jurisdiction (.8); research requirements for
                  receivership and research breach of fiduciary duty and
                  corporate opportunity doctrine (.2)

11-17-2006        R. Charles                                                            0.6            231.00
                  Work with Mr. J. Hinderaker on litigation claims and
                  complaint (.2); work on facts and theories for complaint (.3);
                  work on collection of default interest and fees on a loan payoff
                  (.1)

11-17-2006        J. Hinderaker                                                         5.2           1,768.00
                  Work on complaint

11-17-2006        P. Mause                                                              0.6            120.00
                  Research Nevada punitive damages standard;

11-18-2006        R. Charles                                                            0.7            269.50
                  Work on Hantges/Milanowski complaint

11-19-2006        R. Charles                                                            2.2            847.00
                  Work on insider complaint (1.5); read memo from Mr. J.
                  Hinderaker; analyze transfers and add preference and
                  fraudulent transfer theories (.7)

11-20-2006        S. Freeman                                                            0.1                51.00
                  Read e-mails from T. Burr and M. Hafth re Meadow Creek and
                  from T. Burr re collections

11-20-2006        R. Charles                                                            0.4            154.00
                  Work with Mr. J. Hinderaker on insider complaint (.3);
                  continue work on complaint and issues (.2)

11-20-2006        J. Hinderaker                                                         5.0           1,700.00
                  Work on complaint (2.0); review statement of financial affairs
                  to locate possible fraudulent transactions or avoidable
                  preferences (3.0)

11-20-2006        P. Mause                                                              1.2            240.00
                  Research elements of bankruptcy avoidable preferences (.5);
                  research necessity of pleading fraudulent transfer claim with
                  particularity (.4); compose memos to file re same (.3)
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11-21-2006        S. Freeman                                                         0.1                51.00
                  Read Mr. T. Burr analysis re Halsey Canyon and Mr. R.
                  Charles demand to debtor re same

11-21-2006        R. Charles                                                         0.9            346.50
                  Work with Mr. J. Hinderaker on the Milanowski/Hantges
                  complaint (.2); analyze Halsey Canyon agreement (.2) and
                  draft memo to Ms. A. Jarvis after reviewing correspondence on
                  requests to be included in payoff discussions (.2); work with
                  Mr. Hinderaker on complaint and suggestions from Mr. Burr
                  (.3)

11-21-2006        J. Hinderaker                                                      2.4            816.00
                  Work on adversary complaint versus Mr. J. Milanowski and
                  other individual defendants

11-22-2006        S. Freeman                                                         0.1                51.00
                  Read S. Strong e-mail response re Halsey Canyon and discuss
                  with Mr. R. Charles

11-22-2006        S. Freeman                                                         0.1                51.00
                  Read further e-mails from Mr. R. Charles re Halsey Canyon
                  issues

11-22-2006        R. Charles                                                         0.7            269.50
                  Work on complaint and potential defendants (.1); work on
                  allegations against additional defendants (.1); read memo from
                  Mr. S. Strong and work with Mr. T. Burr on Halsey Canyon
                  (.1); draft memo to Mr. Strong on Halsey Canyon (.1); call to
                  Mr. Strong on pending issues (.2); read memo from Mr. C.
                  Hainsworth on complaint (.1); work with Mr. Burr on Mr.
                  Olson's reaction on Halsey Canyon (.1); advise Ms. Freeman
                  on Halsey Canyon (.1)

11-22-2006        J. Hinderaker                                                      2.5            850.00
                  Work on issues related to adversary complaint against officers
                  and insiders, including research related to requirement that
                  actions of officers be fraudulent or knowingly unlawful (1.2),
                  drafting (1.0) and identifying addresses for serving defendants
                  and nature of defendant entity (.3)

11-24-2006        S. Freeman                                                         0.1                51.00
                  Read D. Walker/T. Burr e-mails re Halsey Canyon
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11-27-2006        J. Hinderaker                                                      1.7            578.00
                  Research regarding "fraud or misconduct" requirement for
                  bringing damages claim against officers and directors in
                  Nevada; work on complaint; review several case related emails

11-28-2006        S. Freeman                                                         0.4            204.00
                  Read deposition of Milanowski re USA Realty

11-28-2006        R. Charles                                                         0.3            115.50
                  Work with Mr. J. Hinderaker on complaint

11-28-2006        J. Hinderaker                                                      1.0            340.00
                  Work on complaint; research regarding conspiracy elements;
                  research regarding Nevada law requirements to hold directors
                  personally liable for breach of their fiduciary duties

11-29-2006        S. Freeman                                                         0.2            102.00
                  Read Mr. T. Burr e-mails re HFA (.1); read Liberty Bank
                  inquiry and request Mr. T. Burr follow-up (.1)

11-29-2006        R. Charles                                                         0.8            308.00
                  Work with Mr. J. Hinderaker on claims against Milanowski
                  etc. and on Rule 2004 discovery (.1); work with Ms. Monson
                  on scope of exams (.1); work with Mr. Burr on issues
                  concerning compromise of Colt, Marquis, Placer loans and
                  related issues (.6)

11-29-2006        J. Hinderaker                                                      0.5            170.00
                  Review various emails related to 2004 examinations in Las
                  Vegas (.2); discuss making arrangements for attending 2004
                  examinations in Las Vegas with Mr. R. Charles and Ms. R.
                  Creswell

11-30-2006        R. Charles                                                         0.5            192.50
                  Read memo from Ms. S. Smith on servicing fees analysis (.1);
                  work on analysis of Colt Gateway proposal (.3); read memo
                  from Mr. Burr on same (.1)

11-30-2006        J. Hinderaker                                                      0.2                68.00
                  Review and respond to emails regarding 2004 examinations in
                  Las Vegas

12-01-2006        S. Freeman                                                         0.1                51.00
                  Read Mr. R. Charles and Mr. T. Burr e-mails re D&O
                  insurance issue
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12-03-2006        R. Charles                                                          0.1                38.50
                  Work with Mr. T. Burr on Marquis settlement

12-04-2006        S. Freeman                                                          0.1                51.00
                  Read D. Walker and R. Charles e-mails re Colt, Marquis,
                  Placer loan payoffs

12-04-2006        S. Freeman                                                          0.2            102.00
                  Read T. Burr analysis of Colt/Placer/Marquis loan payoff
                  issues, and e-mails to and from members re same

12-04-2006        J. Hinderaker                                                       0.1                34.00
                  Review and calendar notices of upcoming 2004 examinations

12-05-2006        S. Freeman                                                          0.1                51.00
                  Read Mr. T. Burr - S. Strong e-mails re accrued default interest

12-05-2006        S. Freeman                                                          0.3            153.00
                  Telephone from Mr. T. Burr re analysis of remaining asset
                  value for sale analysis (.1); read Mesirow analysis of additional
                  asset values, and Mr. T. Burr revised analysis (.2)

12-05-2006        R. Charles                                                          0.2                77.00
                  Analyze default interest and success and other fees and impact
                  of early collection

12-11-2006        R. Charles                                                          0.9            346.50
                  Read memo from Mr. T. Burr on prepaid interest (.1); read
                  memo from Ms. S. Smith on same and respond (.1); read memo
                  from Mr. Smith and backup information (.1); work on litigation
                  claims against Milanowski etc. (.1); read memo from Ms. S.
                  Smith, review statement and participate in telephonic meeting
                  on prepaid interest (.5)

12-12-2006        R. Charles                                                          1.3            500.50
                  Read Compass APA (.4); draft memo to Ms. A. Jarvis on IP
                  security agreement (.1); work on motion concerning allocation
                  of additional bid (.5); continue work on motion (.2); draft
                  memo to Ms. A. Jarvis on schedules to Compass APA (.1);
                  read memo from Mr. Jarvis on schedules (.1)

12-12-2006        J. Hinderaker                                                       0.2                68.00
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                  Review email from Mr. R. McKirgen regarding suggestions for
                  the complaint against the principals

12-13-2006        S. Freeman                                                          0.1                51.00
                  Read e-mails from Mr. M. Levinson re DTDF settlement issue,
                  Mr. T. Burr re USA Realty, Mr. T. Burr re Colt payoff, Mr. T.
                  Burr re asset recovery

12-13-2006        R. Charles                                                          0.8            308.00
                  Note order approving Lerin Hills compromise (.1); work with
                  Mr. T. Burr and Mr. B. Fasel on allocation issue (.1); telephone
                  call from Ms. A. Jarvis on allocation of bid (.2); complete
                  rough first draft of allocation motion (.2); read memo from Mr.
                  Burr on preliminary asset recovery analysis (.1); work on legal
                  issue of relief from stipulation (.1)

12-13-2006        B. Griffin                                                          1.8            612.00
                  Research authority for moving to set aside a stipulation re
                  allocation of proceeds

12-14-2006        S. Freeman                                                          0.1                51.00
                  Read Mr. T. Burr e-mails re overbid allocation and USA Realty

12-14-2006        R. Charles                                                          0.6            231.00
                  Call with Diversified committee, Debtors and Direct Lenders
                  committee on USAIP VI issues

12-14-2006        B. Griffin                                                          1.5            510.00
                  Continue researching ground to set aside stipulation and draft
                  that research into motion re same

12-14-2006        J. Hinderaker                                                       0.3            102.00
                  Read, review and prepare emails regarding 2004 examination
                  of Ms. V. Loob in Las Vegas (.2); work on arrangements for
                  travel to Las Vegas for 2004 examinations (.1)

12-14-2006        M. Ruth                                                             5.1           1,020.00
                  Research re setoff and subrogation (3.5); telephone call with
                  Ms. E. Karasik re same (.3); conference with Ms. S. Freeman
                  re same (.3); draft memo re same (1.0)

12-15-2006        R. Charles                                                          1.1            423.50
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                  Attend telephonic hearing in the Tree Moss involuntary on
                  appointment of an interim trustee (.8); read memo from Ms. E.
                  Monson and work on USAIP VI involuntary, draft memo to
                  counsel with drafts (.3)

12-15-2006        J. Hinderaker                                                        1.0            340.00
                  Prepare for 2004 examination of Ms. V. Loob in Las Vegas

12-18-2006        J. Hinderaker                                                        0.3            102.00
                  Brief Mr. R. Charles on outcome of 2004 Examination

12-19-2006        S. Freeman                                                           0.2            102.00
                  Read new complaint by USACM v. Reale, Mr. R. Charles
                  letter to debtors re discounts after Compass sale (.1); read Kehl
                  complaint v. USACM (.1)

12-21-2006        S. Freeman                                                           0.1                51.00
                  Read Mr. T. Burr analysis of Tree Moss bankruptcy impact

12-21-2006        S. Freeman                                                           0.2            102.00
                  Read Mr. T. Burr e-mail and affidavit re proposed tax
                  accountants and respond re concerns (.1); red e-mail from Mr.
                  R. Charles to other committees re same (.1)

12-22-2006        R. Charles                                                           0.2                77.00
                  Draft memo to Mr. T. Burr on HFA Colt and Placer Vineyards
                  transactions (.1); read memo from Mr. G. Berman and draft
                  memo to Mr. D. Walker and Mr. T. Burr on Palm Harbor
                  inquiry (.1)

12-23-2006        R. Charles                                                           0.1                38.50
                  Work with Mr. D. Walker, Mr. G. Berman on Palm Harbor
                  loan

12-24-2006        R. Charles                                                           0.2                77.00
                  Read memo from Mr. J. Hermann on Royal Hotel complaint
                  (.1); read memo from Ms. E. Monson on same (.1)

12-25-2006        R. Charles                                                           0.3            115.50
                  Read memo from Mr. M. Levinson on the Royal Hotel
                  complaint (.1); read memo from Ms. A. Loraditch on same (.1);
                  read memo from Ms. A. Jarvis on same (.1)

12-26-2006        S. Freeman                                                           0.1                51.00
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                  Read T. Burr and R. Charles analysis and questions re potential
                  loan payoff issues (.1)

12-26-2006        R. Charles                                                         0.9            346.50
                  Read memo from Ms. A. Jarvis on revisions to draft complaint
                  (.1); read memo from Mr. C. Harvick on facts (.1); read memo
                  from Mr. J. Hermann on complaint revisions (.1); read
                  complaint against HMA Sales (.2); work with Ms. S. Freeman
                  on same (.1); read memo from Ms. A. Loraditch on timing
                  issue (.1); read memo from Mr. Hermann on proposed changes
                  to complaint (.1); read memo from Mr. T. Burr on
                  Colt/Gateway (.1); read notice of pretrial conference on HMA
                  case (.1); read memo from Ms. A. Jarvis on new suit (.1); read
                  memo from Mr. Burr on Palm Harbor inquiry (.1); work with
                  Mr. G. Berman on Palm Harbor and other pending matters (.2);
                  draft memo to counsel on the Great White lien and discovery
                  (.1)

12-27-2006        R. Charles                                                         0.4            154.00
                  Read memo from Ms. A. Loraditch on potential closing of the
                  sale of the Royal Hotel (.1); read memo from Mr. T. Burr on
                  meeting with Mr. T. Allison on collections (.1); read memo
                  from Ms. S. Freeman on strategy (.1); read application for TRO
                  in HMA Sales (.1); read memo from Mr. L. Schwartzer on
                  TRO hearing (.1)

12-28-2006        R. Charles                                                         0.3            115.50
                  Read notice of hearing on Reale suit; draft memo to Mr. M.
                  Levinson on hearing (.1); read memo from Mr. T. Burr on
                  information needed (.1); read memo from Mr. J. Herrman on
                  discovery (.1); read memo from Mr. Levinson on Great White
                  discovery (.1)

12-29-2006        R. Charles                                                         1.8            693.00
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                  Read memo from Mr. G. Berman on information for special
                  litigation counsel (.1); read memo from Ms. S. Freeman on
                  same (.1); work on extensive background information with
                  links to relevant filings and forward to Mr. M. Molumphy (.7);
                  read and respond to memo from Mr. G. Molumphy on request
                  for insider information (.1); read memo from Mr. M. Levinson
                  and work on application for preliminary injunction in HMA
                  Sales (.3); read memo from Mr. Levinson and work on Allison
                  declaration for motion (.2); incorporate suggestions from Mr.
                  Levinson and forward to Mr. L. Schwartzer (.1); read memos
                  from Mr. Schwartzer and Mr. Levinson on declaration of Mr.
                  Allison (.1); read memo from Mr. Schwartzer on inquiry by
                  Reale counsel (.1); read memo from Mr. Levinson on same
                  (.1); read memo from Mr. Hermann on the application for a
                  TRO against HMA Sales and Reale (.1)

01-01-2007        R. Charles                                                           0.2                77.00
                  Identify loan guarantee documents for Mr. G. Berman review

01-02-2007        R. Charles                                                           0.3            115.50
                  Read memo from Mr. A. Diamond and read memo from Mr. G.
                  Berman, draft memo to Mr. Diamond on information for
                  interview by proposed special litigation counsel (.2); work with
                  Mr. Diamond on information requested; work on Reale
                  litigation (.1)

01-03-2007        R. Charles                                                           1.0            385.00
                  Work on Rule 2004 motion and order concerning the Nevada
                  State Bank files concerning USAIP, Haspinov and USACM
                  (.2); read answer by USAIP to Tree Moss involuntary petition
                  (.1); read discovery orders concerning the HMA transaction
                  (.1); work on pending litigation with Ms. A. Jarvis and Mr. L.
                  Schwartzer and Mr. T. Allison (.4); work with Ms. E. Monson
                  and Mr. M. Levinson on USAIP preference review (.2)

01-03-2007        J. Hinderaker                                                        0.1                34.00
                  Review notices regarding 2004 examinations in Las Vegas on
                  January 15 and 16

01-04-2007        R. Charles                                                           0.3            115.50
                  Read memo from Mr. L. Schwartzer on Standard Property
                  negotiations (.1); call to and call from Mr. T. Burr on same
                  (.1); call to Mr. Schwartzer on same (.1)

01-05-2007        R. Charles                                                           0.4            154.00
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                  Read memo from Mr. A. Brumby on Standard Property (.1);
                  read memo from Mr. T. Burr on payoff statements (.1);
                  telephone call from Ms. J. Chubb on Colt Gateway, locate
                  analysis and forward to Mr. G. Berman (.1); read memo from
                  Mr. T. Burr on meeting with Mr. T. Allison (.1); read memo
                  from Mr. Berman on same and on discussions on Standard
                  Property (.1)

01-07-2007        R. Charles                                                          0.2                77.00
                  Work with Ms. E. Karasik on Standard Property issue (.1); read
                  memo from Mr. T. Burr on the analysis of the operating reports
                  (.1)

01-08-2007        S. Freeman                                                          0.1                51.00
                  Read Mr. G. Berman e-mail and attachment re Colt Galtenday
                  and T. Burr e-mail re same and Allison meeting

01-08-2007        R. Charles                                                          0.9            346.50
                  Work with Mr. G. Paul on stipulation concerning electronic
                  files (.1); read memo from Ms. L. Fetterly (.1) and draft memo
                  to Mr. D. Walker on potential discovery (.1); draft memo to
                  Ms. J. McPherson on Reale (.1); read memo from Mr. T. Burr
                  on analysis of payoff quotes (.1); telephone call from Mr. Burr
                  on analysis of default interest and payoffs (.2); return call to
                  Ms. J. Chubb on Colt payoff and related issues (.1); read
                  communications by Mr. Burr on calculation of sums due on
                  loan payoffs (.1); read memo from Ms. E. Karasik on Standard
                  Property issue (.1)

01-09-2007        R. Charles                                                          0.9            346.50
                  Work with Mr. M. Pugsley on documents and government
                  investigation (.3); return call to Ms. E. Karasik on Standard
                  Property (.2); negotiate with Ms. Karasik on additional bid
                  dispute and related issues (.2); read memo from Ms. P. Rieger
                  on Royal Hotel and draft memo to Mr. L. Schwartzer on her
                  inquiry (.1); telephone call from Mr. T. Burr on recovery issues
                  and Standard Property (.2)

01-10-2007        R. Charles                                                          0.7            269.50
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                  Draft memo to Ms. A. Jarvis on interviews for special litigation
                  counsel (.1); note trustee in USA Investors VI and Tree Moss
                  cases request to employ counsel, special counsel and real estate
                  consultant and hearings (.1); call to Mr. J. Hermann on Tree
                  Moss and Hotel Marquis sale issues and trustee (.1); work with
                  Mr. T. Burr on language for Compass concerning the Standard
                  Property transaction (.2); read memo from Mr. Berman on
                  interview of potential special litigation counsel (.1); locate and
                  forward information to Mr. J. Quinn (.1); read memo from Mr.
                  Berman on Beus Gilbert (.1); work with Ms. Freeman on
                  Quinn firm

01-11-2007        R. Charles                                                           1.0            385.00
                  Read memo from Mr. J. Hermann in involuntary case
                  developments on USA Investors VI (.1); read notice of hearing
                  by involuntary trustee on employment applications in Tree
                  Moss and USAIP VI (.1); draft memo to Ms. A. Jarvis on the
                  Standard Property settlement (.1); work on issues raised by
                  settlement proposal on USA Commercial Real Estate Group
                  (.1); read memo from Ms. A. Jarvis on USACREG proposal
                  (.1); work with Ms. S. Freeman on selection of special
                  litigation counsel (.1); read memo from Mr. Berman on same
                  (.1); work with Mr. Berman on interview and employment
                  terms and transition issues (.3); work on employment of special
                  litigation counsel (.1); work with Mr. Berman and Ms.
                  Freeman on meeting with special litigation counsel (.1)

01-12-2007        R. Charles                                                           1.7            654.50
                  Read memo from Mr. T. Burr and November collection report
                  (.1); read third party complaint by Hantges & Milanowski in
                  Nevada State Bank action (.1) and draft memo to Ms. A. Jarvis
                  on stay violation (.1); draft memo to Mr. A. Diamond on
                  Tanamera information (.1); draft memo to Mr. Diamond and
                  Mr. Berman on meeting (.1); read memo from Mr. Diamond on
                  meeting (.1); read memo from Ms. J. McPherson and read her
                  letter on Hantges' violation of automatic stay (.1); read memo
                  from Mr. L. Schwartzer on dismissal of third party complaint
                  promised (.1); telephone call from Mr. C. Hainsworth on
                  Bank's production and related issues (.2); read memo from Ms.
                  C. Carlyon and work on supplement to objection to distribution
                  to USA Commercial Real Estate Group (.8)

01-15-2007        R. Charles                                                           0.5            192.50
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                  Work with Mr. J. Hinderaker (.2), call to Mr. M. Tucker (.1),
                  call to Mr. J. Herman (.1), and read memo from Mr. L.
                  Schwartzer (.1) all on depositions in Royal Hotel suit; draft
                  memo to Mr. Schwartzer on confidentiality (.1); work on
                  supplement to opposition of distribution motion by USA
                  Commercial Real Estate Group (.2)

01-16-2007        R. Charles                                                            1.9            731.50
                  Prepare for and participate in a strategic call with Mr. A.
                  Diamond, Mr. G. Berman on special litigation counsel
                  investigation and litigation issues (1.6); work with Mr. M.
                  Levinson on and draft memo to Mr. Levinson concerning the
                  Colt loan servicing (.2); work with Mr. Madden on Rule 2004
                  document examinations (.1); work with Mr. Madden on
                  Nevada State Bank documents (.1)

01-17-2007        R. Charles                                                            0.7            269.50
                  Call to Mr. G. Garman on dispute over the commingled funds
                  in the Debtors' account on the petition date (.1); read memo
                  from Mr. A. Diamond and work on letter to Debtors and
                  Mesirow on documents, draft memo to Mr. Diamond and Mr.
                  G. Berman on same (.4); return call to Mr. L. Bubala on
                  effective date of the Plan and on Fertitta request as to Colt
                  loans (.2)

01-18-2007        R. Charles                                                            1.0            385.00
                  Read memo from Mr. R. Goe on interest in certain loans (.1);
                  read memo from Mr. T. Burr on servicing Colt loans (.1); read
                  memo from Mr. G. Berman on Vegas Hot Spots (.1); resend
                  memo to Mr. Goe (.1); work with Mr. Berman on response (.1);
                  read memo from Mr. Goe; supplement joinder in opposition to
                  USA CREG request for distribution (.1); work with Mr. L.
                  Schwartzer on Great White examination (.1); read memo from
                  Mr. A. Diamond on time keeping (.1); read minute entry on
                  Binford Medical (.1); draft memo to Mr. M. Pugsley on disc 6
                  after attempting to save or copy the data produced to SEC (.4)

01-19-2007        R. Charles                                                            0.7            269.50
                  Read presentation by Diamond McCarthy (.2); work with Mr.
                  J. Herman on USA Investment Partners VI involuntary (.1);
                  telephone call from Mr. R. Goe on Ashby projects (.4)

01-20-2007        R. Charles                                                            0.6            231.00
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                  Read memo from Mr. R. Goe on potential meeting (.1);
                  telephone call from Ms. J. Chubb re Colt loan servicing (.2);
                  work with Mr. T. Burr on pending issues, particularly the
                  computer transfer (.2); read memo from Ms. A. Jarvis on loan
                  servicing issue (.1); draft memo to Mr. T. Burr for analysis of
                  same (.1)

01-22-2007        R. Charles                                                          1.4            539.00
                  Read memo from Mr. D. Monson on Russell exit fee dispute
                  (.2); brief discussion with Mr. T. Allison on the timing of the
                  request (.1); read memo from Mr. C. Harvick for index of (.1)
                  and draft letter to Mr. G. Berman and Mr. A. Diamond on the
                  USACM documents (.1); work with Read memo from Mr..
                  Tucker on inquiry from Mr. R. Goe (.1); analyze payoffs on the
                  Franklin Stratford and I-40 Gateway West, and during review
                  analyze late fee and draft memo to Ms. A. Jarvis on same and
                  respond to Ms. Jarvis on request for approval (.7); read memo
                  from Mr. J. Herman on payoff issue (.1); read memo from Mr.
                  Monson in response (.1); read memo from Ms. S. Smith on
                  Russell payoff issues (.1); read memo from Mr. C. Harvick on
                  index of documents (.1); work with Mr. M. Pugsley on
                  replacement disc (.1); work with Mr. T. Burr on payoff of
                  Russell loans (.1)

01-23-2007        R. Charles                                                          1.6            616.00
                  Read memo from Mr. M. Tucker, read memo from Mr. M.
                  Levinson, read memo from Mr. G. Berman, and draft memo to
                  Mr. R. Goe on meeting (.1); read and respond to memo from
                  Mr. R. Russell on loan payoffs and fee waivers (.3); draft
                  memo to committees and debtors on Russell loans (.1);
                  participate in call with Mr. R. Goe and Sunocal and Diversified
                  (.3); read Reale amended complaint, draft memo to committee
                  and draft memo to Mr. G. Berman (.1); read memo from Ms.
                  A. Jarvis on Russell loans (.1); draft memo to Ms. E. Karasik
                  for FTDF committee on same (.1); read memo from Ms.
                  Karasik and respond on purchase price adjustment (.2); return
                  call to Mr. Berman on transition meeting (.1); read memo from
                  Ms. Jarvis on additional fees collected (.1); telephone call from
                  Ms. L. Hoperin on La Hacienda (.1) and draft memo to Mr. and
                  Mrs. Rieger on same after reading payoff letter (.1); read and
                  respond to inquiry from Mr. J. Sosnowski on La Hacienda loan
                  (.2); read memo from Mr. J. Hermann and read memo from Mr.
                  L. Schwartzer on Tree Moss involuntary (.1)

01-24-2007        R. Charles                                                          1.1            423.50
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                  Read memo from Mr. L. Schwartzer on trial brief in Tree Moss
                  involuntary (.1); read memo from Mr. J. Herman on trial brief
                  (.1); read memo from Mr. Herman on briefing the Tree Moss
                  motion to dismiss (.1); read memos from Ms. A. Jarvis on same
                  and negotiations (.1); read memo from Mr. M. Tucker on
                  creditor list (.1); read memo from Ms. S. Smith on IP records
                  (.1); read memo from Ms. E. Monson on negotiations with Mr.
                  R. Walker on Tree Moss (.1); read memo from Ms. Monson on
                  briefing the Tree Moss motion to dismiss (.1); read memo from
                  Mr. Levinson on Tree Moss negotiations (.1); read memo from
                  Mr. J. Hermann with amended complaint on HMA sales (.1);
                  read memo from Mr. S. Tingey on Huntsville loan (.1); briefly
                  research Bialac opinion and circulate to interested counsel (.1);
                  read memo from Mr. Herman on Huntsville foreclosure and
                  injunction (.1); read memos from Mr. Herman, Ms. Monson
                  and Mr. Schwartzer on Tree Moss trial brief (.1); read memo
                  from Mr. C. Harvick on grant deed for Royal Hotel (.1); read
                  memo from Mr. L. Schwartzer on Tree Moss involuntary trial
                  (.1); read memo from Ms. J. McPherson and work on amended
                  Reale complaint (.2)

01-25-2007        R. Charles                                                          0.9            346.50
                  Read USA VI motion to dismiss involuntary petition or
                  alternative motion to transfer venue (.1); read Debtor's trial
                  brief in Tree Moss involuntary (.1); draft memo to Mr. J.
                  Herman on Royal Hotel and Great White (.2); read Great White
                  spread sheet and checks and respond to memo from Mr. J.
                  Herman (.1); work with Mr. M. Levinson on the Royal Hotel
                  case (.1); read memo from Mr. Herman on Great White
                  deposition (.1); read Debtors' motion to enforce stay (.1); draft
                  joinder (.1); note order expediting hearing on motion to enforce
                  stay (.1); read memo from and draft memo to Mr. T. Burr on
                  December distributions (.1)

01-26-2007        R. Charles                                                          1.6            616.00
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                  Work with Mr. G. Berman on USA CREG motion and
                  potential recovery (.2); note hearing on motion to enforce stay
                  on Texas foreclosure (.1); work on joinder in stay motion
                  concerning Texas foreclosure (.1); work with Mr. E. Madden
                  on documents produced (.1); work with Mr. Berman on
                  amended complaint in HMA Sales (.1); work with Ms.
                  Freeman and draft memo to Mr. J. Herman on amended
                  complaint (.1); work with Mr. Berman on amended complaint
                  and litigation strategy (.3) and draft memo to Mr. Herman on
                  same (.1); read memos on HMA amended complaint and
                  strategy (.1); read memos from Mr. Herman and Ms. Monson
                  on HMA relief (.1); read memo on Reale amended answer and
                  complaint (.1); read memo from Ms. Monson on prejudgment
                  relief (.1); telephone call from Mr. G. Garman and Ms. B.
                  Higgins on commingled account (.1); work with Ms. Monson
                  and Mr. Herman on strategy on USA CREG (.1); read memos
                  from Mr. Herman and Mr. L. Schwartzer on amended
                  complaint (.2)

01-29-2007        R. Charles                                                         0.3            115.50
                  Read discovery motion on HFA and Colt (.1); read information
                  on amended HFA Complaint and Reale jury trial demand (.1);
                  read letter from Mr. J. Bart on subpoenas on HFA and Colt
                  (.1); read memo from Mr. G. Garman on Russell loans (.1);
                  work with Ms. L. Treadway on computers (.1)

01-30-2007        R. Charles                                                         1.0            385.00
                  Read memo from Mr. J. Herman and draft memo to interested
                  counsel on Reale litigation (.1); read memo from Mr. C.
                  Harvick on I-40 issue (.1) and read embedded memo from
                  Compass on same (.1); read memo from Mr. G. Garman on
                  Russell loans (.1); and work with Ms. S. Freeman on same (.2);
                  work with Mr. Garman on Russell payoff issue (.1); meeting
                  with debtors and committees on Russell payoff issue (.6)

01-31-2007        R. Charles                                                         0.5            192.50
                  Read Sunterra objection to Tree Moss sale (.1); work with Mr.
                  E. Madden on documents from Mr. M. Pugsley (.1); read
                  amended complaint in HMA sales case (.1); work on
                  prejudgment writ requested in HMA sales case against USA
                  CREG and others (.2); read memo from Ms. C. Carlyon on the
                  Standard Property settlement (.1)

02-01-2007        S. Freeman                                                         0.3            153.00
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                  Read draft agreements between USACM and Russell re exit fee
                  and quarterly, and send comments and suggestions back to D.
                  Monson

02-01-2007        S. Freeman                                                            0.3            153.00
                  Read D. Monson e-mail re Franklin/Stratford and respond re
                  concerns (.1); read D. Monson reply and R. Charles e-mail re
                  stipulation and send additional documents to him by e-mail
                  (.1); read C. Harwick and R. Charles e-mails re access to
                  documents and send response (.1)

02-01-2007        R. Charles                                                            1.5            577.50
                  Read memo from Mr. D. Monson on waiver of fee (.1); draft
                  memo to Ms. S. Smith on 2% holdback (.1); draft letter to Mr.
                  S. Judd on demand for mediation on servicing fees (.2); call to
                  Mr. M. Tucker on dispute over prepetition funds and
                  documents issues (.1); work with Ms. Freeman on discovery
                  and strategy on motion as to overbid (.3); read memo from Ms.
                  Smith on 2% and other holdbacks (.1); work with Mr. Berman,
                  Mr. E. Madden, Mr. M. Sorensen on transition issues (.6); read
                  memo from Ms. C. Carlyon on Standard Property transaction
                  (.1); telephone call from Mr. G. Gordon on Standard Property
                  settlement (.2); call to Mr. T. Burr (.1)

02-02-2007        S. Freeman                                                            0.1                51.00
                  Read G. Monson response to my e-mail re Franklin/Stratford
                  loan

02-02-2007        S. Freeman                                                            0.4            204.00
                  Read Mr. D. Monson e-mail re Stratford/Franklin letter and
                  draft letters, read his explanatory e-mail, and respond (.2); read
                  G. Berman and R. Charles e-mails re Liberty Bank loan issue,
                  read R. Charles e-mail to committee re Standard Property
                  settlement proposal (.1); read G. Berman, R. Charles, T. Burr
                  e-mails re Colt loan payoff proposal (.1)

02-02-2007        R. Charles                                                            1.0            385.00
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                  Read Liberty Bank motion to intervene in the HMA Sales
                  action (.1); telephone call from Mr. G. Gordon on Standard
                  Property (.1); read memo from Mr. Gordon on letter to direct
                  lenders (.1); work with Mr. T. Burr and Mr. G. Berman on
                  proposal on payoff of Colt loans (.2); read memo from Ms. P.
                  Rieger on Standard Property loan and respond (.1); work with
                  Mr. Berman on Liberty Bank (.1); work with Ms. E. Monson
                  and Mr. J. Hermann on HMA discovery (.1); work with Ms. E.
                  Monson and Mr. Hermann on HMA discovery and USAIP
                  protective order with Reale (.1); read memo from Ms. Monson
                  on discovery strategy (.1); draft memo to counsel on HMA
                  action and lead responsibility (.1)

02-03-2007        R. Charles                                                          0.1                38.50
                  Work with Mr. G. Berman and Mr. E. Madden on HMA Sales
                  litigation and strategy meeting

02-04-2007        R. Charles                                                          0.8            308.00
                  Locate Milanowski transcript for Mr. E. Madden (.1); work
                  with Mr. Madden on memo from Ms. E. Monson on USAIP
                  documents to Reale in HMA suit (.1); draft memo to Mr. C.
                  Harvick on reimbursement for half of the imaging costs of the
                  documents produced to the SEC (.1); read amended notice of
                  application for writ of attachment in HMA Sales, and read
                  application (.2); read notice of USACM Rule 2004 examination
                  (.1); read Reale motion to shorten time, attorney's affidavit in
                  support of motion, and read Reale motion to dismiss and for
                  summary judgment in HMA Sales case (.2)

02-05-2007        S. Freeman                                                          0.1                51.00
                  Read D. Monson e-mail re amending Franklin/Stratford loan
                  documents, and R. Charles e-mail re same, and respond re no
                  changes

02-05-2007        S. Freeman                                                          0.1                51.00
                  Read T. Burr e-mail re Colt loan issues

02-05-2007        S. Freeman                                                          0.1                51.00
                  Read T. Burr and R. Charles e-mails re Colt payoff proposal
                  issues

02-05-2007        S. Freeman                                                          0.1                51.00
                  Read G. Garman e-mail re Russell notice issue and respond;
                  read D. Morrison response re same
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02-05-2007        R. Charles                                                         2.6           1,001.00
                  Read memo from Mr. E. Madden on HMA litigation; work
                  with Mr. A. Diamond, Mr. E. Madden on HMA litigation (.3);
                  read memo from Mr. Madden on HMA deadlines (.1); read
                  memo from Mr. D. Monson on Franklin Stratford loan (.1);
                  read memo from Mr. G. Berman and draft memo to Mr. M.
                  Levinson on Tree Moss bid procedures (.1); work with Mr. G.
                  Berman on analysis of Reale motion in HMA Sale case (.2);
                  note Reale motion to shorten time to hear his motion to dismiss
                  (.1); draft memo to Mr. D. Monson on Franklin/Stratford loan
                  (.1); participate in conference call with Mr. G. Berman, Mr. J.
                  Hermann, Mr. M. Levinson, Ms. E. Monson, Mr. M. Tucker,
                  Mr. E. Madden on HMA Sales litigation (1.4); read Sunterra
                  and DTDF objection to Tree Moss Trustee's bid procedures
                  (.1); note order denying Reale motion to expedite hearing (.1);
                  read memo from Mr. Madden on document retention (.1); read
                  memo from Mr. Madden on document index (.1); read memo
                  from Mr. Madden on documents provided via Hantges (.1);
                  work with Mr. T. Burr on payoff of Colt loans (.2); read memo
                  from Ms. E. Monson on request for documents (.1); read memo
                  from Mr. Madden on document scanning project (.1); call to
                  Mr. G. Garman on issue raised on deductions from lenders (.1);
                  read memo from Mr. D. Monson on Franklin/Stratford and I-40
                  Gateway West Loans (.1)

02-06-2007        S. Freeman                                                         0.1                51.00
                  Return G. Garman call re Russell loans (message)

02-06-2007        S. Freeman                                                         0.2            102.00
                  E-mails from and to D. Monson re Franklin/Stratford payoff
                  agreement revisions and review his drafts

02-06-2007        S. Freeman                                                         0.1                51.00
                  Telephone from Mr. R. Charles re Colt refinancing issues

02-06-2007        R. Charles                                                         3.0           1,155.00
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                  Read memo from Ms. S. Freeman and draft memo to Mr. J.
                  Hermann on Reale motion to dismiss (.1); note DTDF joinder
                  in objection to Tree Moss bid procedures (.1); draft memo to
                  counsel on joint interest in the HMA Sales litigation (.1); draft
                  memo to Mr. G. Berman on Reale motion to dismiss hearing
                  (.1); read memo from Ms. S. Smith (.1); call with Ms. Smith,
                  Mr. T. Allison, Mr. G. Berman, Mr. D. Walker, and other
                  Mesirow personnel on Colt loan (.3); discuss Colt issues with
                  Mr. M. Levinson (.2); call with Messrs. M. Levinson, J.
                  Hermann, M. Tucker and counsel on Liberty Bank and HMA
                  Sales (.7); return call to Mr. G. Garman on Russell loans (.1);
                  call with Messrs. Levinson, J. Hermann, M. Tucker, Jarvis and
                  Allison on Colt loan issues (.5); read memo from Mr. R.
                  Russell and read memo from Mr. D. Monson on Russell loan
                  payoff language (.1); work with Ms. Freeman on Colt issues
                  (.1); read and respond to memo from Ms. E. Monson on HFA
                  litigation tasks and scheduling (.2); draft memo to Mr. Berman,
                  Mr. Walker etc. on Colt issues (.2); work with Ms. Monson on
                  scheduling Mr. Allison's deposition (.1); read memo from Mr.
                  Berman on and draft memo to Mr. Levinson on TJA Marketing
                  (.1); draft memo to Mr. E. Madden on calendar (.1)

02-07-2007        S. Freeman                                                          0.1                51.00
                  Read D. Monson e-mail re Rio Rancho issues

02-07-2007        S. Freeman                                                          0.1                51.00
                  Read R. Russell and D. Monson e-mails re closing
                  Franklin/Stratford and respond

02-07-2007        S. Freeman                                                          0.2            102.00
                  Read R. Charles analysis of Colt payoff dispute and proposal,
                  and respond to trust and committee professionals and chair
                  with my ideas (.1); read G. Berman response re strategy and R.
                  Charles reply (.1)

02-07-2007        R. Charles                                                          0.6            231.00
                  Work with Mr. D. Walker, Mr. G. Berman and Ms. S. Freeman
                  on Colt loans issue (.1); read Reale's amended answer to
                  amended complaint (.1); read Diversified's opposition to USA
                  Investors' VI's motion to dismiss or transfer venue (.1) and read
                  trustee's opposition to same (.1); read Sunterra declarations in
                  opposition to Tree Moss Trustee's bid procedures and as to
                  background on Tree Moss acquisition of condominiums (.2);
                  read memo from Tree Moss trustee on additional marketing by
                  auction (.1)
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02-08-2007        R. Charles                                                      2.0            770.00
                  Read memo from Mr. D. Monson on Rio Rancho (.1); read
                  memo from Ms. S. Smith on Franklin Stratford (.1); work with
                  Mr. Berman on Rio Rancho (.1); work with Ms. S. Freeman on
                  Rio Rancho alternatives (.3); read Trustee's memo on Tree
                  Moss sale procedures (.1) and read memo from Mr. Berman on
                  Tree Moss order for relief (.1); work with Mr. Monson on
                  scope of Rio Rancho request (.1) and read memo from Mr.
                  Monson on loan matured and its implications (.1); read memo
                  from Mr. E. Madden and read communications on document
                  boxing, indexing and storage (.1); work with Mr. Berman and
                  Mr. Madden on document project (.1); read and respond to
                  memo from Ms. E. Monson on HMA Sales and Reale (.1);
                  work with Ms. Monson on HMA Sales discovery (.1); work
                  with Mr. Berman on Reale request (.1); read memo from Mr. J.
                  Hermann on Reale (.1) and work with Mr. Berman on
                  scheduling (.1); telephone call from Mr. S. Judd on Standard
                  Property settlement and loan (.2); telephone call from Ms. J.
                  Chubb on Rio Rancho (.1); read memo from Mr. Monson with
                  proposed stipulated order on Rio Rancho (.1) and draft
                  response after memo to Mr. D. Walker (.1); work with Ms.
                  Monson and Mr. Madden on Reale discovery responses (.1);
                  work with Mr. Berman and Mr. Monson on stipulated order on
                  Rio Rancho (.1); read memo from Ms. E. Karasik on Rio
                  Rancho; read memo from Mr. G. Garman approving same; read
                  memo from Compass approving same (.1); read memo from
                  Mr. Monson to US Trustee on Rio Rancho (.1); read memo
                  from Mr. Monson on Compass' position; read memo from
                  Compass on approval (.1)

02-09-2007        R. Charles                                                      0.8            308.00
                  Read memo from Ms. S. Smith on January distribution (.1);
                  read memo from Mr. A. Landis approving Rio Rancho
                  stipulation (.1); draft memo to Mr. D. Monson on changes to
                  Rio Rancho order (.1); read memo from Ms. C. Carlyon on
                  FTDF approval (.1); work with Ms. Smith, Mr. G. Garman, Mr.
                  M. Tucker on meeting on prepetition funds (.1); read memo
                  from Mr. C. Harvick on January distributions (.1); work with
                  Mr. M. Tucker on issue of funds in commingled prepetition
                  account (.5)

02-10-2007        R. Charles                                                      0.9            346.50
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                  Read memos from Mr. J. Hermann and Ms. E. Monson on
                  HMA Sales, Reale and strategy (.1) and respond on same and
                  on settlement conference (.1); note issuance of amended
                  summonses in HMA Sales (.1); read letter from buyer of Royal
                  Hotel and draft memo to Mr. M. Levinson on same (.1); read
                  memo from Mr. E. Madden on deposition inquiry (.1); read
                  memo from Mr. M. Levinson on HMA Sales suit and Reale
                  (.2) and on licensing and related issues (.2) and call with Mr.
                  Levinson and Mr. G. Garman on same (.2)

02-12-2007        S. Freeman                                                             0.2            102.00
                  Read S. Smith e-mail re KPMG tax return preparation, A.
                  Stevens e-mail re Rio Rancho payoff, M. Sorenson e-mail re
                  service (.1); read I40 proposal stipulation and send e-mail to
                  Mr. R. Charles re revision (.1)

02-12-2007        R. Charles                                                             2.1            808.50
                  Work with Mr. E. Madden on Olson deposition (.1); prepare
                  for and participate in call with Ms. S. Smith, Mr. T. Burr, Mr.
                  M. Tucker, Mr. G. Garman, and Ms. B. Higgins on prepetition
                  account, tracing and claims (1.1); work with Mr. Tucker and
                  Mr. Burr on facts (.3); telephone to Mr. Garman and Ms.
                  Higgins on resolution of same (.2) and draft memo to Ms.
                  Smith on same (.1); work with Ms. Smith on compromise and
                  on plan effective date (.2); read memo from Ms. A. Stevens
                  and note Rio Rancho payoff (.1); read and respond to memo
                  from Mr. M. Levinson on HMA action and settlement
                  conference (.1); work on response to FTDF motion (.2); read
                  memo from Ms. A. Loraditch and draft memo to Mr. G.
                  Berman on settlement conference in HMA Sales (.1)

02-13-2007        R. Charles                                                             1.4            539.00
                  Work with Mr. E. Madden on Reale settlement conference (.1);
                  read DTDF status conference memo (.1); read memos from Ms.
                  A. Jarvis, Mr. M. Levinson, Mesirow on Colt meeting (.1);
                  participate in meeting on Colt loans with Debtors and DTDF
                  committee (1.1); read memo from Ms. E. Monson on
                  negotiations with Reale counsel (.1); read memo from Mr. L.
                  Bubula and draft memo to Mr. Berman on Allison deposition in
                  Fertitta motion discovery (.1)

02-14-2007        R. Charles                                                             0.2                77.00
                  Read memo from Mr. G. Berman and draft memo to Ms. E.
                  Monson on Reale settlement conference (.1); read Diversified
                  consent to intervention of Liberty Bank (.1)
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02-15-2007        R. Charles                                                         0.4            154.00
                  Read memo from Mr. E. Madden on missing loan files (.1);
                  work with Mr. E. Madden on Beadle McBride (.1); work on
                  settlement conference and discovery in HMA Sales litigation
                  (.2); read memo from Mr. M. Levinson on Colt settlement (.1)

02-16-2007        R. Charles                                                         0.5            192.50
                  Work on Beadle McBride issue with Mr. E. Madden and Mr.
                  G. Berman (.1); work with Mr. Madden on Rule 2004
                  examination (.1); read memo from Ms. E. Monson on
                  documents produced in HMA Sales (.1); work with Mr. G.
                  Berman and Mr. E. Madden on documents produced by Reale
                  (.2); read memo from Mr. M. Tucker on HMA Sales (.1)

02-17-2007        R. Charles                                                         0.6            231.00
                  Read letter from Mr. C. Orrock and draft letter to Mr. Orrock
                  of Great White on automatic stay (.2); draft memo to Mr. M.
                  Olson concerning Berkovitz and document review (.1); read
                  memo from Ms. E. Monson, read memo from Mr. E. Madden,
                  and read memo from Mr. M. Levinson and draft memo to Mr.
                  T. Ryan on "taint team" review of USAIP and USACM
                  documents (.4)

02-18-2007        R. Charles                                                         0.4            154.00
                  Work with Mr. V. Heinz on "taint team" project (.1); read
                  memo from Mr. G. Berman on Reale payments analysis (.1);
                  read memo from Ms. S. Don and work on stipulation for Reale
                  settlement conference (.2); read memo from Mr. M. Levinson
                  on same (.1)

02-19-2007        R. Charles                                                         1.0            385.00
                  Read proposed order from Mr. D. Gerrard on Reale (.1); read
                  Mr. LePome's notice and motion to reopen order on
                  interpleader funds (.1); read proposed agreement as to Colt
                  Gateway loans (.2); work with Mr. T. Ryan and Ms. L.
                  Lackland on "taint" team investigation (.1); read memo from
                  Mr. T. Burr on Colt loans (.1); work with Mr. J. Reid and then
                  Mr. G. Berman on Placer loans (.4)

02-20-2007        R. Charles                                                         3.1           1,193.50
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                  Read memo from Mr. J. Bart for Tabas estate on Colt (.1);
                  work on settlement letter to Mr. D. Gerrard on Reale action
                  (1.0); telephone to Ms. J. McPherson on settlement on Reale
                  action (.2); meet with Mr. M. Levinson, Mr. M. Tucker, Ms. E.
                  Monson, Ms. A. Jarvis, Mr. T. Allison and others on Colt (.5);
                  work with Ms. E. Monson on Reale settlement letter (.2); work
                  with Ms. Freeman on letter (.1); work with Ms. McPherson on
                  changes to letter (.2); work with Mr. P. Cheng on facts for
                  Reale avoidance action (.4); read memo from Ms. Jarvis on
                  Tabas estate inquiry on loans (.1); work with Mesirow and Mr.
                  M. Sorenson on Placer Vineyards, then also with Mr. T.
                  Allison (.4); discuss Placer Vineyards with Mr. G. Berman (.2);
                  read memo from Ms. L. Lackland on taint team (.1); read
                  memo from Ms. Jarvis on escrow (.1); read memo from Ms.
                  Karasik and respond on escrow (.1)

02-21-2007        R. Charles                                                            2.7           1,039.50
                  Read memo from Ms. E. Karasik and read memo from Ms. A.
                  Jarvis on escrows (.1); read memo from Tabas attorney on Colt
                  (.1); work on Reale settlement statement after reading memo
                  from Ms. J. McPherson on same (.6); work on Colt refinancing
                  and Bullard payoff with information from Mr. C. Harvick (.1),
                  correspondence with Mr. M. Tucker on allocation of fee (.1),
                  Read memo from Ms. S. Smith on Bullard portion (.1), call
                  from Ms. Jarvis on alternatives (.3), discussions with Ms. J.
                  Chubb (.1), discussions with Mr. G. Berman on issues (.1), and
                  exchange of memoranda on terms (.2); continue work on
                  settlement conference statement on Reale avoidance action
                  with information from Ms. M. Smith on transfers (1.0), and
                  revisions from Mr. G. Berman (.2), Ms. J. McPherson (.2), Ms.
                  S. Freeman (.1) and input from Ms. E. Monson (.1); note entry
                  of order granting Liberty Bank motion to intervene (.1); work
                  with Mr. Berman on access to Diamond McCarthy site (.1);
                  read correspondence on "taint" team project (.1)

02-22-2007        S. Freeman                                                            0.3            153.00
                  Read G. Berman e-mail re Colt allocation and study proposed
                  breakdown; respond with my analysis

02-22-2007        S. Freeman                                                            0.3            153.00
                  Read and respond to G. Berman e-mail re DTDF and read R.
                  Charles e-mail re documents - R. Charles e-mail re allocation
                  (.1); read G. Berman, M. Levinson and R. Charles e-mails re
                  allocation of Colt fee and discuss with G. Berman by phone
                  and agree on response (.2)
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02-22-2007        S. Freeman                                                         0.2            102.00
                  Read M. Levinson e-mail re authority for debtor to act re
                  Colt/Gateway for DTDF and USACM and second e-mail re
                  changes (.1); telephone from G. Berman re decision on same
                  (.1)

02-22-2007        R. Charles                                                         1.3            500.50
                  Call from Judge Markell's chambers on Reale settlement
                  conference (.1); read DTDF settlement offer (.1); work with
                  Mr. E. Madden on Reale suit (.1); work with Mr. Madden on
                  retaining client files (.1); read memos from Mr. M. Levinson,
                  Ms. A. Jarvis on Colt and Bullard (.1) and draft memo to all
                  interested parties on DTDF-USAM issues (.2); calls to Mr. M.
                  Levinson (.2), Mr. G. Berman (.1) and Ms. A. Jarvis on Colt
                  payoff and DTDF-USACM agreement (.1); read letter from
                  Mr. D. Gerrard for Mr. Reale on settlement (.1); read memo
                  from Ms. E. Monson on settlement conference and HMA Sales
                  / Reale discovery (.1); draft memo to counsel on Mr. Gerrard's
                  letter (.1); work with Mr. G. Berman on Mr. Gerrard's offer
                  (.1); work with Mr. Madden on Nevada ethical obligations as
                  to client files (.1); read memo from Mr. Herman on Reale
                  settlement conference (.1)

02-23-2007        S. Freeman                                                         0.1                51.00
                  Read S. Strong e-mail re IP sale of Tanamera interest and
                  briefly review contract

02-23-2007        R. Charles                                                         0.8            308.00
                  Read memo from Mr. S. Strong with "offer" on IP's interest in
                  Tanamera and respond (.1); read correspondence with Mr. M.
                  Levinson and Ms. A. Jarvis on Colt payoff (.1); read memo
                  from Ms. Jarvis and read draft motion to authorize Colt payoffs
                  (.1); work with Ms. Jarvis on letter to Tabas (.1); work with
                  Ms. Jarvis on Fertitta letter on Colt payoff (.1); read memo
                  from Ms. E. Monson on document review (.1); read
                  correspondence from Mr. J. Hermann, Mr. Levinson and Ms.
                  Jarvis on Colt payoff (.1); read correspondence on "taint team"
                  investigation of IP documents (.1); read exchange between Ms.
                  E. Monson and Mr. C. Harvick on document review, and read
                  memo from Mr. Levinson on same (.1)

02-25-2007        R. Charles                                                         0.4            154.00
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               Read correspondence among Ms. J. Chubb, Ms. A. Jarvis and
               Mr. M. Levinson Colt payoff and deadline (.1); skim memo
               from Mr. B. Bullard on Colt (.1); read stipulation and order and
               minute entry in Reno litigation with Lowe Residential (.1);
               locate exhibits for Reale settlement conference (.1)

02-26-2007     R. Charles                                                           5.4          2,079.00
               Conference with Mr. G. Berman and Mr. M. Sorenson on
               pending issues, including settlement conference on Reale (1.0);
               participate in settlement conference on Reale (3.0); meet with
               Mr. Berman on follow up issues (.5); call to Ms. A. Jarvis on
               Colt and Bullard (.1); participate in call requested by Mr. B.
               Bullard for Fertitta on Colt Gateway loans (.3); work with Mr.
               T. Burr on preparation for hearing on FTDF motion (.1); work
               with Mr. E. Madden on discovery (.1); read memo from Ms.
               Jarvis with motion and declaration on Colt loan (.1) and draft
               memo to Ms. Jarvis with suggestions (.1); work with Ms. Jarvis
               on Colt payoff and request by lender (.1)

02-27-2007     S. Freeman                                                           0.1                51.00
               E-mails to and from R. Charles re Colt Gateway status, and
               read A. Jarvis e-mail re payoff statements; read letter from
               Kirby to Jarvis re Fiesta Oak Valley services change

02-27-2007     R. Charles                                                           2.0            770.00
               Read memo from Mr. M. Levinson and read memo from Ms.
               A. Jarvis on Colt Gateway (.1); read memo from Mr. L.
               Schwartzer on hearings on March 1 and 2 (.1) and draft memo
               to Mr. Schwartzer with suggestions (.2); note Liberty Bank
               response to motion for attachment and draft memo to Mr. E.
               Madden (.1); work with Mr. G. Berman on pending matters,
               March 1 and 2 calendars (.3); draft memo to Mr. L. Schwartzer
               on Reale action (.1); draft memo to counsel on Haspinov lease
               and "taint" team review (.1); read memo from Mr. E. Madden
               on witness interview (.1); work with Mr. Berman on Marquis
               Hotel and Placer Vineyards (.1); read operating reports and
               draft memo to Mr. T. Burr on inquiry as to management fees
               and on servicing (.3); telephone call from Mr. J. Bonfiglio on
               servicing (.2); work with Mr. Schwartzer on Reale actions after
               reading correspondence on consolidation (.1); draft memo to
               counsel in Reale action (.1); work with Mr. Burr on operating
               report issues (.2)

02-28-2007     R. Charles                                                           3.1          1,193.50
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               Draft memo to Mr. D. Gerrard for Reale (.1); read memo from
               Mr. L. Schwartzer with report on discovery (.1) and draft
               memo to Mr. Schwartzer on same (.1); read memo from Mr.
               Gerrard (.1) and call to Mr. Gerrard on discovery in Reale suit
               (.2); work on discovery report (.3); draft memo to counsel on
               draft discovery report (.1); read correspondence on computer
               issues (.1); read memo from Mr. D. Monson with revisions to
               motion on Colt payoff (.1); read memo from Mr. Schwartzer on
               proposed discovery report (.1), read memo from Mr. Gerrard
               on same (.1) and respond to Mr. Gerrard (.1); work with Mr.
               Levinson on Colt (.1); read Liberty Bank notice of hearing on
               motion to modify TRO (.1); read Debtor's motion and Mr. T.
               Allison's declaration on Colt payoff (.1); read memo from Mr.
               Gerrard (.1) and work on discovery plan and scheduling order
               (.5); work with Mr. E. Madden on Rule 2004 requests (.1);
               work with Ms. Jarvis on Colt Gateway approval (.1); read
               memo from Mr. Gerrard on discovery report and forward with
               changes identified to Mr. Schwartzer (.2); draft memo to Mr.
               Gerrard with revisions (.2); read memo from Mr. Levinson on
               Colt concerns (.1); work with Mr. Madden on Rule 2004
               discovery (.1); read memo from Mr. Gerrard and work with
               Mr. Schwartzer to finalize discovery plan (.1) and coordinate
               with Mr. Madden and Diamond McCarthy (.1)

03-01-2007     R. Charles                                                        0.3            115.50
               Work with Mesirow and Mr. M. Sorenson on Placer Vineyards
               (.2); read memo from Mr. E. Madden (.1) and read memo from
               Mr. G. Berman on witness interviews (.1)

03-02-2007     R. Charles                                                        0.7            269.50
               Read minute entries in HMA Sales case and continuing TRO
               and hearing on attachment (.1); read minute entries in Tree
               Moss and USA Investors VI involuntary cases (.1) and work
               with Mr. G. Berman on same (.1); note entry of Order Denying
               USA Commercial Real Estate Group, Inc.'s Motion to Enforce
               Order Granting Debtors' Motion to Distribute Funds (.1);
               telephone call from Mr. J. Reed (.1) and draft memo to Mr.
               Berman on Placer Vineyards (.1); work with Mr. Berman on
               Placer Vineyards and BMC (.2)

03-03-2007     R. Charles                                                        1.4            539.00
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               Outline memo to Mr. Geoff Berman on Placer Vineyards,
               incorporating information from loan status report, Hilco
               appraisal, public filings and media (.9); read memos from Mr.
               L. Schwartzer and draft memo to Mr. Schwartzer on the Reno
               attorneys' fees litigation (.2); draft memo to Debtors' counsel
               on Pending Litigation (.2); note Reale proof of claim in
               Investors VI case (.1); read Reale proof of claim in Investors
               VI (.1)

03-05-2007     R. Charles                                                           2.4            924.00
               Read memo from Mr. G. Berman on inquiry from Tanamera
               and call to Mr. Berman on same (.2); call to Mr. M. Levinson
               on Tanamera, Colt, Great White, working together on pending
               litigation and other transition issues (.4); call to Ms. A. Jarvis
               on interviews, Colt, and Placer Vineyards (.2); telephone to Mr.
               Berman on Colt and Placer Vineyards (.2); read memo from
               Ms. J. McPherson and read memo from Mr. Berman on
               transition meeting (.1); work with Ms. Freeman on Colt and
               Placer Vineyards (.2); read memo from Ms. E. Karasik and
               advise on negotiation of allocation issue (.1); work with M.
               Blakley on Placer Vineyards analysis (.3); work with Ms. S.
               Armstrong on Reno attorney fees and USACM files (.2); draft
               memo to Mr. E. Madden on former counsel (.1); work with Mr.
               Burr, Mr. Berman and Ms. Freeman on allocation issues (.1);
               call to Mr. R. Russell on claim and on Placer Vineyards (.2);
               telephone to Mr. Berman on trust counsel (.2)

03-06-2007     R. Charles                                                           2.0            770.00
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               Mr. Mr. G. Berman on asset allocation negotiation (.1); read
               memos from Mr. E. Madden and Mr. G. Berman on witness
               interviews (.1); read memo from Ms. A. Jarvis and read memo
               from Mr. T. Lomazow on Compass offer on Placer Vineyards
               (.1); work with Mr. Geoff Berman and Ms. S. Freeman on
               Placer Vineyards (.3); work with Mr. M. Levinson on Placer
               Vineyards and IP (.2); Read memo from Ms. S. Freeman on
               Realty depo in HMA Sales suit (.1); read memo from Ms.
               Freeman on Bunch discovery (.1); return call to Mr. E. Madden
               on witness interviews (.1); read letter from Mr. S. Tingey on
               USA Capital/Huntsville and draft memo to Ms. P. Rieger (.1);
               telephone call from Mr. K. Donahue from Midland Loan
               Servicing on the servicing issues (.3) (NC); read exchange with
               Ms. A. Jarvis on privilege issues (.1); work with Ms. Freeman
               on privilege issue (.2); draft memo to Mr. Schwartzer on
               meeting after reading memo from Mr. Berman (.1); read
               comments on Colt Gateway letter, read memo from Ms. Jarvis
               and approve revisions (.2); work on meeting arrangements (.1);
               work on Placer Vineyards and effective date stipulation (.2);
               read correspondence on attorney client privilege and witness
               interviews (.1)

03-07-2007     R. Charles                                                          5.6          2,156.00
               Read memo from Mr. A. Diamond on SEC inquiries (.1); read
               memo from Mr. Diamond on witness interviews and attorney-
               client privilege (.1); read correspondence from Mr. J. Hermann,
               Mr. M. Levinson and Ms. A. Jarvis on Colt (.1); work on
               stipulation and order as to Placer Vineyards loan servicing (.1);
               prepare for and meet with Mr. Geoff Berman, Mr. M.
               Sorenson, Diamond McCarthy attorneys and their consultants
               on discovery and litigation strategy (4.1); respond to request
               for assurances by Colt (.2); work with Mr. M. Sorenson and
               Ms. S. Freeman on computer sale, hard drive preservation and
               related issues (.2); work on revised language proposed by Colt
               (.2); work on language for footnote on stipulation on Placer
               Vineyards (.1); read exchange on Reale discovery (.1); work
               with Mr. J. Hermann on Rule 2004 discovery (.1); work with
               Diamond McCarthy and investigators on witness interviews
               and follow up (.8); work with investigator on facts (.3)

03-08-2007     R. Charles                                                          6.3          2,425.50
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               Read memo from Mr. G. Berman on USAIP discussions (.1);
               meet with Diamond McCarthy, Mr. G. Berman and Mr. M.
               Sorenson and investigators (1.3); return call to Mr. R.
               McKnight on subpoena (.2); travel to and meet with Mr. L.
               Schwartzer and Mr. G. Berman on litigation transition and
               return to Debtor's offices (2.0); listen to witness interview (.3);
               call to Mr. A. Landis on stipulation on Placer Vineyards (.1);
               meet with Ms. A. Jarvis, Diamond McCarthy and Mr. Berman
               (.7); discussions after with Mr. Berman, Mr. Sorenson and
               Diamond McCarthy (.7); read memo from Mr. Schwartzer and
               respond on Reale motion for summary judgment and
               scheduling conference (.2); draft memo to Diamond McCarthy
               on Reale motion for summary judgment (.1); read memo from
               Mr. Schwartzer on bills for fee application in Reno action (.1);
               read memo to investors (.1); read memo from Mr. K. Rowe on
               Tanamera (.2); work with Mr. Berman and Diversified on
               meeting (.1); read Reale motion for summary judgment in
               fraudulent transfer action (.3)

03-09-2007     R. Charles                                                             2.8          1,078.00
               Work with Mr. G. Berman on HMA Sales (.1); work with Mr.
               Berman on Downey Brand (.1); draft memo to Mr. A. Diamond
               on Mr. J. Milanowski's declaration on Lerin Hills (.1); draft
               memo to Mr. E. Madden and Mr. M. Yoder on McKnight
               inquiry (.1); return call to Mr. R. McKnight (.1); work with Mr.
               B. Reid on strategy (.1); note Investors VI answer in
               involuntary (.1); read memo from Mr. E. Madden on Reale
               (.1); participate in meeting via call with Diversified and
               Diamond McCarthy on witness interviews and strategy, and
               then without Diamond McCarthy on Colt and Placer Vineyards
               (1.3); draft memo to Mr. R. Esterkin on Placer Vineyards (.1);
               read memo from Mr. and Mrs. Rieger on Placer Vineyards (.1);
               telephone call from Mr. Rieger on same (.1); review notice of
               hearing and draft memo to Mr. L. Schwartzer on notice of sale
               hearing in error on Placer Vineyards (.1); read and respond to
               memo from Ms. Jarvis on Placer Vineyards (.1); participate in
               call on plan and effective date calculations (.2); telephone call
               from and return call to Mr. D. Gerrard on subpoena (.1) and
               draft memo to Mr. E. Madden on same (.1); read memo from
               Ms. J. McPherson on sale of Placer Vineyards servicing rights
               (.1)

03-10-2007     R. Charles                                                             0.5            192.50
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                  Draft memo to Mr. L. Rieger on Placer Vineyards investigation
                  (.1); draft memo to Mr. D. Monson on Compass escrows (.1);
                  read memo from Ms. A. Jarvis on accounting for effective date
                  transfers (.1); work on response to Reale motion in HMA Sales
                  case (.1); draft memo to Orrick on Reale motion for summary
                  judgment and affidavit (.1); read memo from Mr. B. Reid and
                  draft memo to Mr. Bob Russell on Diamond McCarthy (.1)

03-11-2007        R. Charles                                                             0.2                77.00
                  Telephone call from Mr. G. Garman on USAIP issues (.3)

03-12-2007        R. Charles                                                             1.0            385.00
                  Work on HMA Sales litigation with recent pleadings (.1); read
                  partial transcript of January 3 hearings (.1); telephone call from
                  Mr. E. Madden and Ms. E. Jones on Reale (.2); work with Mr.
                  G. Berman on Tanamera/Roripaugh (.1); read memo from Mr.
                  Brumby on settlement offer (.1); draft memo to Mr. Brumby on
                  pending litigation (.1); read memo from Ms. P. Rieger on
                  Placer Vineyards, note and circulate Reale deed of trust (.1);
                  read memo from Mr. Berman on Placer Vineyards (.1); read
                  letter to Mr. R. McKnight from Diamond McCarthy (.1); read
                  correspondence with Beadle McBride (.1); work with Mr.
                  Berman on Halsey Canyon obligations paid by borrower after
                  the initial payment (.2); return call to Ms. J. Chubb on Placer
                  Vineyards (.1)

                      TOTAL FOR TASK CODE B120                                         236.3         78,082.00


             B130 ASSET DISPOSITION

08-01-2006        R. Charles                                                             1.7            654.50
                  Read memo from Mr. T. Burr on sale issues and
                  recommendation (.1); read memo from Mr. M. Kvarda on term
                  sheet needed (.1); prepare for and participate in all committees
                  call on sale issues (.9); work on agenda and minutes for the
                  Committee's Wednesday meeting (.5); work with Ms. M.
                  Schoenike on information for the committee's Wednesday
                  meeting (.1)

08-03-2006        S. Freeman                                                             0.7            357.00
                  Return M. Tacker call re meeting (.1); e-mail from A. Jarvis re
                  meeting on sale issues (.1); e-mail from M. Levinson re same
                  and respond (.1); participate in all-committee call re sale issues
                  (.3); follow-up e-mails re same (.1)
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08-07-2006     R. Charles                                                             0.2                77.00
               Read memo from Ms. A. Jarvis re buyer term sheet (.1); work
               with Mr. T. Burr on sale issues (.1)

08-08-2006     R. Charles                                                             0.2                77.00
               Read memo from Mr. Burr on sale process (.1); read memo
               from Ms. A. Jarvis with a new proposal and forward with
               comments to Messrs. Walker and Burr (.1)

08-09-2006     S. Freeman                                                             0.7            357.00
               Read on Silverpoint offer (.3); return call from S. Kahn of
               Silverpoint (.2); evaluate response with R. Charles (.2)

08-14-2006     S. Freeman                                                             0.2            102.00
               Emails regarding participating in meeting re asset sales (.1);
               Telephone from M. Levinson regarding same (.1)

08-14-2006     R. Charles                                                             0.2                77.00
               Telephone call from representatives of Silverpoint on meeting
               and offer (.1); read memo from Mr. S. Khan and correspond to
               arrange meeting (.1

08-15-2006     S. Freeman                                                             2.6          1,326.00
               Read emails regarding sale issues bid analysis (.2); conference
               call UCC, Diversified Silverpoint (.3); Conference call with
               Diversified professionals to evaluate offers (.4); Conference
               call with Diversified committee regarding pending issues (1.0);
               Second call regarding same (.7)

08-15-2006     R. Charles                                                             0.3            115.50
               Telephone call from Mr. T. Hansen on possible interest in
               assets (.1); read memo from Ms. A. Jarvis on dissemination of
               term sheets (.1); read memo from Mr. Hansen and forward to
               Mr. B. Fasel and Mr. J. Reed of Mesirow (.1)

08-16-2006     R. Charles                                                             0.1                38.50
               Work with Mr. D. Cooney for buyer on offer

08-16-2006     R. Charles                                                             0.2                77.00
               Telephone call from Mr. M. Bloom for Racebrook

08-18-2006     R. Charles                                                             0.4            154.00
               Return call to Mr. M. Bloom for potential buyer on offer and
               access to IP issues (.3); draft memo to Mr. M. Bloom on
               balance sheet (.1)
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08-21-2006     S. Freeman                                                            0.1                51.00
               Review revised asset list for potential sale

08-21-2006     R. Charles                                                            0.3            115.50
               Draft memo to committee counsel, Debtors and Mesirow on
               USACM assets for sale after revising same (.2); read memo
               from Mr. T. Burr with revision (.1)

08-22-2006     S. Freeman                                                            0.4            204.00
               Read several e-mails re sale issues for committee, and
               valuation of assets for sale and respond (.3); review new bid
               proposal (.1)

08-22-2006     R. Charles                                                            1.6            616.00
               Follow up with Mr. D. Cooney of buyer 2 and Mr. M. Bloom
               for buyer 1 on sale issues (.2) ; read memos from Mr. B. Fasel,
               Mr. Bloom and Mr. Cooney on sale process (.2); read memo
               from Mr. Cooney and forward to Mr. Fasel for detail requested
               (.1); work with Mr. Burr on leads on competitors to purchase
               loan servicing business (.1); read memo from Ms. E. Karasik
               on pricing for servicing business (.1); skim buyer 4's offer to
               purchase (.1); work with Mr. D. Walker on valuation of the
               servicing business after reading his memo (.2); telephone call
               from Mr. Burr on same (.1); work on valuation analysis
               requested by Ms. Karasik and draft memo to Ms. Karasik with
               value of servicing rights (.7); work with Mr. Burr on pricing
               arguments (.1)

08-23-2006     R. Charles                                                            0.4            154.00
               Telephone call from Mr. T. Burr on follow up to Mesirow
               meetings on sale and related issues (.3); read revised balance
               sheet from Mr. Burr and recommend its use in sale negotiations
               (.1)

08-24-2006     R. Charles                                                            0.2                77.00
               Work on asset information for potential buyers (.1); read new
               Racebrook offer (.1)

08-25-2006     R. Charles                                                            0.2                77.00
               Read memo from Mr. D. Cooley of buyer 2 on adjustments to
               assets for purposes of offer (.1); read memo from Ms. E.
               Karasik on servicing fee; read memo from Mr. T. Burr on
               Racebrook offer (.1); note receipt of Silver point offer
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08-28-2006     S. Freeman                                                             0.3            153.00
               Review draft communication to potential buyer and mark my
               concerns for Mr. R. Charles

08-28-2006     S. Freeman                                                             0.9            459.00
               Review bid summary by T. Burr (.1); conference call with A.
               Jarvis, T. Allison, R. Charles DTF committee re sale and plan
               issues (.8)

08-28-2006     R. Charles                                                             1.5            577.50
               Re-read Buyer 2 offer (.1); read memo from Mr. D. Cooney on
               servicing offer (.1); work on memo analyzing the buyer 1 offer
               (.7); analyze the assets of USACM as to the offer and questions
               (.1); work with Mr. T. Burr and Ms. S. Freeman on response to
               buyer 1 and revise memo on the buyer 1 offer and forward to
               committees and debtors (.3); read memo from Ms. C. Pajak and
               read proposed revisions to Racebrook term sheet by FTDF
               Committee counsel (.2)

08-29-2006     S. Freeman                                                             1.1            561.00
               Conference call with professionals for debtor and committees
               re sale issues (left early for hearing) (.9); respond to T. Burr e-
               mail re negotiations for committee on sale (.1); e-mails from
               M. Bloom and to and from R. Charles and T. Burr re sale
               negotiation (.1)

08-29-2006     R. Charles                                                             3.2          1,232.00
               Read memo from Mr. T. Burr and read memo from Ms. S.
               Freeman on sale and pricing issues (.1); read memo from Mr.
               M. Bloom and work with Mr. T. Burr and Ms. S. Freeman on
               meeting with buyer (.1); conference call with Mr. M. Bloom,
               Mr. J. Cuticelli, Mr. M. Rabinowitz, and Mr. T. Burr on
               negotiating the buyer offer (1.2); draft memo to Mr. Cuticelli
               on USA Securities insurance policy (.1) ; telephone to Mr. T.
               Burr on buyer issues (.2) and draft memo to Mr. M. Bloom on
               counter to buyer offer (.3); draft memo to Mr. D. Cooley on
               response to buyer 2 offer (.3) ; return call to Mr. S. Kahn, Mr.
               D. Cooney, Mr. J. McCarroll of Silver Point (1.0) ; read memo
               from Mr. D. Monson on order concerning ordinary course
               releases (.1)

08-30-2006     S. Freeman                                                             0.1                51.00
               Read e-mail exchanges between prospective purchaser and Mr.
               R. Charles re sale issue
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08-30-2006     S. Freeman                                                          1.5            765.00
               Review T. Burr schedule re sale (.1); participate in committee
               meeting re sale (1.4)

08-30-2006     S. Freeman                                                          0.5            255.00
               Review new purchase offer and analysis to committee (.3);
               read e-mails from financial advisors to committees re issues in
               offer (.2)

08-30-2006     R. Charles                                                          0.9            346.50
               Telephone call from Mr. S. Kahn for buyer 2 (.1); read memo
               from Mr. T. Burr to Mr. D. Cooley for buyer 2 on valuation
               argument (.1); telephone call from Mr. S. Kahn and Mr. C.
               Fortgang on buyer 2 issues (.2); analyze amended buyer 2 offer
               (.2) ; read memo from Mr. M. Tucker and word on bidder 2
               offer issues (.3)

08-31-2006     S. Freeman                                                          1.2            612.00
               Evaluate response from proposed bidder to sale issues with Mr.
               T. Burr (.5); calls to and from Mr. R. Charles re getting
               committee quorum to evaluate sale response (.2); call to Mr. R.
               Charles, Mr. D. Walker with Mr. T. Burr re prospective buyer
               (.3); call with Mr. T. Burr and prospective buyer re sale issues
               (.2)

08-31-2006     R. Charles                                                          2.2            847.00
               Meeting with Mr. D. Walker, Ms. S. Freeman and Mr. T. Burr
               on alternatives concerning a counter offer to buyer 2 and issues
               on buyer 1 (.4); prepare for and meet with Mr. L. Rieger and
               Mr. D. Walker on sale issues and potential counter offer (1.3);
               work after call with Mr. Walker on sale and plan issues (.4);
               draft memo to subcommittee on sale alternative (.1)

08-31-2006     R. Charles                                                          0.8            308.00
               Read memo from Mr. M. Tucker on exit fees and related issues
               (.1); read memo from Mr. T. Allison on sale issues (.1); work
               on analysis and counter to buyer 2 offer before and after
               conferences with clients (.6)

09-01-2006     S. Freeman                                                          0.1                51.00
               Review proposed buyer's revised offer

09-01-2006     S. Freeman                                                          2.1          1,071.00
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               Review e-mail from Mr. R. Charles to debtor and other
               committees re UCC position in proposed sale (1.1); telephone
               from Mr. R. Charles re proposed buyer's reply to our response
               and follow-up (.2); participate in committee meeting re
               alternative sale (.8)

09-01-2006     R. Charles                                                           2.9          1,116.50
               Work on memo to Mr. T. Allison and Mr. B. Fasel on rejection
               of buyer 2 offer as amended after reading amended offer and
               working through it with the subcommittee (.4); work with Mr.
               T. Allison, Mr. B. Fasel, Mr. T. Burr on sale issues (.4); read
               memo from Mr. S. Kahn and Mr. D. Cooley re Silver Point
               offer (.1); read memo from Ms. C. Pajak with communications
               with Silver Point (.1); call to Mr. F. Merola on same; telephone
               to Mr. T. Burr on the Silver Point call (.1); work with Stutman
               and Alvarez on Silver Point (.4); work on outline for buyer 2
               transaction (.5); read memo from and telephone call from Mr.
               M. Bloom on Racebrook offer (.1); return call to Mr. F. Merola
               re sale issue (.1); work with Mr. M. Levinson and Mr. M.
               Tucker on issues raised by buyer 2 offer on servicing rights
               (.6); draft memo to Mr. S. Kahn re Silver Point and UCC (.1)

09-02-2006     R. Charles                                                           2.2            847.00
               Work on term sheet for buyer 2 purchase of servicing rights
               and exhibit on additional Diversified loans for servicing (1.8);
               draft memo to Mr. S. Kahn re same (.1) read memo from Mr.
               S. Kahn re same (.1); read memo from Ms. A. Jarvis re sale
               issue (.1); read memo from Mr. M. Levinson re sale issue and
               prepare and circulate redline (.1)

09-03-2006     S. Freeman                                                           1.2            612.00
               Review e-mails from Mr. R. Charles re proposal to potential
               buyer on servicing rights and draft agreement mark up (.8);
               review e-mails from potential bidder, counsel for Diversified,
               counsel for Direct Lenders' committee, counsel for debtor (.3);
               read and respond to several e-mails re scheduling meetings to
               discuss sale proposals (.1)

09-03-2006     R. Charles                                                           0.5            192.50
               Read memo from Mr. T. Burr re sale (.1); read memo from Mr.
               G. Gordon re sale issue (.1); read memo from Mr. M. Levinson
               on sale issues; telephone call from Mr. S. Kahn and read memo
               from Mr. Kahn re Silver Point (.1) and correspond on meeting
               with buyer (.1); read memo from Ms. A. Jarvis re sale issue (.1)

09-04-2006     S. Freeman                                                           5.0          2,550.00
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               Analyze sale term sheet issues with Mr. R. Charles (.3);
               conference call with Mr. R. Charles, Mr. T. Burr, M. Thacker,
               M. Levinson re sale issues (.6); conference call with same and
               debtor FTDF and direct lender representatives added (1.1); e-
               mail from E. Karasik re FTDF response to term sheet (.1);
               study revised draft mark-ups of term sheet (.5); conference call
               to discuss with R. Charles and M. Levinson (.9); revise further
               and redline changes (.9); review R. Charles e-mail re mark-up
               (.1); send e-mail to all parties re differences and making further
               revisions (.1); review T. Biar e-mail with changes to draft and
               respond (.1); revise draft, redline and send to all (.3)

09-04-2006     R. Charles                                                           4.9          1,886.50
               Analyze Silver Point draft, and redline (.4); analyze
               information from Mr. T. Burr on fees and read memo from Mr.
               Burr on pricing (.3); draft memo to Mr. S. Kahn on follow up
               (.1); read memo from Mr. Kahn re same (.1); draft memo to
               Committees and Debtors on process (.1); work with Ms. S.
               Freeman on issues in buyer 2 draft (.2); conference call with
               counsel and financial advisers for Diversified Fund and UCC
               (.6); conference call with representatives of all Debtors,
               Committee and financial advisers on buyer 2 offer (1.1); read
               memo from Mr. Kahn on timing (.1); work on terms sheet on
               buyer 2 draft (.5); work with Mr. Levinson and Ms. Freeman
               on redraft of buyer 2 term sheet, and read memo from Ms. C.
               Pajak on same (.9); work on term sheet and redline (.3) and
               draft memo to counsel and FAs on redraft (.1); read memo
               from Ms. A. Jarvis on sale issues (.1); read memo from Mr. T.
               Burr on list of loans to be serviced (.1)

09-05-2006     S. Freeman                                                           1.9            969.00
               Review FTDF marked changes to term sheet and e-mail
               suggested additions (.2); participate in joint committee-debtor
               meeting re sale term sheet (1.5); e-mails from T. Burr re loan
               payoff issues for sale analysis (.2)

09-05-2006     R. Charles                                                           1.3            500.50
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               Read memo from Ms. C. Pajak with FDTF comments on buyer
               2 term sheet (.2); work with Mr. T. Burr and Mr. M. Levinson
               on Diversified loans for servicing (.1); read memo from Ms. A.
               Jarvis via Mr. S. Strong with debtors' comments on term sheet
               (.2); read memo from Mr. G. Garman with Direct Lenders'
               Committee's comments on term sheet (.2); read memo from
               Ms. A. Jarvis on buyer 2 negotiations (.1); draft memo to Ms.
               Jarvis with preliminary comments on draft (.2); read memo
               from Mr. E. Karasik on break up fee (.1) ; work on analysis of
               alternatives to transfer of servicing rights (.1) and follow up on
               meeting with Mr. Burr, Mr. Walker, Ms. Nounna and Mr.
               Allison on alternatives (.3)

09-06-2006     S. Freeman                                                            2.3          1,173.00
               Read e-mails and attachments re new draft of sale term sheet
               and changes from A. Jarvis, E. Karasik, M. Levinson, R.
               Charles (.5); review next draft of term sheet (.2); read e-mails
               from R. Charles, D. Walker, A. Jarvis re sale issues and call
               (.2); participate in call with debtor and committee professionals
               and in part, potential buyer, re term sheet issues (1.3); return
               call to committee chair re sale meeting (message re same) (.1)

09-06-2006     S. Freeman                                                            4.2          2,142.00
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               Read e-mail from F. Merola re term sheet and forward to
               committee chair, M. Levinson, T. Burr (.1); telephone to T.
               Burr re follow-up for information re sale issue (.2); telephone
               to R. Charles re same and re drafting issue (.2); telephone to M.
               Levinson re proposal for term sheet issue (.2); telephone to A.
               Jarvis (message re same) (.1); e-mail to A. Jarvis re proposal
               (.1); discuss meeting between T. Burr, D. Walker and Mesirow
               and findings with D. Walker and R. Charles, and impact on
               sale (.7); telephone to A. Jarvis re sale issues and options (.3);
               telephone to M. Levinson (message re same) (.1); discuss
               analysis with R. Charles (.1); return M. Levinson call re
               proposal and analysis (.2); read T. Burr e-mail re loan payoff
               analysis (.1); respond re concerns with proposed option (.1);
               telephone to A. Jarvis re handling drafting point (.1); search for
               draft language, and call her re same (.3); read T. Burr e-mail re
               default interest computation (.1); draft response to F. Merola re
               same (.1); read e-mail exchange between R. Charles and E.
               Karasik re same and respond to R. Charles re alternative
               language (.1); e-mail to FTDF re allocation issue (.1); read
               response from E. Karasik and reply (.1); reply to further
               response (.1); review new draft of term sheet and note language
               points (.2); mark changes and send back to all with cover notes
               (.2); e-mail to D. Walker and T. Burr re same and e-mail to
               them from E. Karasik re allocation issue and respond (.1);
               second e-mail exchange re same (.1)

09-06-2006     R. Charles                                                           3.8          1,463.00
               Read memo from Ms. A. Jarvis with redraft and read draft and
               redline (.2); read memo from Ms. E. Karasik with changes (.2);
               read memo from Ms. C. Pajak with changes as well (.2); read
               memo from Mr. M. Levinson on changes (.1); work on changes
               to the post-closing entitlements language and forward to
               counsel (.2); telephone call from Mr. M. Bloom and analyze
               the buyer 1 revised offer (.1); work with Mr. T. Allison on
               response to Racebrook (.1); work with Ms. Karasik on change
               (.1); telephone call from Mr. B. Fasel re sale issue (.1); return
               call to Mr. M. Bloom re sale issue (.2); read memo from Mr. S.
               Strong and work on meeting with buyer 2 and counsel (.1);
               read memo from Ms. A. Jarvis on meeting (.1); prepare for and
               participate in meeting with Committees and Debtors
               professionals (.5) and then also with buyer 2 representatives
               (.9); telephone call from Mr. T. Burr on Mesirow information
               (.1); discussions with Mr. D. Walker and Ms. S. Freeman on
               sale issues (.7); read and respond to memo from Mr. Merola re
               sale issue (.1); work with Ms. Freeman on approach to FTDF
               (.1)
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09-07-2006     S. Freeman                                                           0.1                51.00
               Respond to T. Burr e-mail re sale issues

09-07-2006     S. Freeman                                                           0.3            153.00
               E-mail to debtor and committee professionals re committee's
               sale decision (.1); read Mr. R. Charles e-mail to C. Karasik re
               proceeds allocation (.1); e-mail to T. Burr re follow-up on
               carve-outs of transactions (.1)

09-07-2006     S. Freeman                                                           0.3            153.00
               Read e-mails and attached language changes to sale agreement
               from M. Levinson, T. Burr, S. Strong, G&S (.2); respond to e-
               mails re participation in call to discuss sale (.1)

09-07-2006     R. Charles                                                           0.8            308.00
               Read revised draft agreement terms (.3); negotiate with Ms. E.
               Karasik and identify strategies for Ms. S. Freeman (.2); analyze
               Ms. Jarvis' redraft (.2); read memo from Mr. S. Strong on
               follow up to Silver Point (.1)

09-08-2006     S. Freeman                                                           1.7            867.00
               Read e-mail from T. Burr re sale exhibits (.1); read e-mail from
               A. Jarvis re revised term sheet from prospective purchases and
               notice to purchaser of exceptions (.1); read e-mail from A.
               Jarvis re buyer letter on carve-out (.1); e-mail from S. Strong re
               redline of changes (.1); read R. Charles e-mail to committee re
               call with other professionals re term sheet issues (.1); e-mail
               from Ms. B. Higgins re direct lender changes to term sheet (.1);
               e-mails from A. Jarvis, C. Pajak re term sheet changes (.1);
               discuss strategy issues with R. Charles (.2); read R. Charles e-
               mail to committee re sale issues (.1); read e-mails from A.
               Jarvis re additional changes from prospective buyer, exhibits to
               term sheet (.1); read e-mails from G. Garman re revised
               language, and discuss with him (.2); read e-mail from R.
               Charles re discussions with Diversified professionals re sale
               (.1); read e-mails from T. Burr and A. Jarvis re exhibits issue
               (.1); read e-mails from C. Pajak, A. Jarvis re bidding
               procedures and discuss with R. Charles (.1)

09-08-2006     R. Charles                                                           5.2          2,002.00
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               Read memo from Ms. A. Jarvis and buyer 2's redraft of the
               letter of intent (.3) and briefly discuss issues with Ms. S.
               Freeman (.2); read memo from and work with Mr. T. Burr on
               list of exhibit B loans to be serviced and those to be retained
               (.2); prepare for and participate in call on offer (2.0); work with
               Mr. D. Walker on sale issues (.1); work with Ms. E. Karasik on
               issues in the draft, read memo from Ms. Karasik and draft
               memo to Ms. Karasik on proposal (.2); draft memo to Mr.
               Walker, Ms. Freeman, Mr. Burr and Mr. Levinson on proposal
               (.1); work with Mr. Kvarda on buyer 2 offer on default interest
               accrued (.1); work with Ms. Freeman on negotiations and
               committee follow up on sale issues (.2); return call to Mr. M.
               Levinson and Mr. J. Herman (.9); draft memo to committees
               and debtors on sale issues and distribution language (.2); read
               language proposed by buyer 2 (.1); read language proposed by
               FTDF (.1); read and respond to memo from Ms. A. Jarvis on
               drafting (.2); discuss issues with Ms. Freeman (.1) and Mr. G.
               Garman (.1); work with Mr. T. Burr on list of loans included in
               the proposal for transfer (.1)

09-10-2006     R. Charles                                                            0.3            115.50
               Read memo from Ms. E. Karasik; read memo from Ms. A.
               Jarvis (.1); work on Silver Point redraft (.2)

09-11-2006     S. Freeman                                                            0.4            204.00
               Read e-mail from A. Jarvis re revised term sheet and
               explanation (.1); read e-mail from C. Pajak re changes to her
               draft (.1); read e-mail from M. Levinson with additional
               changes (.1); e-mails from B. and M. Tucker re sale exhibits
               (.1)

09-11-2006     R. Charles                                                            1.2            462.00
               Analyze revised Silver Point proposed language (.1); prepare
               for and participate in call on sale negotiations with all debtors
               and committees (.9); work on revised language (.2)

09-12-2006     S. Freeman                                                            0.5            255.00
               Review revised sale term sheet and note concerns with changes
               (0.2); discuss concerns with sale term sheet and plan term sheet
               with R. Charles and add M. Sevrison to call (0.3)

09-12-2006     R. Charles                                                            1.0            385.00
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               Read amended term sheet from buyer 2 (.2); read memo from
               Ms. E. Karasik; read memo from and call to Ms. A. Jarvis re
               sale issues (.1) ; work with Ms. S. Freeman, then also Mr. M.
               Levinson, then also Mr. M. Tucker on the LOI by buyer 2 (.4);
               then participate in all committees and debtors call (.4)

09-13-2006     S. Freeman                                                          0.1                51.00
               Read e-mails from T. Fasel and T. Burr re bidding procedures

09-15-2006     S. Freeman                                                          0.5            255.00
               Read 2 e-mails from Mr. T. Burr re sale (.2); read e-mail from
               M. Tucker (.1); re sale process issues and marketing (.1); read
               Mr. T. Burr e-mail re due diligence logs and confidentiality (.1)

09-16-2006     R. Charles                                                          0.3            115.50
               Read memo from Ms. E. Monson and proposed bid procedures
               (.2); draft memo to all committees and debtors on suggestions
               (.1)

09-16-2006     R. Charles                                                          0.3            115.50
               Work on memo to Ms. J. Chubb and Mr. R. LePome on
               working on the issues concerning transfer of loan servicing in
               the Silver Point letter of intent (.3)

09-17-2006     S. Freeman                                                          0.2            102.00
               Review bidding procedures draft from debtors and e-mail my
               comments and suggestions to Mr. R. Charles to compile with
               other committee changes

09-18-2006     R. Charles                                                          0.3            115.50
               Work with Mr. T. Morgan on drafting the asset purchase
               agreement (.2); read memo from Ms. C. Pajak with comments
               on bid procedures and process (.1)

09-19-2006     S. Freeman                                                          0.2            102.00
               Read two E. Karasik memos and S. Burr memo on bidding
               procedures (.1); read proposed amendment to Silver Point
               contract provision and e-mail my response (.1)

09-19-2006     R. Charles                                                          0.2                77.00
               Read memo from Mr. T. Burr on bid procedures (.1); read
               memo from Ms. C. Pajak and markup of bid procedures (.1)

09-20-2006     S. Freeman                                                          0.1                51.00
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               Read e-mails from A. Jarvis, R. Charles, C. Pajak on buyer
               MAC clause

09-20-2006     S. Freeman                                                         0.1                51.00
               Read C. Pajak and A. Jarvis e-mails re MAC clause language

09-20-2006     R. Charles                                                         0.4            154.00
               Read correspondence and drafts on bid procedures (.1) and
               Silver Point condition for Material Adverse Change (.1); call
               from Mr. A. Leavitt, a potential buyer, and draft memo to Mr.
               B. Fasel on inquiry (.2)

09-21-2006     S. Freeman                                                         0.1                51.00
               Read e-mails from A. Jarvis, M. Levinson, G. Gaiman re
               bidding procedures

09-21-2006     S. Freeman                                                         0.3            153.00
               Read C. Pajak and M. Levinson and S. Garman e-mails re bid
               and sale procedures issues (.1); read A. Jarvis mark-up of MAC
               and auction language (.1); read R. Charles e-mail on bid
               procedures (.1)

09-21-2006     R. Charles                                                         1.0            385.00
               Read memo from Mr. M. Levinson, Mr. G. Garman and Ms. C.
               Pajak on bidding procedures and committees' involvement (.2);
               draft memo to counsel on issues raised (.1); read memo from
               Mr. Levinson, work with Ms. Freeman on and respond on the
               procedural issues raised (.2); read memo from Mr. S. Strong
               and read bid procedures motion (.4); read memos from
               Debtors, Diversified and Direct Lenders with final resolution of
               issues on bid procedures (.1)

09-22-2006     S. Freeman                                                         0.1                51.00
               Read e-mails from Mr. G. Garman, Ms. A. Jarvis, Mr. R.
               Charles, Ms. E. Monson re bidding procedures

09-22-2006     R. Charles                                                         1.6            616.00
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               Read memo from Mr. J. McCarroll on bid procedures language
               (.1); work on bid procedures motion with input from Ms. C.
               Pajak and Ms. E. Monson (.1); meeting via call with Mr. R.
               LePome, Ms. J. Chubb and Mr. G. Garman on transfer of
               servicing assets in the sale, their questions and concerns,
               including about a plan (.9); read memo from Ms. E. Monson
               with revised bid procedures (.1); read memo from Ms. C. Pajak
               on change to bid procedures (.1); read memo from Ms. Monson
               on additional changes to bid procedures (.1); telephone call
               from Mr. D. Ruben, a party interested in either bidding on
               FTDF assets, the servicing rights, or both (.5); work with Ms.
               E. Karasik, Mr. M. Levinson, Ms. A. Jarvis and Mr. G. Garman
               on input into the selection of highest bidder (.1)

09-25-2006     R. Charles                                                            0.6            231.00
               Telephone call from Ms. J. Chubb on plan and sale issues (.4);
               draft memo to Mr. T. Morgan on asset purchase agreement (.2)

09-27-2006     R. Charles                                                            0.1                38.50
               Work on memo on asset purchase agreement

10-01-2006     R. Charles                                                            0.1                38.50
               Read order expediting hearing on sale procedures (.1)

10-03-2006     S. Brown                                                              0.8            256.00
               Review terms of sale and auction and notice re same

10-04-2006     M. Schoenike                                                          0.2                36.00
               Review various e-mails re proceeds of sale, preliminary title
               commitment, and real estate commissions

10-06-2006     S. Freeman                                                            0.1                51.00
               Read e-mails from D. Walker and R. Charles re sale issues and
               meeting with prospective bidder

10-06-2006     R. Charles                                                            0.6            231.00
               Read memo from Ms. A. Jarvis on asset purchase agreement
               (.1); draft memo to counsel on drafting project (.1); read memo
               from Mr. F. Merola on Ms. D. Cica (.1); read memo from Ms.
               D. Cica; Read letter from Capital Crossing Bank and note its
               qualification package (.1)

10-06-2006     T. Morgan                                                             0.2                80.00
               Review e-mail from Mr. Charles and respond to same re APA
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10-09-2006     S. Freeman                                                         0.1                51.00
               Review C. Pajak revised sale timeline

10-09-2006     R. Charles                                                         0.7            269.50
               Work on meeting with Capital Crossing Bank (.1); read memo
               from Mr. B. Fasel (.1); read memo from Ms. C. Pajak with
               timeline (.1); work on asset purchase agreement from buyer
               (.2); work with Mr. T. Morgan on asset purchase agreement
               (.2)

10-09-2006     R. Charles                                                         0.3            115.50
               Work with Mr. D. Walker on Silver Point issues

10-09-2006     T. Morgan                                                          1.3            520.00
               Review purchase agreement

10-10-2006     S. Freeman                                                         0.1                51.00
               Read T. Burr e-mail re Silver Point draft

10-10-2006     R. Charles                                                         1.0            385.00
               Draft memo to and draft memo to Mr. T. Morgan on call on
               APA (.1); work with Mr. Morgan on issues after email to
               committees and debtors' counsel (.1); prepare for call on sale
               issues and participate in call (.4); read memo from Mr. D.
               Walker and respond on asset purchase agreement (.1); read
               memo from Mr. T. Burr on APA issues (.1); draft memo to Mr.
               T. Morgan on additional issues (.2); work with Mr. Morgan on
               sale issues (.1)

10-10-2006     T. Morgan                                                          2.4            960.00
               Telephone conference with Mr. Charles re APA (.2); telephone
               conference with working group to discuss comments to asset
               purchase agreement (1.0); review comments from creditor
               committee group (.3); review revised asset purchase agreement
               (.5); assemble comments to forward to Ms. Jarvis (.4)

10-11-2006     R. Charles                                                         3.2          1,232.00
               Analyze redraft of the asset purchase agreement from Ms. A.
               Jarvis (.5); prepare for and meet with Capital Crossing Bank at
               USA Capital offices (2.0) and before and after discuss issues
               with Mr. B. Fasel (re sale) and Mr. D. Walker and Mr. T. Burr
               (re USAIP) (.4); draft memo to Mr. T. Morgan on issues in
               asset purchase agreement (.3)

10-11-2006     T. Morgan                                                          1.2            480.00
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               Telephone conference with Mr. Charles re APA (.1); review
               additional comments (.1); draft email to forward comments to
               Ms. Jarvis (.1); review and respond to email from Ms. Jarvis
               (.3); review revisions to asset purchase agreement (.4); review
               and respond to additional email from Ms. Jarvis (.2)

10-12-2006     R. Charles                                                           1.4            539.00
               Read term sheet on sale revision (.2); read memos on Silver
               Point meeting (.1) and concerns (.1); call with committees' and
               debtors' professionals on sale issues (.7); conference with Mr.
               G. Gordon on critical Silver Point issues (.2); work on meeting
               with Compass Partners (.1)

10-12-2006     T. Morgan                                                            1.1            440.00
               Review asset purchase agreement

10-13-2006     R. Charles                                                           0.3            115.50
               Work with Mr. B. Fasel on sale meeting with potential buyer
               (.1); negotiate with Ms. E. Karasik and Mr. M. Kvarda on
               break up fee and overbid allocation (.2)

10-13-2006     T. Morgan                                                            0.8            320.00
               Review various e-mails and current version of asset purchase
               agreement

10-16-2006     R. Charles                                                           0.4            154.00
               Read memo from Ms. A. Jarvis on negotiations with buyer (.1);
               read memo from Ms. A. Jarvis and read memo from Mr. J.
               Gordon on position on the bid procedures motion (.1); read
               memo from Mr. Jarvis with mark up of Asset Purchase
               Agreement; work with Mr. T. Morgan on committee meeting
               (.1); smith markup of the APA from Ms. Jarvis and Siver Point
               (.1)

10-16-2006     T. Morgan                                                            4.2          1,680.00
               Review revised asset purchase agreement (1.0); conference call
               with working group to discuss asset purchase agreement (1.3);
               review of additional changes to asset purchase agreement (.8);
               additional conference call to discuss asset purchase agreement
               (.5); review revised purchase agreement (.6)

10-17-2006     S. Freeman                                                           0.3            153.00
               Review draft reply re bid procedures objections for discussion
               at meeting (.2); review revision re notices on bidding
               procedures (.1)
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10-17-2006     S. Freeman                                                          0.1                51.00
               Read e-mail exchange between debtors and committees
               professionals re support for sale

10-17-2006     R. Charles                                                          0.1                38.50
               Read memo from Ms. E. Monson and Ms. C. Pajak on bid
               procedures and related issues (.1)

10-17-2006     T. Morgan                                                           0.8            320.00
               Review various e-mails re sale issues (.2); review revised bid
               procedures and notice (.4); review additional e-mails related to
               bid procedures (.2)

10-18-2006     S. Freeman                                                          0.1                51.00
               Read e-mails of committee members re sale issues

10-18-2006     R. Charles                                                          0.9            346.50
               Read draft reply from debtors in support of bid procedures (.1);
               and draft joinder by the Committee (.1); work on asset
               purchase agreement with changes suggested by Debtors,
               address notice and cross-reference to loan service agreements
               (.3); call from Ms. C. Pajak and draft memo to Mr. T. Morgan
               on sale (.1); work with Mr. Morgan on asset purchase
               agreement issues (.2) and call with counsel for Debtors and
               FTDF (.1)

10-18-2006     T. Morgan                                                           2.6          1,040.00
               Review revised asset purchase agreement (.6); participate in
               conference call (1.0); telephone conference with Mr. Charles re
               APA (.2); participate in additional conference call (.8)

10-18-2006     M. Schoenike                                                        0.2                36.00
               Review, file, docket, serve reply in support of scheduling
               auction sale, appointing SPCP, lead bidder and approving bid
               procedures

10-19-2006     R. Charles                                                          0.6            231.00
               Prepare for hearing on motion to authorize sale and bid
               procedures by analyzing motion, declaration, bid procedures,
               Capital Crossing response and JV Lenders joinder, reply, Mr.
               T. Allison's declaration and replies by the committees, limited
               opposition by Binford as borrower (.5); read memo from Mr. S.
               Strong and read memo from Mr. T. Morgan on asset purchase
               agreement and exhibits (.1)
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10-19-2006     T. Morgan                                                             1.2            480.00
               Review final agreement (1.0); telephone conference with Mr.
               Charles re same (.2)

10-20-2006     R. Charles                                                            0.4            154.00
               Read memo from Mr. T. Morgan with Asset Purchase
               Agreement and schedules (.1); work with Mr. T. Burr on the
               meeting with a buyer on Monday and on plan issues (.3)

10-23-2006     S. Freeman                                                            0.1                51.00
               Read draft bid procedures order and e-mails re same

10-23-2006     R. Charles                                                            1.9            731.50
               Work with Mr. B. Fasel on meeting with potential buyer (.1);
               work with Ms. S. Freeman on same (.1); work on proposed
               order for approval of bid procedures and setting auction and
               draft memo to interested counsel after reading drafts from
               Debtors and Silver Point (.5); work with Ms. A. Jarvis on
               points for a reply declaration in support of the sale motion (.2);
               call from the three representatives of Compass Partners, Mr. T.
               Burr and Mr. D. Walker on potential sale investigation (1.0);
               read Direct Lenders' reply in support of bid motion (.1)

10-23-2006     T. Morgan                                                             0.6            240.00
               Review exhibits to declaration; review various e-mails related
               to exhibits

10-24-2006     S. Freeman                                                            0.1                51.00
               Review FTDF redraft of bid procedures order

10-24-2006     S. Freeman                                                            0.1                51.00
               Read e-mails from S. Strong, F. Merola and R. Charles re
               bidding procedures order changes

10-24-2006     R. Charles                                                            0.3            115.50
               Read memo from Ms. C. Pajak on revision to sale order (.1);
               read memo from Mr. S. Strong on further revisions (.1) ; read
               statement of position by Mr. LePome in support of the
               proposed sale (.1); read declarations of Mr. M. Tucker and Mr.
               M. Kvarda in support of the proposed sale (.1)

10-25-2006     R. Charles                                                            0.3            115.50
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               Work on USAIP issues with Ms. A. Jarvis (.1); read memo
               from Mr. T. Burr on loan assets (.1); telephone call from Ms.
               A. Hanson for USA Real Estate on deposition (.1)

10-25-2006     R. Charles                                                            6.3          2,425.50
               Prepare for and attend continued hearing on sale issues and on
               employee retention program

10-26-2006     R. Charles                                                            0.9            346.50
               Read revisions to the asset purchase agreement and redline,
               briefly participate in call with Ms. C. Pajak for FTDF, Ms. A.
               Jarvis for Debtors, and counsel for Silver Point (.5); read memo
               from Ms. C. Pajak and work on the asset purchase agreement
               (.3); read memos from Ms. Pajak and Silver Point counsel on
               APA (.1)

10-26-2006     T. Morgan                                                             0.5            200.00
               Review various e-mails; brief review of revised amended and
               restated asset purchase agreement

10-27-2006     R. Charles                                                            0.2                77.00
               Read memo from Mr. S. Strong and approve revision to bid
               procedures (.1); read memo from Ms. A. Jarvis on APA (.1)

10-31-2006     S. Freeman                                                            0.1                51.00
               Read Mr. R. Charles and Mr. D. Walker e-mails re sale amount
               issue

10-31-2006     R. Charles                                                            0.1                38.50
               Read notice of filing the asset purchase agreement and exhibits

11-01-2006     R. Charles                                                            0.1                38.50
               Read memo from Mr. S. Strong and Mr. L. Schwartzer on
               telephonic hearing on asset purchase agreement

11-02-2006     S. Freeman                                                            0.1                51.00
               Read S. Strong e-mail re APA terms

11-02-2006     R. Charles                                                            0.3            115.50
               Read memo from Mr. Ira J. Perlmuter on interest in bidding
               (.1) ; return call to Mr. G. Eisenberg on interest of potential
               bidder (.1); read memo from Mr. Eisenberg and forward to Mr.
               Fasel (.1)

11-03-2006     S. Freeman                                                            0.1                51.00
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               Read Mr. R. Charles notes on hearing re sale APA issues

11-03-2006     R. Charles                                                               0.9            346.50
               Prepare for and participate in call as to the sale and the Asset
               Purchase Agreement (.7) ; read memo from Ms. C. Pajak,
               review revised Asset Purchase Agreement; draft memo to
               counsel on same (.2) ; read memo from Mr. S. Strong on the
               APA (.1)

11-06-2006     R. Charles                                                               0.1                38.50
               Read memo from Ms. A. Jarvis on language for the asset
               purchase agreement on insider (.1)

11-08-2006     R. Charles                                                               0.1                38.50
               Read memo from Mr. L. Schwartzer on entry of bid procedures
               order; draft memo to committee

11-09-2006     M. Schoenike                                                             0.8            144.00
               Review order scheduling auction, appointing lead bidder and
               approving bid procedures (.3); draft website report re auction
               (.3); update calendar (.2)

11-10-2006     S. Freeman                                                               0.1                51.00
               Read Racebrook revised offer and send e-mail to Mr. R.
               Charles re same

11-12-2006     S. Freeman                                                               0.1                51.00
               Read DTDF response to Racebrook

11-13-2006     R. Charles                                                               0.1                38.50
               Read memo from Mr. J. Reed on sale

11-14-2006     S. Freeman                                                               0.1                51.00
               Read A. Jarvis response to inquiry re Racebrook and R.
               Charles follow up (.1)

11-17-2006     R. Charles                                                               0.1                38.50
               Read notice of sale and note service

11-22-2006     S. Freeman                                                               0.1                51.00
               Read R. Charles, T. Burr e-mail exchanges re bidding
               procedures issue

11-22-2006     R. Charles                                                               0.3            115.50
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               Read memo from Mr. A. Parlen on proposal on sharing overbid
               and breakup fee (.1); work on overbid issue raised by Mr. T.
               Burr (.2)

11-28-2006     S. Freeman                                                           0.1                51.00
               Read qualifications from potential overbidder

11-28-2006     S. Freeman                                                           0.1                51.00
               Read R. Charles and A. Parlan e-mails re auction procedures
               order

11-28-2006     R. Charles                                                           0.1                38.50
               Note qualification of Consolidated Mortgage as a bidder

11-29-2006     R. Charles                                                           0.8            308.00
               Telephone call from Mr. D. Blatt for Compass Partners (.3);
               read memo from Ms. A. Jarvis on the loan servicing fee
               schedule (.1); telephone call from Mr. M. Wallace (.1); read
               correspondence between Mr. G. Garman and Ms. A. Jarvis on
               schedule (.1); return call to Mr. Blatt (.4)

11-30-2006     S. Freeman                                                           0.2            102.00
               Read e-mails from Mr. R. Charles re overbids, membership,
               APA (.1); read A. Jarvis analysis re SP right to overbid
               information (.1)

11-30-2006     R. Charles                                                           0.8            308.00
               Telephone to Ms. A. Jarvis on Compass issues; read memos
               from Mr. B. Fasel, Mr. T. Allison and Mr. T. Burr on issue
               raised by Compass (.1); review Asset Purchase Agreement and
               Bid Procedures and draft memo to Ms. A. Jarvis on issue raised
               by Compass (.3); read memo from Ms. Jarvis on same (.1);
               telephone call from Mr. D. Blatt on issues he raised (.1); read
               memo from Mr. J. Reid on pre-auction meeting (.1); read
               memo from Mr. Blatt and discuss with Mr. Morgan (.1); draft
               memo to Mr. Walker on analysis (.1); call from Mr. Blatt on
               offer (.1)

11-30-2006     T. Morgan                                                            0.2                80.00
               Telephone conference with Mr. Charles regarding competing
               bids and monitoring of same.

11-30-2006     J. Murphy                                                            0.5            100.00
               Discuss analysis of competing offers for debtors assets with
               Mr. Morgan (.3); review offer from Compass Partners (.2)
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12-01-2006     S. Freeman                                                            0.1                51.00
               Read e-mails from D. Walker, T. Burr and R. Charles and
               overbid allocation

12-01-2006     S. Freeman                                                            0.4            204.00
               Read R. Charles/T. Morgan e-mails on overbid stipulation and
               respond re my recollection (.1); read e-mail re Compass
               overbid with redline (.2); read A. Jarvis e-mail re Silver point
               demand on overbid (.1)

12-01-2006     S. Freeman                                                            0.1                51.00
               Read F. Merola e-mail and letter to Compass re sale

12-01-2006     R. Charles                                                            0.8            308.00
               Read memo from Ms. A. Jarvis on the sale issues (.1); read
               Silver Point motion on disclosure (.1); work with Mr. D.
               Walker on the overbid allocation issue (.1); return call to Mr.
               C. Karidis for Silver Point (.1); return call to Mr. D. Blatt re
               sale (.2); read letter from Mr. F. Merola re sale (.1); telephone
               call from counsel for Compass Partners on bid (.1); read sale
               correspondence (.1)

12-01-2006     J. Murphy                                                             1.1            220.00
               Review asset purchase paper work (.6); determine variables to
               compare with other bids (.5)

12-02-2006     S. Freeman                                                            0.1                51.00
               Read F. Merola letter to Compass re sale qualifications

12-02-2006     S. Freeman                                                            0.1                51.00
               Read Ms. A. Jarvis e-mail re S.P. leaks and sale issues and
               listen to Mr. R. Charles voice mail re same

12-02-2006     S. Freeman                                                            0.1                51.00
               Read new Ms. A. Jarvis and Mr. T. Burr e-mails re Compass
               bid

12-02-2006     R. Charles                                                            0.7            269.50
               Read memo from Ms. A. Jarvis on issues in Compass and
               Silver Point bids (.1); telephone call from Mr. S. Kahn for
               Silver Point (.4); telephone call from Ms. Jarvis and Mr. B.
               Faisel; telephone to Mr. T. Burr to follow up on issues (.2)

12-03-2006     S. Freeman                                                            0.2            102.00
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               Read e-mails from and to committee and debtor professionals
               re Compass bid issues and analysis and call to address

12-03-2006     R. Charles                                                            1.3            500.50
               Read memo from Mr. T. Burr on Compass offer (.1); read
               memo from Ms. A. Jarvis and work on meeting (.1); work on
               memo analyzing the Compass offer (.4); read memo from Ms.
               Jarvis on scheduling (.1); read memo from Ms. Jarvis on
               negotiations (.1); telephone call from Mr. S. Kahn and Mr. C.
               Karides for Silver Point (.3); telephone call from Ms. Jarvis on
               sale issues (.2)

12-04-2006     S. Freeman                                                            0.1                51.00
               Read R. Charles e-mail re Silver Point and Compass bids

12-04-2006     S. Freeman                                                            0.2            102.00
               Read Ms. Cangelosi limited objection to sale and draft reply,
               and send e-mail to Mr. R. Charles re same

12-04-2006     R. Charles                                                            1.6            616.00
               Read Ms. Cangelosi's limited opposition (.1) and draft response
               (.2); work on memo on conversations with Silver Point and
               Debtors (.1); telephone call from Compass Partners
               representative (.2); telephone to Mr. Burr on due diligence
               information needed (.1); work on reply on Cangelosi objection
               (.1); work on an analysis of the sale issues for additional assets,
               an analysis of what is being requested, and historic values, then
               include default interest and forward to Messrs. Burr and
               Walker for their input (.5); work with Mr. Burr on information
               needed for sale analysis (.2); read Debtors' opposition to Silver
               Point motion on disclosing bids (.1); telephone call from Mr.
               Blatt on sale idea (.1)

12-04-2006     T. Morgan                                                             0.3            120.00
               Review various e-mails re competing bid from Compass (.2);
               telephone conference with Mr. Charles re Compass bid (.1)

12-04-2006     S. Brown                                                              1.1            352.00
               Research property rights issue re settlement with DTDF

12-05-2006     S. Freeman                                                            0.1                51.00
               Read Ms. A. Jarvis report on status of Compass discussions
               and issues

12-05-2006     S. Freeman                                                            0.1                51.00
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               Read e-mails re Compass partners allocation issues between
               Mr. R. Charles, Ms. A. Jarvis, Ms. E. Karasik

12-05-2006     S. Freeman                                                          0.5            255.00
               Read e-mails from Ms. A. Jarvis, F. Merola, C. Carlyon re call
               today and respond (.1); participate in debtor's-committee's call
               re sale issues (.4)

12-05-2006     S. Freeman                                                          0.2            102.00
               Discuss sale allocation and negotiation issues with Mr. R.
               Charles

12-05-2006     S. Freeman                                                          0.1                51.00
               Read Ms. A. Jarvis, Ms. E. Karasik and Mr. T. Burr e-mails re
               new development on sale

12-05-2006     R. Charles                                                          2.6          1,001.00
               Read memo from Mr. T. Burr on valuation of assets (.1); read
               memo from Ms. A. Jarvis on Compass discussions and related
               sale issues (.2); work with Ms. S. Freeman on the issues for the
               sale (.2); read memo from Ms. Freeman to the committee on
               the sale issues (.1); read revisions to sale documents from
               buyers and information on their financial qualifications with
               exchange of committees' comments (.5); telephone call from
               Mr. S. Kahn (.2); telephone call from Compass Partners (.2);
               return call to FTDF professionals on allocation issues (.3);
               return call to Ms. A. Jarvis (.1); telephone call from Compass
               Partners on sale (.2); conference with Ray Quinney and
               Mesirow and Mr. Burr on valuation of additional assets (.3);
               briefly participate in Compass Partners call (.1); read memo
               from Mr. S. Strong on executed APA by Compass (.1); draft
               memo to Debtors on issue (.1); read memo from Ms. C. Pajak
               and read memo from Ms. E. Karasik on issues with the APA by
               Compass (.1)

12-05-2006     S. Brown                                                            5.0          1,600.00
               Continue research re property rights in diverted funds

12-06-2006     S. Freeman                                                          0.1                51.00
               Read Ms. A. Jarvis and Mr. M. Tucker e-mails re sale
               exclusions

12-06-2006     R. Charles                                                          6.4          2,464.00
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               Read memos from debtors' and committees' counsel on
               competing bids, bid qualifications, asset purchase agreement
               issues (.5); prepare for (.5), attend (1.5) and before and after
               hearing, negotiate with counsel for committees, Debtors and
               Silver Point on sale issues (.5); draft memo to Mr. T. Burr on
               default interest schedule to Silver Point; telephone call from
               Mr. C. Fortgang, Mr. S. Kahn and others (.1); forward default
               information to Silver Point per the Court's order (.1); work with
               Mr. Burr on sale issues and Compass request (.2); work with
               Ms. Jarvis on sale issues and respond on Compass bid (.2);
               telephone call from Mr. C. Karidis and forward schedules to
               Compass asset purchase agreement (.1); work with Ms. C.
               Pajak and Ms. E. Karasik on sale issues (.4); work with Ms. A.
               Jarvis on changes requested from Compass and that it is then a
               "qualified" bid (.2); read memo from Ms. Karasik re sale issue
               (.1); prepare for and attend pre-auction meeting and negotiate
               sale issues (2.6)

12-06-2006     S. Brown                                                            1.0            320.00
               Continue work on memo and research re restitution

12-07-2006     S. Freeman                                                          0.2            102.00
               Read e-mails re Compass bid issues from Ms. A. Jarvis, Mr. R.
               Charles and other committee's counsel (.1); read e-mails by L.
               Rieger, T. Burr, R. Charles re bidding and sale issues (.1)

12-07-2006     S. Freeman                                                          0.1                51.00
               Read Mr. R. Charles e-mail re auction update

12-07-2006     S. Freeman                                                          0.2            102.00
               Telephone to Mr. R. Charles re sale and trust agreement issues

12-07-2006     R. Charles                                                          9.0          3,465.00
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               Read memos from Ms. A. Jarvis, Ms. C. Carlyon, Mr. T. Burr,
               Mr. M. Levinson on revised Compass bid and information to
               Silver Point (.3); read terms of Compass revised offer (.1);
               respond to Ms. Jarvis on Compass bid (.1); draft memo to Ms.
               Jarvis on the proposed terms (.1); prepare for (.5) and attend
               the hearing before Judge Riegle on the auction and the
               competing bids during the morning (2.5) and afternoon (3.5)
               and before during, after the hearing, work on sale, auction and
               bid issues with all debtors, counsel, our committee, the other
               committees, bidders and interested parties (2.0); during the
               proceedings, work with Mr. Burr, Mr. Allison and Ms. A.
               Jarvis on removing Marquis and Placer Vineyards (.3); read
               memo from Mr. B. Fasel on Silver Point (.1)

12-07-2006     S. Brown                                                            2.8            896.00
               Continue research re restitution issues

12-08-2006     S. Freeman                                                          0.1                51.00
               Read e-mails from committee counsel and debtor re APA
               language

12-08-2006     R. Charles                                                          0.6            231.00
               Read memo from Mr. M. Kvarda and read memo from
               Mesirow on Compass deposit (.1); read memo from Ms. C.
               Pajak on schedules to APA (.1); read memo from Ms. D. Cica
               and work with her on concerns about the Compass form of
               APA (.2); read memo from Mr. G. Gordon on same (.1); read
               memo from Mr. T. Waksman on APA (.1)

12-08-2006     S. Brown                                                            3.8          1,216.00
               Continue research re restitution

12-09-2006     S. Freeman                                                          0.1                51.00
               Read Mr. T. Burr and Mr. R. Charles e-mails re assets sold

12-09-2006     R. Charles                                                          0.2                77.00
               Work with Mr. A. Parlen on the stipulation on bidding (.1);
               read memo from Mr. T. Burr on assets sold at auction and
               pricing (.1)

12-11-2006     R. Charles                                                          0.1                38.50
               Work with Mr. A. Parlen on unsealing stipulation on bidding
               allocation (.1)

12-11-2006     S. Brown                                                            1.0            320.00
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               Continue work on research re restitution

12-14-2006     S. Freeman                                                           0.1                51.00
               Read Ms. A. Jarvis and Mr. R. Charles e-mails re APA
               approval

12-14-2006     R. Charles                                                           0.9            346.50
               Read memo from Mr. B. Griffin and skim research on relief
               from stipulation, follow up with Mr. Griffin (.3); read memo
               from Ms. A. Jarvis on Compass schedules and briefly review
               new schedules (.1); read memo from Mr. T. Burr on review of
               other schedules (.1) and draft memo to Ms. Jarvis on same (.1);
               work on motion concerning allocation of overbid (.3); read
               memo from Mr. J. Herman and read memo from Mr. M.
               Levinson on order (.1); forward draft allocation motion after
               additional revision (.1)

12-15-2006     S. Freeman                                                           0.1                51.00
               Read Mr. R. Charles and F. Merola e-mails re allocation

12-15-2006     R. Charles                                                           0.2                77.00
               Read correspondence on the allocation of bids for additional
               consideration (.1); additional correspondence with Mr. M.
               Levinson and Mr. F. Merola on the issue (.2)

12-16-2006     R. Charles                                                           0.3            115.50
               Read memo from Mr. D. Holtzman on Compass request for
               definitive schedules (.1); read memo from Ms. A. Jarvis on
               Compass transaction documents (.1); read memo from Mr. D.
               Blatt for Compass on APA and schedules (.1)

12-17-2006     R. Charles                                                           0.7            269.50
               Read memo from Ms. S. Smith on HFA Clear Lake; read
               memo from Mr. M. Tucker and Ms. Smith on excluding the
               Diversified loans from the schedules (.1); work on motion
               concerning allocation of additional bid (.2); read
               correspondence among Ms. A. Jarvis, Ms. S. Smith and
               Compass on Final APA, side letter and schedules (.3)

12-18-2006     S. Freeman                                                           0.1                51.00
               Read e-mails on finalizing APA, issues re schedules from
               Compass, S. Smith, A. Jarvis, M. Tucker

12-18-2006     S. Freeman                                                           0.1                51.00
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               Read and respond to Mr. R. Charles e-mail to Hainsworth,
               Burr, Walker re compromises of fees under Compass
               agreement (.1)

12-18-2006     R. Charles                                                         1.1            423.50
               Work on declaration in support of allocation motion (.4); read
               memo from Mr. T. Burr on payoff (.1); read memo from Mr. F.
               Merola (.1); review Compass APA and draft letter to Ms. A.
               Jarvis on compromise issues (.2); work on Fasel declaration
               (.1); work with Mr. Burr on the facts, read his memo and
               incorporate into the motion and recirculate (.3); work with Mr.
               Burr on Fasel declaration (.1); read memo from Mr. Burr and
               revise motion (.1)

12-19-2006     S. Brown                                                           0.7            224.00
               Research re tracing issues

12-21-2006     R. Charles                                                         0.2                77.00
               Read memo from Mr. S. Strong on servicing inquiry (.1);
               telephone to Ms. J. Chubb on Colt and other loans (.1)

12-22-2006     S. Freeman                                                         0.1                51.00
               Read T. Burr email re Compass personal property issue (.1)

12-22-2006     R. Charles                                                         0.9            346.50
               Read memo from Mr. G. Garman on Compass issues with the
               confirmation order and findings on sale issues (.1); draft memo
               to counsel for committees and debtors on history of Compass
               negotiations (.2); read memo from Ms. E. Karasik on potential
               issue (.1); negotiate with Mr. G. Davis for Compass (.1);
               telephone call from and read memo from Mr. T. Burr on
               Compass and furniture and equipment issues (.2); draft memo
               to Mr. Davis on potential language (.1); read memo from Mr.
               M. Tucker (.1); draft memo to debtors' and committees' counsel
               on discussions with Compass (.1); read memo from Ms. S.
               Smith on discussions with Compass (.1)

12-26-2006     R. Charles                                                         0.1                38.50
               Work with Mr. T. Burr on the sale to Compass issues (.1)

01-03-2007     R. Charles                                                         0.3            115.50
               Read objection by Mr. R. LePome to the confirmation order
               (.1); read limited objection by Direct Lenders committee on the
               limitation on termination of loan servicing agreements (.1);
               read JV direct lenders joinders (.1)
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01-05-2007     R. Charles                                                         0.5            192.50
               Telephone to Mr. G. Davis for Compass Partners, work with
               Ms. S. Freeman on sale issues concerning Standard Property
               and other loans (.1); work with Mr. G. Berman on Thursday
               discussions on same (.2); telephone to Ms. E. Karasik for
               FTDF on Standard Property (.1)

01-08-2007     R. Charles                                                         0.1                38.50
               Draft memo to Mr. G. Davis and call to Mr. Davis on transition
               issues

01-09-2007     S. Freeman                                                         0.1                51.00
               Read Mr. R. Charles draft letter to Compass' counsel and
               respond

01-09-2007     R. Charles                                                         0.9            346.50
               Work on fee waiver issues under the sale (.1); work on letter to
               Mr. G. Davis on pending and transition issues (.4); telephone to
               Ms. A. Jarvis on sale and pending and transition issues (.4)

01-10-2007     R. Charles                                                         0.5            192.50
               Work with Mr. G. Berman on letter to Compass Partners on
               transition issues (.1); telephone to Mr. G. Davis for Compass
               Partners on (.1) and draft memo to Mr. Berman, Ms. Freeman
               and Mr. Burr on transition issues and potential meeting (.1);
               draft memo to Ms. A. Jarvis on Standard Property issues (.2)

01-11-2007     R. Charles                                                         0.4            154.00
               Telephone call from Mr. G. Davis on sale issues and transition
               (.2); locate materials and draft memo to Ms. Freeman on
               motion on allocation of additional bid (.2)

01-18-2007     S. Freeman                                                         0.1                51.00
               Read e-mails from R. Charles, D. Walker, T. Bier re potential
               offer for assets, and reply re same

01-21-2007     R. Charles                                                         0.3            115.50
               Read TRO against Reale and HMA Sales (.1); draft memo to
               Mr. G. Berman on computer issues (.1); draft memo to Ms. A.
               Jarvis on loan payoff issue (.1); note order denying motion to
               file under seal by Great White (.1); read memo from Ms. C.
               Carlyon on loan payoff issue (.1)

01-23-2007     S. Freeman                                                         0.2            102.00
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               Read email from R. Russell and R. Charles regarding
               refinancing of loans (.1); read A. Jarvis's email regarding same
               and company position (.1)

01-24-2007     R. Charles                                                           0.2                77.00
               Read letter from Silver Point counsel on interest in purchase
               (.1); read memo from Mr. T. Burr on conversations with Mr. D.
               Blatt (.1)

01-25-2007     R. Charles                                                           1.0            385.00
               Work with Ms. S. Freeman on motion to determine allocation
               of additional bid (.3); call to Mr. S. Strong for witnesses on
               same (.2); call to Mr. M. Levinson on allocation issue (.2);
               work with Mr. Strong on meeting with witness (.1); work with
               Ms. Freeman on structuring the argument and evidence needed
               on the allocation issue (.2); note supplement by USA CREG on
               distribution of loan proceeds (.1)

01-26-2007     R. Charles                                                           1.8            693.00
               Read memo from Mr. A. Parlen on motion (.1); work with Ms.
               A. Jarvis, Mr. B. Fasel, Mr. J. Reed and Mr. T. Burr on
               additional bid issue (.6); work with Mr. Burr on the bid motion
               and sale (.2); read memo from Ms. E. Karasik on meeting
               concerning sale issues (.1); read memos on meeting on
               Compass sale issues (.1); prepare for and participate in strategy
               call on sale and appeal as related issue (.8); research (Westlaw)
               and forward research to Ms. C. Carlyon on standing to appeal
               (.1)

01-29-2007     R. Charles                                                           1.1            423.50
               Read trustee's motion on Proposed Order Shortening Time
               Regarding Trustee's Motion to Establish Sale Date and Bidding
               Procedures for the Sale of the Palm Springs Marquis Villas and
               on the procedures motion (.2); work with Mr. G. Berman on
               Compass transition (.1); work with Mr. Berman on Sunrise
               Real Estate Investment Group LLC as buyer (.1); locate
               transcript excerpt in December 7 proceedings on the allocation
               issue (.2); work with Ms. S. Freeman on strategy for response
               to FTDF motion, discovery and strategy (.4); read letter on
               potential expedited sale hearing in Tree Moss (.1); read memo
               from Mr. T. Burr on sale application (.1); draft memo to Ms. A.
               Jarvis on discovery for motion (.1)

01-31-2007     R. Charles                                                           0.1                38.50
               Read memo from Ms. E. Karasik and work on discovery
               planning
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02-01-2007     S. Freeman                                                           0.7            357.00
               Participate in call with committee members and trustee re
               Standard Property settlement issues (.4); participate in call with
               Mr. R. Charles and trustee re Compass and transition issues (.3)

02-01-2007     R. Charles                                                           0.7            269.50
               Work on Motion to Enforce Debtors Third Amended Joint
               Chapter 11 Plan of Reorganization As It Relates to Allocation
               of Sale Proceeds (.4); call from Mr. F. Merola and Ms. E.
               Karasik on discovery and pending issues (.3); work with Ms. S.
               Freeman on discovery issues (.1); work with Mr. B. Griffin on
               research for the response to the sect. 1142 dispute (.2)

02-01-2007     B. Griffin                                                           0.5            170.00
               Continue analyzing FTDF Committee's motion to enforce plan
               and opposition

02-02-2007     B. Griffin                                                           2.6            884.00
               Continue researching opposition to allocation motion and legal
               standards

02-04-2007     R. Charles                                                           0.1                38.50
               Read Trustee's notice of bid procedures for proposed Tree
               Moss sale

02-05-2007     S. Freeman                                                           0.9            459.00
               Work on drafting transition agreement with Compass

02-05-2007     R. Charles                                                           0.1                38.50
               Read memo from Ms. A. Jarvis on Compass intentions as to
               closing (.1); read memo from Mr. E. Madden to Mr. G. Davis
               on transition (.1)

02-05-2007     B. Griffin                                                           2.0            680.00
               Continue research for interpreting confirmed plan and
               analyzing cases that the FTDF Committee cites in its motion;
               (1.0); research Nevada law regarding interpretation of
               ambiguous contract provisions (analogous to ambiguous plan
               provisions) (.5); begin drafting memo to file re above (.5)

02-06-2007     S. Freeman                                                           2.4          1,224.00
               Work on cooperation agreement with Compass

02-06-2007     S. Freeman                                                           0.3            153.00
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               Further revise draft cooperation agreement with Compass and
               e-mail to all with note

02-06-2007     S. Freeman                                                          2.1          1,071.00
               Finalize draft agreement with Compass and e-mail to E.
               Madden and G. Berman (1.9); reply to their responses and
               revise draft per their comments (.2)

02-06-2007     R. Charles                                                          0.3            115.50
               Work on transition agreement with Compass with Ms. S.
               Freeman (.2)

02-06-2007     B. Griffin                                                          1.3            442.00
               Finalize memo regarding interpretation of confirmed plan

02-07-2007     S. Freeman                                                          0.4            204.00
               Read E. Madden e-mail re computer issues, S. Strong and T.
               Lamaza e-mails re cooperation agreement and documents (.1);
               revise draft cooperation agreement, redline, and send to trustee
               and counsel and R. Charles with explanation (.3)

02-07-2007     S. Freeman                                                          0.4            204.00
               Telephone from T. Omazow re issues on allocation of original
               documents between Compass and Trust, and in part add E.
               Madden to discuss and in part add S. Strong re plan of action

02-07-2007     S. Freeman                                                          0.1                51.00
               Read E. Madden e-mail re furniture from Compass, and send e-
               mail to G. Weil re request

02-07-2007     S. Freeman                                                          0.3            153.00
               Read e-mails between G. Davis and A. Diamond re computer
               and document access and timing and check against draft (.2); e-
               mail draft cooperation agreement to M. Sorenson with request
               (.1)

02-07-2007     R. Charles                                                          0.4            154.00
               Read memo from Mr. G. Davis for Compass; read memo from
               Mr. B. Griffin on plan interpretation as to FTDF motion (.2);
               read memo from Mr. T. Lomazow on transition and documents
               (.1)

02-08-2007     R. Charles                                                          0.1                38.50
               Work on opposition to FTDF motion
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02-09-2007     R. Charles                                                            1.4            539.00
               Work on opposition to FTDF motion (.8); return call to Mr. G.
               Gordon on licensing issue, and read correspondence
               concerning licensing issue (.5); call to Mr. G. Berman on
               licensing and potential meeting (.1)

02-10-2007     R. Charles                                                            1.3            500.50
               Read memo from Mr. T. Burr on purchase price adjustments
               (.1); read memo from Mr. G. Garman on meeting re sale and
               licensing (.1); work on opposition to allocation motion (1.0)

02-11-2007     R. Charles                                                            2.1            808.50
               Prepare for and participate in meeting by conference call with
               Debtors, Debtors' counsel, and committees' counsel, on
               licensing and other sale issues (.9); read memo from Ms. A.
               Jarvis on Compass meeting (.1); draft memo to Mr. T. Burr on
               purchase price allocation meeting (.1); work on opposition to
               FTDF motion (1.0)

02-12-2007     S. Freeman                                                            0.1                51.00
               Respond to Mr. T. Burr e-mail re Compass purchase price
               computations

02-12-2007     R. Charles                                                            1.7            654.50
               Read correspondence with Ms. S. Smith and Mr. T. Burr on
               purchase price reconciliation (.1); work with Mr. Burr and Ms.
               Smith on purchase price allocation (.1); work with Ms. A.
               Jarvis on meeting as to purchase price (.1); read memo from
               Mr. Burr on meeting on purchase price adjustments (.1);
               participate via phone in meeting with Compass on purchase
               price adjustments (.6); work with Ms. S. Freeman to follow up
               on sale (.1); read and respond to memo on I-40 closing, and
               read memo from Mr. R. Russell on same (.1); work on
               response to FTDF motion (.3); telephone call from Ms. E.
               Karasik on meeting (.1); work on Mr. Burr's draft declaration
               (.3)

02-13-2007     S. Freeman                                                            0.1                51.00
               Read and respond to Mr. E. Madden e-mail re Compass
               cooperation agreement, read his reply and respond to it

02-13-2007     S. Freeman                                                            3.2          1,632.00
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               Meet with G. Berman, M. Tucker and M. Levinson before S.
               Bice meeting re meeting preparation and comments on draft
               debtor transition and licensing agreements (.8); meet with
               professionals for committees and debtors re preparation for
               Bice meeting (.5); meet with S. Bice, R. Dreitzer and
               professionals for debtors and committees with Compass on
               phone re Compass licensing issues (1.5); follow up discussions
               with professionals for debtors and committees (.4)

02-13-2007     R. Charles                                                            3.4          1,309.00
               Work on response to FTDF motion and Mr. Burr's declaration
               in support of the response and forward to Mr. Burr and client
               (.5); read drafts of the proposed License Agreement and
               proposed Interim Services Agreement between Compass and
               USACM (.1); participate in pre-meeting call (we hosted)
               concerning Compass and sale with Debtors and Committees
               (.5); participate in sale meeting via conference call with
               Debtors, Committees, and Compass (.7); continue work on
               response to FTDF motion and discuss with Mr. Burr (.3);
               forward correspondence on bid procedures to Mr. Burr (.1);
               work on FTDF response and forward to Mr. Griffin (.2); read
               memo from Ms. E. Karasik on subservicing agreement (.1);
               read memo from Ms. S. Freeman and work on stipulation to
               clarify plan on servicing after closing (.3); telephone call from
               Ms. Karasik on buyer negotiation with Compass (.2) and call to
               Ms. A. Jarvis on same (.1); telephone call from Ms. Karasik
               and Mr. G. Garman and then call to Mr. S. Strong with them on
               meeting with US Trustee and on stipulation to allow for
               subservicing of loan (.4); finalize response to FTDF motion (.3)
               and work with Mr. Burr on his declaration (.3); incorporate
               changes into stipulated motion, with input from Mr. Strong (.5)

02-13-2007     B. Griffin                                                            3.3          1,122.00
               Research ability to collect attorney's fees for interpleader
               actions/proceedings and draft memo to file re same (.7); edit
               and finalize opposition to the FTDF Committee's motion to
               enforce plan (2.6)

02-13-2007     J. Siatta                                                             0.5                72.50
               Cite/quote check and edit response to 1142 motion

02-14-2007     R. Charles                                                            0.4            154.00
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               Read memo from Mr. E. Madden with due diligence
               information from buyer (.1); work with Mr. Madden and Ms. S.
               Freeman on sharing agreement (.1); read memo from Ms.
               Freeman on negotiations and locate language on documents
               issues with Buyer (.2); draft memo to Ms. Freeman on Colt
               Gateway facts and issues (.2)

02-15-2007     R. Charles                                                           0.7            269.50
               Calls from Mr. T. Burr on sale, escrow and closing statement
               issues (.2); work with Mr. Burr on same (.1); review draft
               escrow agreements as to MAC assets and USACM fee assets
               (.3); work with Ms. S. Smith on closing statement (.1)

02-16-2007     R. Charles                                                           0.8            308.00
               Read memo from and return call to Mr. D. Monson on escrow
               agreement (.2); work with Mr. T. Burr on escrow agreement
               (.1); telephone call from Ms. A. Jarvis on escrow agreement
               (.1); work with Mr. T. Burr on sale allocation and read memo
               from Ms. S. Smith on allocation of proceeds and work with Mr.
               Burr on the BMC issue (.2); read correspondence among Mr.
               Burr and Ms. E. Karasik on allocation of proceeds (.1); read
               memo from Ms. Smith on closing and wiring of funds (.1)

02-17-2007     R. Charles                                                           0.4            154.00
               Draft memo to Ms. S. Smith on closing statement (.1); draft
               memo to Mr. T. Morgan after reading information on the
               dispute over the FTDF escrow and attach pertinent documents
               (.3)

02-19-2007     R. Charles                                                           0.3            115.50
               Work with Ms. A. Jarvis on sale and escrow (.1); work with
               Ms. E. Karasik, Mr. M. Kvarda on meeting on sale (.1); read
               memo from Mr. T. Burr on escrows (.1)

02-20-2007     S. Freeman                                                           0.5            255.00
               Participate in call with debtor and FTDF counsel re escrow
               (.4); read R. Charles follow up e-mail re same, read and
               respond to e-mail from R. Charles re meeting with debtors (.1)

02-20-2007     S. Freeman                                                           0.4            204.00
               Read S. Smith and R. Charles e-mails re holdback resolution,
               M. Tucker e-mail re Reale 2004, D. Walker and R. Charles e-
               mails re allocation (.1); read S. Smith e-mail re Compass Close
               and spreadsheet (.1); discuss Compass escrow issues and
               related closing issues with R. Charles (.2)
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02-20-2007        R. Charles                                                            1.2            462.00
                  Work with committee and debtor counsel on meeting on sale
                  escrows (.1); several calls, emails and then conference call with
                  counsel for FTDF Equity Committee and Debtors on sale
                  escrows (1.0); read memo from and draft memo to Ms. E.
                  Karasik on escrow proposal (.1) after draft memo to Ms. A.
                  Jarvis on same (.1)

02-22-2007        R. Charles                                                            0.2                77.00
                  Read memo from Mr. G. Berman on FTDF reply (.1); work
                  with Ms. S. Freeman on hearing on allocation motion (.1)

02-27-2007        R. Charles                                                            0.2                77.00
                  Read letter from Mr. D. Kirby on Fiesta Oak Valley (.1); read
                  memo from Mr. S. Strong and executed subservicer agreement
                  (.1)

02-28-2007        R. Charles                                                            1.0            385.00
                  Telephone to Mr. M. Levinson on oral argument (.1); work
                  with Ms. S. Freeman and Mr. T. Chandler on Compass and
                  computers (.2); work with Mr. G. Berman and Mr. M.
                  Sorenson on computer issues and Compass (.2); call from Mr.
                  Chandler on same (.1); call to Mr. M. Yoder (.1); read memos
                  from Mr. Hermann on computer issue (.1); read memo from
                  Ms. A. Jarvis on same (.1); work with Mr. G. Garman on
                  opposition to distribution motion (.1)

03-01-2007        R. Charles                                                            3.1          1,193.50
                  Prepare for hearing on FTDF equity committee motion to take
                  85% of the $9.5 million additional bid (2.0); attend court and
                  argue motion (denied) (1.0); report to Mr. G. Berman (.1)

03-09-2007        S. Freeman                                                            0.2            102.00
                  Telephone from T. Lomazow re Compass and landlord issues

03-12-2007        S. Freeman                                                            0.1                51.00
                  Read e-mail from D. Monson to Compass re Placer sale and
                  potential overbid

                      TOTAL FOR TASK CODE B130                                        219.3         88,877.50


             B140 RELIEF FROM STAY PROCEEDINGS
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08-02-2006     R. Charles                                                          0.2                77.00
               Read memo from Ms. L. Davis continuing stay relief motion
               on Boise/Gowan due to potential repayment (1); note order on
               deadline for response to Hale Lane stay relief motion and draft
               memo to Ms. A. Jarvis and Mr. L. Schwartzer (.1

08-04-2006     S. Freeman                                                          0.3            153.00
               Review draft opposition to lift stay and e-mail Mr. R. Charles
               re recommendations (.2); e-mail to committee re same (.1)

08-04-2006     M. Schoenike                                                        0.5                90.00
               Review e-mail and draft opposition to life stay motion (.2);
               prepare joinder in opposition to: Stay relief file by Weddell and
               Spectrum Financial, and Standard Property Stay Relief (.3)

08-15-2006     R. Charles                                                          0.5            192.50
               Work on stay relief motions by Standard Property and Waddell
               for Wednesday hearings (.5); read direct lenders' joinder in
               Standard Properties stay relief motion (.1)

08-18-2006     R. Charles                                                          0.2                77.00
               Draft memo to Ms. A. Jarvis and Mr. L. Schwartzer on an
               alternative to handle the Standard Property stay relief and
               litigation

12-18-2006     R. Charles                                                          0.4            154.00
               Read Dayco stay relief motion, declarations, exhibits and
               notice of hearing (.4)

12-19-2006     R. Charles                                                          0.3            115.50
               Work on response to Dayco motion (.2); draft letter to Mr. A.
               Alper on subordination agreement (.1)

12-29-2006     R. Charles                                                          0.3            115.50
               Work on response to Dayco stay relief motion and direct filing
               (.2); skim Debtors' response (.1)

12-29-2006     M. Schoenike                                                        0.2                36.00
               File, docket response to Dayco Stay relief motion

01-07-2007     R. Charles                                                          0.1                38.50
               Read memo from L. Fetterly on property at issue in the Dayco
               stay relief motion (.1)
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01-08-2007     R. Charles                                                              0.1                38.50
               Draft memo to Ms. S. Freeman on Dayco motion after reading
               memo from L. Fetterly

01-17-2007     S. Freeman                                                              0.2            102.00
               Read L. Babula e-mail re lift stay and parties to it and request
               for OST (.1); read G. Gordon, M. Levinson responses, read R
               Waldo additional information e-mail and Mr. R. Charles'
               objection and explanation (.1)

01-18-2007     S. Freeman                                                              0.1                51.00
               Read proposed order re Dayco funding and e-mail to L. Dorsey
               authorization to sign for me

01-18-2007     R. Charles                                                              0.2                77.00
               Read Motion for OST on Fertitta stay relief motion on Colt
               Loan servicing (.1); read Bullard declaration in support of
               motion to terminate stay (.1); read Fertitta stay relief motion
               (.1); read declaration in support of request for OST (.1)

01-19-2007     S. Freeman                                                              0.1                51.00
               Read Jones Vargas lift stay motion papers re Colt Gateway

01-19-2007     R. Charles                                                              0.1                38.50
               Read Debtors' joinder in opposition to Fertitta motion to
               expedite hearing (.1); read memo from Mr. M. Levinson on
               same

01-20-2007     R. Charles                                                              0.4            154.00
               Read order denying expedited hearing on stay relief motion
               (.1); re-read DTDF response to request for OST in order to
               respond to Ms. J. Chubb (.1); draft memo to Ms. Chubb on
               issue raised by DTDF (.2)

01-23-2007     R. Charles                                                              0.1                38.50
               Work on opposition to Tabas / Fertitta stay relief motion

01-25-2007     R. Charles                                                              0.1                38.50
               Note hearing on Fertitta motion for stay relief

01-25-2007     M. Schoenike                                                            0.2                36.00
               Review e-mail from Mr. Rob Charles and Debtor's motion to
               enforce automatic stay to prevent foreclosure
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01-26-2007     M. Schoenike                                                          1.0            180.00
               Review motions, declarations, draft Joinder in Debtors' Motion
               for Order Enforcing Automatic Stay to Prevent Foreclosure
               (.6); e-mail draft to Mr. Rob Charles and Ms. S. Freeman for
               review (.1); file, docket and serve joinder (.3)

01-29-2007     R. Charles                                                            0.1                38.50
               Note the Rule 2004 examination applications by estate of
               Tabas and Fertitta on Colt loans (.1)

02-02-2007     R. Charles                                                            0.1                38.50
               Read memo from Ms. L. Dorsey and read memo from Ms. C.
               Carlyon on form of order on Texas foreclosure

02-06-2007     R. Charles                                                            0.1                38.50
               Note order denying Dayco Funding motion for stay relief and
               setting continued hearing (.1); work on joinder in opposition to
               Fertitta / Tabas motion for stay relief on Colt loans (.1)

02-06-2007     M. Schoenike                                                          0.4                72.00
               Draft joinder in opposition to motion for relief from stay to
               terminate loan servicing agreement for Colt Gateway Loan
               filed by Estate of Daniel Tabas and Ferrita Enterprises, Inc.

02-07-2007     R. Charles                                                            0.1                38.50
               Read Debtors' opposition to Colt stay relief motion and Mr. T.
               Allison's declaration in support of opposition

02-07-2007     M. Schoenike                                                          0.4                72.00
               Respond to Mr. R. Charles re service of joinder (.1); file,
               docket, serve joinder in Debtors' opposition to Motion for
               Relief from Stay to Terminate Loan Servicing Agreement for
               Colt Gateway (.2); work on Certificate of Service of Joinder
               (.1)

02-09-2007     M. Schoenike                                                          0.3                54.00
               Work on Certificate of mailing re application to shorten notice
               re stay relief, stay relief motion, declarations, and notice

02-13-2007     S. Freeman                                                            0.1                51.00
               Read reply brief and declarations re Fertitta stay relief motion

02-13-2007     S. Freeman                                                            0.1                51.00
               Read replies re motions to dismiss appeals
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02-13-2007        R. Charles                                                            0.1                38.50
                  Skim reply to Fertitta and Tabas estate on motion for stay relief
                  as to the Colt loans and declaration in support of response

02-17-2007        R. Charles                                                            0.1                38.50
                  Read minute entry on Tabas estate and Fertitta stay relief
                  motion

02-18-2007        R. Charles                                                            0.1                38.50
                  Work on order in Fertitta stay relief

02-19-2007        S. Freeman                                                            0.2            102.00
                  Read R. Charles, J. Bart, M. Levinson, J. Chubb, L. Bubala e-
                  mails re Fertitta lift stay (.1); read additional e-mails from J.
                  Chubb and M. Levinson re lift stay, and send response re
                  reasoning (.1)

02-20-2007        S. Freeman                                                            0.1                51.00
                  Read e-mails from J. Chubb, M. Levinson, A. Landis, J. Bart,
                  re lift stay order

02-20-2007        S. Freeman                                                            0.1                51.00
                  Read e-mails from A. Jarvis re Fertitta position on stay relief,
                  e-mails from and to E. Karasik, S. Smith, A. Jarvis re call on
                  escrows

02-20-2007        S. Freeman                                                            0.1                51.00
                  Read and respond to e-mails from Chubb, M. Levinson, A.
                  Jarvis re Colt payoff settlement

02-22-2007        S. Freeman                                                            0.1                51.00
                  Read revised form of stay relief order for Dayco, and reply
                  with authorization to sign

02-22-2007        S. Freeman                                                            0.2            102.00
                  Read proposed Dayco stay relief order and respond to its
                  counsel with suggested language change

                      TOTAL FOR TASK CODE B140                                          8.4          2,831.50


             B150 MEETINGS OF CREDITORS

08-01-2006        S. Freeman                                                            0.5            255.00
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               Review draft minutes and edit (.3); evaluate approach to
               agenda items and recusals with Mr. R. Charles (.2)

08-01-2006     R. Charles                                                         0.6            231.00
               Work on agenda and minutes for the Committee's Wednesday
               meeting (.5); work with Ms. M. Schoenike on information for
               the committee's Wednesday meeting (.1)

08-01-2006     M. Schoenike                                                       1.5            270.00
               Revise meeting notes, e-mail to Ms. S. Freeman and Mr. R.
               Charles (.5), prepare circulation version of minutes, e-mail to
               counsel for review (.3); respond to Mr. R. Charles, circulate
               Minutes of 7/19/06 meeting (.3); review Agenda for committee
               meeting (.4)

08-02-2006     S. Freeman                                                         2.3          1,173.00
               Participate in committee meeting

08-02-2006     R. Charles                                                         2.3            885.50
               Prepare for and participate in call with Committee

08-02-2006     M. Schoenike                                                       2.4            432.00
               Committee Conference call

08-08-2006     S. Freeman                                                         1.6            816.00
               Review and revise draft agenda for committee meeting
               tomorrow and e-mail Mr. R. Charles re proposed changes (.3);
               review and extensively revise draft minutes to delete
               privileged/individually identified entries (.8); telephone from
               Mr. R. Charles re meeting and re issues for committee meeting
               (.2)

08-08-2006     R. Charles                                                         0.6            231.00
               Work on report and agenda for the Committee's August 9
               meeting (.5); work with Ms. Schoenike on minutes from
               August 2 committee meeting (.1)

08-08-2006     R. Charles                                                         5.0          1,925.00
               Attend meetings with Debtors, Committees and professionals
               on overview of assets, claims, sale process and reorganization
               alternatives, and discussions during and after with parties,
               counsel and financial advisers

08-08-2006     R. Charles                                                         0.2                77.00
